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          EXHIBIT A
Case 2:21-cv-12750-BRM-JRA Document 1-1 Filed 06/18/21 Page 2 of 201 PageID: 17




       PERLMAN-DEPETRIS CONSUMER LAW
       Paul DePetris
       Attorney ID No. 005821996
       Email:iinfie@newiemey[Itentsomeora
       Lee M. Perlman
       Attorney ID No. 019171994                            DULY SERVED
       Email:IlpealmarOgasewimek            .C.M119.
       1926 Greentree Road, Suite 100                                Kernter, Sheriff
                                                             John A.        e     K,
       Cherry Hill, New Jersey 08003                         By
      (856)751-4224                                                Special Deputy
       Co-counsel for Plaintiff
       LAW OFFICES OF LEWIS G. ADLER
       Attorney ID No. 023211985
       Email: lewisadler@verizon.net
       26 Newton Avenue
       Woodbury, New Jersey 08096
      (856) 845-1968
       Co-Counsel for Plaintiff
      Plaintiffs'                                    : SUPERIOR COURT OF NEW JERSEY
                                                     : MIDDLESEX COUNTY
       Jerry Scattaglia, individually and on behalf : LAW DIVISION
       of others similarly situated

       VS.
                                                   : Docket No. L-2759-21
      Defendant                                            Civil Action



       Mercedes-Benz USA,LLC and John Does :
       1-10
                                                          SUMMONS
                                                               ' Mercedes-Be
      From The State ofNew Jersey To The Defendant(s) Named Above:                           A,


              The plaintiff, named above, has filed a lawsuit against you in the Superior Court
      of New Jersey. The complaint attached to this summons states the basis for the lawsuit.
      If you dispute this complaint, you or your attorney must file a written answer or motion
      and proof of service with the deputy clerk of the Superior Court in the county listed above
      within 35 days from the date you received this summons, not counting the date you
      received it. (The address of each deputy clerk of the Superior Court is provided.) If the
      Complaint is one in foreclosure, then you must file your written answer or motion and
      proof of service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box
      971, Trenton, NJ 08625-0971. A filing fee payable to the [Clerk of the Superior Court]
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      Treasurer, State of New Jersey and a completed Case Information Statement (available
      from the deputy clerk of the Superior Court) must accompany your answer or motion
      when it is filed. You must also send a copy of your answer or motion to plaintiff's
      attorney whose name and address appear above, or to plaintiff, if no attorney is named
      above. A telephone call will not protect your rights; you must file and serve a written
      answer or motion (with fee of $135.00 and completed Case Information Statement) if you
      want the court to hear your defense.

               If you do not file and serve a written answer or motion within 35 days, the court
       may enter a judgment against you for the relief plaintiff demands, plus interest and costs
      'of suit. Ifjudgment is entered against you, the Sheriff may seize your money, wages or
       property all or part of the judgment.

               If you cannot afford an attorney, you may call the Legal Services office in the
       county where you live. A list of these offices is provided. If you do not have an attorney
       and are not eligible for free legal assistance, you may obtain a referral to an attorney by
       calling one of the Lawyer Referral Services. A list of these numbers is also provided.


                                            /s/ Michelle M. Smith
       Dated: _5       /2                   CLERK,SUPERIOR COURT OF NEW JERSEY

       Name ofdefendant to be served:       Mercedes-Benz USA, LLC
       Addressfor Service..                 c/o C T Corporation System
                                            820 Bear Tavern Road
                                            West Trenton, New Jersey 08628
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                         Civil Case Information Staternelni t
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 'Case Details: MIDDLESEXICMI
                          -   Part DOcket# L-002756-21"

 Case Caption: SCATTAGLIA JOHN VS MERCEDES-BENZ                Case Type: COMPLEX COMMERCIAL
 USA LL C                                                      Document Type: Complaint w th Jury Dem     d
 Case Initiation Date: 05/07/2021                              Jury Demand: YES -6 JURORS
 Attorney Name: LEWIS G ADLER                                  Is this a professional malpractice case? NO
 Firm Name: LEWIS G. ADLER                                     Related cases pending: NO      i
 Address: 26 NEWTON AVENUE                                     If yes, list docket numbers:   I :1
 WOODBURY NJ 08096                                             Do you anticipate adding any parties (arir ng out cifisame
 Phone: 8568451968                                             transaction or occurrence)? NO4
 Name of Party:, PLAINTIFF : Scattaglia, John
 Name of Defendant's Primary Insurance Company                 Are sexual abuse claims alleged by: John Scattag      NO

 (if known): Unknown                                                                          I ;
                                                                                             I
                                                                                             i 11
        THE INFORMATION PROVIDED ON THIS f'ORM—CANNOT BE INTROOCED                                                 )ENE
             I ' CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR'MEDIATION
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               I                                                                                  '
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                                                                                                  li
  Do parties lave a current, past, or recurrent relationship? NO
                                ,                                                       I!
                I
  If yes, is that relationship: :                                                       4
                                                                                        1
  !Does the staitute governing this case provide for payment of fees by the losing part/? NO
                                   i                                                    !
   Use this space to alert the court to any special case characteristics that may warrant individual
   management or accelerated disposition:                                               ri




  Do you or your client need any disability accommodations? NO
          If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes,for what language:
                                                                                                                        :I
  Please check off each applicable category: Putative Class Action?.YES Title 59? NO Consumer Frati
                                                                                                  l d,? YES

                                                                                                                             I

   certify that confidential personal identifiers have been redacted from documents now submitted o the
  court, and will be redacted from all documents submitted in the future in accor6n br e with RUle 1:i8-7(b)
                                                                                  I              ,1
  05/07/2021                                                                              /s/ LEWIS ADLER      6
  Dated                                                                                        '    ' Sigried

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     Attorney ID #: 029452011
     EmaiI:.eMma@lemonlawcar.com
   ,Counsel for plaintiffs

   JERRr$,CATTAGL1A, INDIVIDUALLY AND                 SUPERIOR COLIFi'T OF NEW JERSEY
   ON BEHIALF OF ALL OTHERS SIMILARLY                 LAW DIVISION, CIVIL F3'ART , ;
   SITUATED,                                          MIDDLESEX COUNTY'
                           PLAINTIFFS1,               CIVIL ACTION
    ;                V.                               DOCKET NO: MIDTL-
   MERCEDES-BENZ USA, LLC AND JOHN
   DbEk1:110;                                         COMPLAINT
                          DEFENDANTS.




  1 As used ,in this document, use of the plural includes the singular, where applicable, The .i l l
  parties are referred to in the plural regardless of their actual number:
                                                                                     . •;



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   Plaintiffs plead as follows:

                         ABBREVIATIONS USED IN THIS DOCUMENT

       1. For brevity's sake, hereafter the following abbreviated terms are used in this

          document:

              A. This civil action - this case or the case.

              B. Plaintiffs Jerry Scattaglia - plaintiffs.

             C. Defendants MERCEDES-BENZ USA, LLC - the manufacturer or.,

                 defendants.

              D. Defendants John Does 1-10 — fictitious defendants named to the

                 cpmplaint — the Does.

              E. All parties named to the complaint collectively - the parties.

              F. The MERCEDES-BENZ 2021 GLE450W4 that is the subject of this case -

                 the vehicle.

              G. The sales or lease transaction that is the subject of this case - thesale or

                 the transaction.

              H. Ray Catena Motor Car Corporation of Edison, New Jersey - the selling

                 dealer.

              I. The contract for the sale or lease of the vehicle to plaintiffs - the contract.

             J. The various new vehicle limited warranties that defendants issued,

                 plaintiffs with the vehicle collectively - the warranty.

              K. The automotive repair attempts that defendants' authorized dealerships

                 performed to the vehicle under the vehicle's warranty - the repairs or

                 repair attempts.




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                                                    L. The automotive dealerships that performed the repair attempts collectively

                                            It           - the servicing dealers or the dealers.

                                                    M The problems-nonconformities that the consumers' experienced with the

                                                   vehicle and/or when using the vehicle - the problems or the defect. ,
                                           :$ •                                                                       „ •
                                                tJ The New Jersey Truth-In-Consumer Contract, Warranty And Notice Act,
                                                                                                                       1 ;• •
                                                    .;   N.J.S.A. 56:12-14 To -18 — TCCWNA.
                                                                                                                         ,
                                            1 1•                                                          1           t II
                                                    O., New Jersey Uniform Commercial Code, N.J.S.A. 12A:1?101; et seq. -:
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                                                    ,'• UCC.                                                          A
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                                                    . Magnuson-Moss Warranty- Federal Trade Improvement
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                                                                                                        Act, 15 U.S.C. §
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                                                ,    l • 2301 , et seq. — MMWA.                             : 1
                                      '• 'IS ,
                                           IV '
                                                    .                                                             ,         ; I I:
                                            fiVI  Q. The New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1; Et Seq. —
                                          • 14, • -                                                  ' !' •
                                                                                                                            OA.
                                      ,     ;R. New Jersey Used Car Lemon Law, N.J.S.A. 56:8-67, et seq. — UCLL, • l;
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                                        d' !:i                                                                ,I
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                                        '   .
                                            /SI   N.J.S.A. 56:8-2 — section 2.                   ,            1 1
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                                    . 1.4.                                                         i* ,
                                         t' !T. • New Jersey Division Of Consumer Affairs — DCA.
                                                                                                                            ,
                                        . , !U. An act concerning new motor vehicle warranties and repealing P.L. 1983)
                                      ,! i , 'I I .'                                                   I             ,
                                         ,.!, ;.• c. 215 and making an appropriation, N.J.S.A. 56:12-29; et seq. a-lc-4 the
1        1.
                                                         New Jersey New Car Lemon Law — NCLL.                           :            •
                          1 ,                   !                                                                                        ;•
                                                 !V. New Jersey Automotive Sales Practices Regulations, N.J.A.C. 13:45k
                1, 1 .                      t ,s ,
         1 • ,1, • •                         .i. ! 26B.1, et seq. —ASP.                                             I                    ,
1 i4i •
i I •Ti !l .• .4 •                    '             W.        Jersey Automotive Advertising Practices Regulations -k-a New               ;
  I       .1 11
      "I t           ,
                                                         Jersey Motor Vehicle Advertising Practices, N.J.A.C. 13:45A-26A.1, et
 • '` )                                                                                                                    .
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                'federal odometer law — FOL.

             Y. An Act Concerning Service Contracts And Supplementing And Amending

               • P.L.1980, C.125, the Service Contracts Act, N.J.S.A. 56:12-87y,et:*.

                 SCA.

             Z. National Highway Transportation Authority — NHTSA.

                                 EXHIBITS TO COMPLAINT

          The allegations contained in the previous paragraphs are repeated as if fully set

          forth herein.

      3.: Attached•hereto as complaint exhibit A is a repair history summary forthe-1

        : vehicle.•

      4.. Attached hereto as complaint exhibit B is the article titled The Warranty Process

          Flow.Within The Automotive Industry: An Investigation Of Automotive VVerranty

          Processes And Issues (Center For Automotive Research, August 2005).

      5. Attached hereto as complaint exhibit C is a MBWorld online vehicle forum article

          thread titled "New GLE Keeps Draining Battery - won't start".

      6. Attached hereto as complaint exhibit D,is a Mercedes GLE Forum online vehicle

          forum article thread titled "Electrical Problems with 2020 GLE450".

      7; Attached hereto as complaint exhibit E is a Cars.com online vehicle forurp article.

          thread titled "2020 Mercedes-Benz GLE 450 Consumer Reviews".

      8. Attached hereto as complaint exhibit F is the expert report of Richard Roth of

          RSJ Auto LLC and Xentry Tips articles titled "Functional impairment of 48 V on-

          board electrical system", "Implausible 'service due' instrument cluster", "Xentry

          Battery Tester results disagree with workshop assessment" and "Vehicle does




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         not start / Vehicle cannot be unlocked"

                                            PARTIES

      9. The allegations contained in the previous paragraphs are repeated as if fully set

         forth herein.

      10.Plaintiffs are individuals with an address of 135 Oak Avenue, Staten Island, New

         York 10306.

      1 1.Defendants MERCEDES-BENZ USA, LLC is a business with address of 1

        'Mercedes-Benz Drive, Sandy Springs, Georgia, 30328.

      12.:Defendants John Does 1-10 are fictitious defendants who are entities and/or

         individuals, including but not limited to those who have yet to be identified by

        ,plaintiffs but whose identity may be revealed during the period of discovery that

         shall occur in future relative to this action and who may be liable for plaintiffe'.
                                                                                      ;
         damages as referenced herein or who are known but not presently considered to:

         be indispensable parties relative to this matter. Such individuals-entities may

         include but are not necessarily limited to automotive manufacturers, automotive

         distributors, automotive parts manufacturers, automotive parts distributors

         automotive transporters, automotive dealerships, contractors, subcontractors,

         *independent contractors, companies, corporations, businesses, partnerships,

         agents, officers, directors, managing members, employees, salespeople,

         ,technicians, staff, workmen or representatives of the other defendants named

         * herein.




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                    ;0 1


                   13. Unless Otherwise noted below, all allegations set forth below are directecregainst
                                                                                                 tl
                     , all defendants named herein and  all references to "defendants" shall be to 'all

                         defendants named herein.

                                                   FACTUAL ALLEGATIONS                           t    I



                   14 The allegations contained in the previous paragraphs are repeated as if fully set

                       ' forth herein.

                   15.This caSe is'a putative class action against the manufacturer of a vehid              it
                                                                                                            '
                         knew that the vehicle suffered from defects long before plaintiffs purchased the

                       'F vehicle.

                   16.The defect involves the vehicle's electrical system which manifests itself Wilien

                         the vehicle fails to start.

                   17.The vehicle is one of a line of 450 GLE make and model of vehicles

                         manufactured by defendant.                                                  11
                                                                                                     .
                   :     •
                   18. Many have complained about electrical issues plaguing the 450 GLE vehicles.

        4
                   19.1n particular, people have complained about electrical issues plaguing the 2020

                         450 GLE vehicles.
                                                                                                 '4!"1
•           ,      •     As indicated by a bulletin issued by the manufacturer on 1-29-20, as early as
    ;       ,s •
                         then, the manufacturer was aware of electrical issues plaguing the 2021 450
                                                                                                    ;
                         GLE vehicles — specifically, regarding the vehicle's 48 volt on-board electrical

                         system.

                   2d.Per the DCA's list of vehicles branded under the New Jersey Lemon Law as of




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         'April 1, 2021,2 approximately twenty (20)2020 450 GLE vehicles have been

         .branded as lemons, such as those with the following vehicle identification

          numbers: "2020 MERCEDES BENZ GLE450 4JGFB5KE5LA005134; 2020

          MERCEDES BENZ GLE450 4JGFB5KB7LA065342; 2020 MERCEDES BENZ

          GLE450 JGFB5KBOLA004074; 2020 MERCEDES BENZ GLE450

         4JGFB5KB1LA024141; 2020 MERCEDES BENZ GLE450

        '4JGFB5KB8LA005764; 2020 MERCEDES BENZ GLE450

         4JGFB5KEXLA051025; 2020 MERCEDES BENZ GLE450

         '4JGFB5KB3LA074023; 2020 MERCEDES BENZ GLE450

         '4JGFB5KB8LA072851; 2020 MERCEDES BENZ GLE450

         4JGFB5KB4LA073558; 2020 MERCEDES BENZ GLE450

         4JGFB5KE7LA052035; 2020 MERCEDES BENZ GLE450

         '4JGFB5KE8LA024468; 2020 MERCEDES BENZ GLE450

         4JGFB5KBXLA069241; 2020 MERCEDES BENZ GLE450

         ;4JGFB5KB7LA022796; 2020 MERCEDES BENZ GLE450

         .4JGFB5KE8LA089904; 2020 MERCEDES BENZ GLE450

         4JGFB5KB5LA103361; 2020 MERCEDES BENZ GLE450

         4JGFB5KB6LA043851; 2020 MERCEDES BENZ GLE450



   2 https://www.njconsumeraffairs.govillu/Documents/Vehicles-Branded-Under-The-New
   Jersey-Lemon-Law.pdf. By way of explanation, the list states, in relevant part: "If a
   motor vehicle is returned to the manufacturer under the provisions of the New Jelisey
   Lemon Law or similar statute of another state or as a result of a legal action or an
   informal dispute settlement procedure, it shall not be resold or re-leased in New Jersey
   unless the manufacturer has the vehicle's title stamped "R - RETURNED TO THE
   MANUFACTURER UNDER LEMON LAW OR OTHER PROCEEDING." A copy Of the i
   stamped title shall be submitted to the New Jersey Motor Vehicle Commission (MVC)to
   be permanently branded as a Lemon (Status "L" on your NJ title)."

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           4JGFB5KB5LA047924; 2020 MERCEDES BENZ GLE450

           4JGFB5KB5LA161888; 2020 MERCEDES BENZ GLE450

           4JGFB5KE7LA045229; and 2020 MERCEDES BENZ GLE580

           4JGFB8GBOLA172176.

        21.Despite that foreknowledge, the manufacturer failed to disclose the existence of

            that defect to plaintiffs before plaintiffs purchased the vehicle from the

            manufacturer's franchise dealership — the selling dealer.

        22.What resulted was a chain of repair attempts and a vehicle that suffers from a

            diminution in value due to those repair attempts.

        23.At all times relevant to this case, the selling dealer was a dealership authorized

            by defendants to sell the vehicle, issue manufacturer warranties associated

            therewith, service the vehicle and perform warranty repairs to the vehicle under

            the warranty:

        24.At all times relevant to this case, the selling dealer was a "dealer", meaning a

            person who is actively engaged in the business of buying, selling or exchanging

            motor vehicles at retail and who has an established place of business.3

        25.At all times relevant to this case, the vehicle was a "motor vehicle", meaning a

            passenger automobile, authorized emergency vehicle, or motorcycle as defined

            in N.J.S.A. 39:1-1 which is purchased or leased in the State of New Jersey or

            which is registered by the New Jersey Motor Vehicle Commission, except the

            living facilities of motor homes.4




   3   N.J.S.A. 56:12-30; N.J.S.A. 56:12-31
   4   N.J.S.A. 56:12-30.

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       26.At all times relevant to this case, the vehicle was a "consumer product", which

          means any tangible personal property which is distributed in commerce add

         'which is normally used for personal, family, or household purposes (including any

          such property intended to be attached to or installed in any real property without

          regard to whether it is so attached or installed).5

       27.:Defendants manufactured and/or assembled and/or distributed and/or adVertised

          the vehicle, prepared the warranty and via the selling dealer, issued plaintiffs the I

          warranty.

       28:At all times relevant to this case, the manufacturer was a "manufacturer",

          meaning a person engaged in the business of manufacturing, assembling o' r

          distributing motor vehicles, who will, under normal business conditions duing the

          year, manufacture, assemble or distribute to dealers at least 10 new motoil

          vehicles.6

       29.At all times relevant to this case, the manufacturer was a "supplier", which!,

         .means any person engaged in the business of making a consumer

          ,product directly or indirectly available to consumers.7

       30.At all times relevant to this case, the manufacturer was a "warrantor", which

         .means any supplier or other person who gives or offers to give a written

         !warranty or who is or may be obligated under an implied warranty.8

       31.At all times relevant to this case, plaintiffs were "consumers", meaning a 13"UyOr Or
                                                                                      1• 1 .
                                                                                        "

   5 15 UiS.C. §2301(1).
   6 N.J.S.A. 56:12-30.
   7 15 U.S.C. § 2301(4).
   8 15 U.S.C. §2301(5).



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                essee, other than for purposes of resale or sublease, of a motor vehicle; a

               person to whom a motor vehicle is transferred during the duration of a warranty

               applicable to the motor vehicle; or any other person entitled by the terms of the

               Warranty to enforce the obligations of the warranty.9

            32.At all times relevant to this case, plaintiffs were "consumers", meaning a byyer

              (other than for purposes of resale) of any consumer product, any person to whom

                uch product is transferred during the duration of an implied or written

              * Warranty (or service contract) applicable to the product, and anynew
                I
                other person who is entitled by the terms of such warranty (or service contract) or

               'under applicable State law to enforce against the warrantor (or service

               contractor) the obligations of the warranty (or service contract).19
                                                                                         I
            33.Pursuant to its definition of "motor vehicle," the NCLL applies to the vehicle and

4              the class vehicles: "Motor vehicle" means a passenger automobile or motorcycle

               as defined in R.S.39:1-1 which is purchased or leased in the State of New Jersey

               pr which is registered by the Division of Motor Vehicles in the Department of Law

               6nd Public Safety, except the living facilities of motor homes."   N.J.S.A. 56:12-

               30. Pursuant to said definition, the New Jersey motor vehicle code, N.J.S.A.

               39:1-1, et seq., defines "motor vehicle" as follows: "Motor vehicle" included all

                ehicles propelled otherwise than by muscular power, excepting such vehicles as

               run only upon rails or tracks and motorized bicycles." N.J.S.A. 39:1-1..

            34. Plaintiffs are "purchasers" as defined by N.J.S.A. 56:12-30 and the manufacturer




        9   N.J.S.A. 56:12-30.
        1* 9 15 U.S.C. §2301(3).

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          is a "Manufacturer" as defined by N.J.S.A. 56:12-30.

      35.The dealers were the manufacturer's "dealers" as defined by N.J.S.A. 56:12-30

          and as referenced in N.J.S.A. 56:12-31.

      36.Here is a chronology of events relevant to this case that other 450 GLE vehicle

          owners or lessees experienced with their vehicles.

      37.0n or about 11-8-19, a consumer wrote on an online vehicle forum board that:

         "Most unreliable car I have ever owned. by CEO from Lexington NC on Fri Nov

         08 2019 I currently own 3,Mercedes (sic) - I will never own another one. This

         2020?450!GLE (sic) has refused to start, left me stranded 10 times in 8 weeks-

         'only to find out from a tow truck driver there is a problem with the software. •

          Which Mercedes has now confessed is true. I will turn this new car back to

          dealer. NC lemon law." Exhibit E.

      38.0n 1-28-20, the manufacturer issued a Xentry Tips technical service bulletin for

         ,issues related to failure to start issues with its vehicles. Exhibit F.

      39.That bulletin expressly referred to problems with vehicles' 48 volt on board

          batteries. Exhibit F.

      40.0n 8-7-20, the manufacturer issued a Xentry Tips technical service bulletin for

          issues related to failure to start issues with its vehicles. Exhibit F.

      41.'That bulletin expressly referred to problems with vehicles' batteries and the need

       " to replace same. Exhibit F.

      42.0n 8-10-20, the manufacturer issued a Xentry Tips technical service bulletin for

          issues related to the batteries of its vehicles. Exhibit F.

      43.0n or about 6-12-20, a consumer wrote on an online vehicle forum board that:




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               I                                                                                 !
               1


               iHello Everyone Sorry this is my first post. Got a new 2020 GLE350 about 3

              months ago About a week ago, it would not start, bunch of lights on the dah,

              Would not turn over MB sent out a service and they jumped the car It ran for

                   nother week, and then just died again. We had it towed to MB this time Already

              Checked the Battery and the Alternator, all are fine Any idea what is causinb the
I
              battery drain Tks". Exhibit C.

           44.0n or about 6-12-20, a consumer on the same forum responded as follows:
              •                                                                             i
              Don't rule out the battery. I had a similar situation except that with the 450;the 48

              yolt starts the car. I kept getting "critical battery" message and the dealer couldn't

              find anything wrong. Then when it was in for 3 days to replace the MBUX

              controller it ran down after a charge and they replaced it (the 12 volt batter'). I

              think it had an internal short but got that 3td hand from SA & probably a guess."

           45.0n or about 6-18-20, the first consumer replied as follows: "Back from the shop
                                                                                                             I
                                                                                                                 ,
              ESP was a constant drain on battery Supposedly a known issue Fixed with a                          ;

              software update Will let you know if it fixes the problem permanently, tks for the             ;
              responses". Exhibit C.

           46.0n or about 8-3-20, another consumer posted on the same forum:"So this'is

              what they claim was wrong with my GLE only took 3 weeks to figure it out. I'm not
                                                                                                           '1    1


              buying it. Just picked it up so we will see. Now I feel like I don't have a reliable
                                                                                                           I.1
              Vehicle especially with all the bad reviews I have read. Pinched wiring starter
              1, •rcuit BUT it stopped while at a stop light and then
              ci                                                      didn't start after it cut off. I'm

              no mechanic but it doesn't add up to me." Exhibit C.

           47.0n or about 8-4-20, another consumer posted on the same forum: "I've had the




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          same issue with my four month old 2020GLE! Keep getting "Critical" messages

          via email. Dealer has had the vehicle three or four times and continues with

          software updates apparently dictated by Mercedes. "Starter Battery Partly.

          Charged" shows on the Mercedesme app for almost a week now despite the car

          being driven daily. Really frustrating and I'm quickly losing confidence in b:othe

          the vehicle and dealership!" Exhibit C.

      48.0n or about 12-20-20, another consumer posted on the same forum "I had a:

          similar experience my new '21 GLE450: battery went dead after 230 miles. Had

          to be towed - could not be jumped. I am waiting more than 30 days fir a new

          battery coming from Germany. None in the US. So frustrating. Mercedes has a

         serious problem here with this 48v battery system." Exhibit C.

      49.0n or about 12-20-20, another consumer posted on the same forum "Sarrie              here.
          First a 48 volt battery malfunction, then a red 48 volt system failure, then, Must

          stop the engine due to overheating. Stopped on the side of the road, ca11e61

          Mercedes Road side assistance which is a joke for another post. After repeating

          to the guy on the phone that I need a tow truck, NOT a jump...who do they

          send... a jump guy. Anyway, he called me and said he's seen this before, and for

          me to try to start the car. Did that...everything was just fine...no warnings. I drove

          it to the dealer in Pompano Beach, FL. the next morning. Drove perfectly fine to

          the shop. They informed me later in the day that the 48 volt battery needed to be

          replaced, there are none in the US, and 47 on back order in Germany with no

          idea when I would get one. The car is still with them since December 1. This is
                                                                                          i   •


          my first MB, and I'm NOT impressed at all. The biggest question I have is...this a




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         i



         ,
             battery problem, or software issue...or both? Batteries don't usually come back to
              .i
             fife after a failure, and a 10 minute shutdown?? Seems that resetting the software

         :by restarting the car made the issue go away...for now at least." Exhibit C.
          !
       50.bn or about October, 2020, a consumer wrote on an online vehicle forum board
           1                                                                           i
          that "I have had 4 occasions in last 3 months where 450 is dead after only sitting
          p
             for an hour. Its (sic) now at Dealer for second (sic) time for this problem with total
             .1
             Of 15 days of trying to fix it. In 3 of those occasions, jumping finally started it.
              ,
             Dealer replaced starter battery. THen (sic) it happened again last week and thus
              1
             up at the dealer. A GLE 450 they gave me as a loaner last time also ended up
              I
             not starting while I had it and had to be towed- not even a jump started it. ANy

             'sic)one know if other GLEs are having this problem? I know hundreds of GLEs
              1
             were stored at the factory when they were originally built. My GLE was built in
             1
             November of 2018. I bought it new in January of 2020. ANy (sic) help would be
                                                                                                      I

             greatly appreciated. Love the car but don't trust it at all." Exhibit D.

       51.A Upon information and belief, before plaintiffs purchased the vehicle from the

       ' selling dealer, none of the employees of the selling dealership that showed

             plaintiffs the vehicle or were involved in the sale of the vehicle to plaintiffs ever

             Mentioned the defect.

       52. Upon information and belief, before plaintiffs purchased the vehicle from the

             selling dealer, none of the employees of the manufacturer ever forwarded

             plaintiffs any literature about the defect.

       53. Upon information and belief, before plaintiffs purchased the vehicle from the

             selling dealer, none of the employees of the selling dealership that showed




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          plaintiffs the vehicle or were involved in the sale of the vehicle to plaintiffs'ever

          gave plaintiffs any literature mentioning or referring to the defect.          1

      54. Upon information and belief, before plaintiffs purchased the vehicle from the

         selling dealer, none of the employees of the manufacturer ever forwarded!

          plaintiffs any literature mentioning or referring to the defect.

      55.When plaintiffs purchased the vehicle, plaintiffs were totally unaware of the'

          defect.
                                                                                    1
      56.0n or about 10-29-20, plaintiffs purchased the vehicle in new condition at he
                                                                                    1
         selling dealer in Edison, New Jersey for the sum of approximately $76,918.36.
                                                                                    1
      57.Plaintiffs' purchase of the vehicle occurred after: (1)the manufacturer issied at

          least three (3)technical service bulletins related to a no start condition and/or

          issues related to the vehicle's battery and/or the vehicle's electrical system

         (exhibit F); and (2) after the posting online by consumers of summaries ofItheir !

          no start and/or electrical and/or battery issues with their 450 GLE vehicles and

          their efforts to get the manufacturer's franchise dealerships to repair their !
                                                                                             °
          vehicles for those issues. Exhibits C-E.

      58.Therefore, when the vehicle was sold to plaintiffs by the selling dealer, the .

          manufacturer had knowledge that the vehicle suffered from electrical problems

          that would cause the vehicle to fail to start.

      59.At time of sale, the selling dealer issued plaintiffs the warranty with various

          coverage periods for various components, including but not limited to the

         following: coverage for 4 years/50,000 miles for "basic" components.

      60.At all times relevant to this case, the warranty was a "warranty", which me'ans




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              any warranty, whether express or implied of the manufacturer of a new motor
         "!
              vehicle, or, in the case of a new motor vehicle that is an authorized emergency

              vehicle, of the manufacturer, co-manufacturer or post-manufacturing modifier, of

              the vehicle's condition and fitness for use, including any terms or conditions

              precedent to the enforcement of obligations under the warranty.11

       61% At all times relevant to this case, the warranty was a "written warranty", which

              Means — (A)any written affirmation of fact or written promise made in

         . connection with the sale of a consumer product by a supplier to a buyer which

              relates to the nature of the material or workmanship and affirms or promises that

              such material or workmanship is defect free or will meet a specified level of

              Performance over a specified period of time, or (B)any undertaking in writing in

              connection with the sale by a supplier of a consumer product to refund, repair,

              replace, or take other remedial action with respect to such product in the event

              that such product fails to meet the specifications set forth in the undertaking,

              which written affirmation, promise, or undertaking becomes part of the bass of

              the bargain between a supplier and a buyer for purposes other than resale of

              such product.12

       62.At all times relevant to this case, the warranty was a warranty which pertained

         , to a consumer product actually costing plaintiffs more than $5 (i.e., the vehicle).13

       63.As time of sale, one or more implied warranties covering the vehicle arose as a

              matter of law in plaintiffs' favor, with the term "implied warranty" meaning



    11 N.J.S.A. 56:12-30.
    12 15 U.S.C. §2301(6).
    13 15 U.S.C. §2302(2)(e).



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            an implied warranty arising under State law (as modified by 15

            U.S.C. 2308 and 2304(a)) in connection with the sale by a supplier of

            a consumer product.14

        64.At all times relevant to this case, plaintiffs were entitled to seek repair attempts to

            the vehicle under the warranty for problems that plaintiffs experienced with the

            operation of the vehicle.

        65.Following purchase, plaintiffs experienced problems with the vehicle's oper6tion

            and pursuant to the manufacturer's new vehicle limited warranty, took the vehicle

            to various dealerships for multiple unsuccessful repair attempts.

        66.The vehicle's repair history is summarized in the repair history summary. Exhibit

            A.
                                                                                               1,
                                                                                      _
        67.During the vehicle's warranty period and/or during the first 24,000 miles of
                                                                                           1.
            operation or during the period of two years following the date of original delii/ery
                                                                                          .;
            of the vehicle to plaintiffs (whichever occurred first), plaintiffs experienced th!'e

            problems, the details of which are set forth below and/or in complaint exhiblt A.

        68.1n all, following the sale of the vehicle to plaintiffs by the selling dealer, the• I

            vehicle has undergone at least 3 repair attempts and spent approximately.47
                                                                                      is
            days at the manufacturer's franchise dealership — the selling dealer 7 for rei?air

            attempts for issues with a no start condition and/or electrical malfunction. :Exhibit

            A.

        69.Approximately 2 weeks after plaintiffs took delivery of the vehicle, the vehicle had

            to be towed into the dealer because the entire passenger side of the vehicle



   14   15 U.S.C. §2301(7).

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         :
         ;



          experienced a loss of power, with the mirror on that side of the vehicle failing to

          extend for use.
         . I
       70.0n or about 11-30-20, the vehicle died while parked in plaintiffs' garage, with the

          vehicle's power going on but the vehicle failing to turn over.

       71.Accordingly, at that time, the vehicle was towed to the selling dealer for warranty

          service.

       72. he service department staff of the selling dealer told plaintiffs that the vehicle's
          .1
          48 volt battery was the cause of the vehicle's problems but allegedly because of

          the demand for those batteries which were claimed to be on backorder, it took

           Ontil 1:9-21 to get the vehicle repaired.

       73.following that repair attempt, on various occasions, plaintiffs noticed that the

           yehicle's dashboard display experienced a power failure as it rebooted and

          riestarted.

       74.0n or about 4-10-21, the vehicle again died and was towed to the selling dealer.

       75.0n this occasion, the service department staff of the selling dealer told plaintiffs

          that the vehicle's 48 volt battery was the cause of the vehicle's problems.

       76.the service department staff of the selling dealer told plaintiffs that, to prevent his

           having to wait a long time for the completion of repairs, the selling dealer was

          going to simply take the battery that they had set aside for another customer's

          4hicle and install it in the vehicle.

       77.While the invoice for that repair refers to the vehicle being returned to the

          consumer on 4-15-21, in fact, the vehicle was not returned to plaintiffs until 4-16-

          21. Exhibit A.




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        78. Had plaintiffs known what the manufacturer knew about the vehicle presalell — i.e.,

            that the vehicle, along with all other 2021 450 GLEs, suffered from a no staIrt

            problem or electrical problem — plaintiffs never would have purchased the

            vehicle.
                                                                                         !!
        79.The problems were "nonconformities", which means a defect or condition which
                                                                                      I;    •
                                                                                      !I I;
           substantially impairs the use, value or safety of a motor vehicle.15          !;
                                                                                          ;
        80.During the vehicle's warranty period and/or during the first 24,000 miles ot

            operation or during the period of two years following the date of original d liVery.

            of the vehicle to plaintiffs (whichever occurred first), plaintiffs presented th'eli •
                                                                                             II
            vehicle to the dealerships for the dealerships, reported the problems to th4 /.
                                                                                              ! I
            dealerships and those dealerships performed repair attempts to the vehicle '

           .relative to the problems. Exhibit A.
                                                                                        I
                                                                                      i
        81.As detailed below and in complaint exhibit A, during the vehicle's warranty period
                                                                                        ;
                                                                                         1 I; •
            and/or during the first 24,000 miles of operation or during the period of two years
                                                                                           ;
                                                                                  (whicheverI; !
           following the date of original delivery of the vehicle to plaintiffs              !!

            occurred first), defendants or their agents the dealerships were unable to ijiepair
                                                                                                 ;
            or correct the problems within a reasonable time. Exhibit A.                    1 1  1!
                                                                                            ;
                                                                                            II
        82. Due to the repeated repair attempts, plaintiffs view the problems as affecting the
                                                                                            i;
                                                                                            1! •
            use and value of the vehicle.                                                   1!; !!
                                                                                                 I!
        83.Plaintiffs have no idea if or when the vehicle's problems will occur again, 1 1
                                                                                              1 11
          • potentially requiring further repairs.                                            I I!
                                                                                                 I;
                                                                                                 ;
        84.Plaintiffs fear being in a situation in which the vehicle fails to start and that;I
                                                                                      •
                                                                                           !!
                                                                                                    ;
   15   N.J.S.A. 56:12-30.
                                                                                              Ii; I !
                                                                                                  II
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              Olaintiffs will be stranded somewhere.

       85.Given the need to have the vehicle towed and its lack of reliability, the problems

              have significantly impaired plaintiffs' use of the vehicle and plaintiffs believe the

              N'iehicle is unsafe and plaintiffs' confidence in the vehicle is shaken.

       86.In addition, the vehicle's repair history cannot be erased — instead, that history is

                permanent blemish on the vehicle's value.

       87.Accordingly, given the vehicle's repair history, plaintiffs believe that the vehicle is

              less valuable than if the vehicle didn't have the problems.

       88.Therefore, plaintiffs believe that the vehicle's use, value and/or safety is

              substantially impaired by the problems and plaintiffs' confidence in the vehicle is

              totally shaken.

       89 The NCLL states, in relevant part: "[t]he Legislature finds that the purchase of a

         :1 new motor vehicle is a major, high cost consumer transaction and the inability to

         'correct defects in these vehicles creates a major hardship and an unacceptable

         ; economic burden on the consumer. It is the intent of this act to require the

              manufacturer of a new motor vehicle, or, in the case of a new motor vehicle that

         'is an authorized emergency vehicle, the manufacturer, co-manufacturer, or post-
          .
              manufacturing modifier, to correct defects originally covered under warranty
         .t
              Which are identified and reported within a specified period. It is the further intent

         • of this act to provide procedures to expeditiously resolve disputes between a

              consumer and a manufacturer, co-manufacturer, or post-manufacturing modifier

              when defects in a new motor vehicle are not corrected within a reasonable time,

              and to provide to award specific remedies where the uncorrected defect




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             substantially impairs the use, value, or safety of the new motor vehicle.
                                                                                           1
          90.Under NCLL, the UCC and/or the MMWA, proof of the existence of a problem in
                                                                                           1
             the vehicle or of negligence on any defendants' part is not a prerequisite to la

             finding that the problems substantially impair the vehicle's use and/or valuel,

             and/or safety.
                                                                                        1
          91.To date, the manufacturer never repurchased the vehicle from plaintiffs pursuant

             to the NCLL.                                                                        ;1
          79. Upon information and belief, defendants maintain a computerized databa4e1of all
                                                                                     '
             of the warranty repairs and resources for defendants'franchise dealerships to

             use to attempt to repair vehicle issues or nonconformities comp6ined of by

             vehicle purchasers to said dealerships. Exhibit B.
                                                                                                 1
          80.Therefore, defendants provide technical support to franchise dealerships            I

             performing repair attempts under the warranty such as the selling dealer. Exhibit

             B, p.3.

          81. Defendants require defendants' franchise dealerships to submit forms fori

             reimbursement for warranty repairs, which include a description of the prob em
                                                                                       1 1
                                                                                         1,
             and the repairs being completed and those dealerships notify defendants of,

             warranty issues. Exhibit B, p. 4-5.
1
          82.As explained above, every time a vehicle is brought to defendants' franchise

             dealerships for repairs under the warranty, said dealerships notify defendants of

             the issues that are the subject of the repair attempts and are frequently asked by.

             said dealerships to authorize the performance of repair attempts (i.e.,     ,

              performance of labor and replacement of parts on the vehicle).       ,


                                                                                             •
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         I



       83.!t is beyond question that, before plaintiffs' purchased the vehicle, other

          purchasers of 450 GLEs reported issues with their vehicles identical or

          substantially similar to the problems experienced by plaintiffs to defendants'

         ! franchise dealerships servicing those other vehicles. Exhibits C-E.
          I
       84'. 1t is also beyond question that, before plaintiffs' purchased the vehicle,

         i defendants issued at least four(4)technical service bulletins discussing electrical

          issues with the vehicle and that at least two (2) of those bulletins expressly

          referred to no start problems with defendants' vehicles.

       85 Indeed, at least one technical service bulletin issued by the manufacturer and

         I one or more posts placed on online vehicle forums refer in particular to
         ! issues with the 48 volt battery of 450 GLE vehicles. Exhibits C-F.
         I
       86 Accordingly, defendants:(1) had knowledge of the problems long before plaintiffs

         I purchased the vehicle; and (2), were asked by other consumers purchasing 450

          GLEs to perform repair attempts to address the same or substantially similar

         ! problems.

       87 The NCLL imposes various reporting requirements on manufacturers relative

         I to vehicles with inherent design defects and on the manufacturer and DCA

         ! relative to vehicles repurchased by manufacturers as lemons.

       88.Those reporting requirements shall make it easier for plaintiffs, during the

          course of discovery in this case, to determine the class members' identities.

       89.The NCLL requires manufacturers to "shall certify to the division, within one

          year of discovery, the existence of any inherent design defect common to all




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            motor vehicles of a particular model or make."16

         90. Under the NCLL, a manufacturer commits a per se CFA violation if they fail to

            perform that certification.

         91. Upon information and belief, in violation of the CFA, defendants failed to perform

            that certification process notwithstanding defendants having knowledge that the
                                                                                     ,
            problems were an inherent design defect of the vehicle.

         92.Pursuant to the NCLL regulations adopted by the DCA, the Division of Consumer

            Affairs shall maintain an index of all motor vehicle disputes by make and rnc:idel

            and shall compile and maintain statistics indicating the record of manufacurer

            compliance with any settlement procedure decisions and the index and statistical

            record of compliance shall be made available to the public.17

         93.Pursuant to the NCLL,"a. If a motor vehicle is returned to the manufacturOrl, or, in

            the case of an authorized emergency vehicle, to the manufacturer, co-

            manufacturer, or post-manufacturing modifier, under the provisions of this'aict or

            a similar statute of another state or as the result of a legal action or an informal

            dispute settlement procedure, it shall not be resold or re-leased in New Jersey

            unless:(1) The manufacturer, co-manufacturer, or post-manufacturing modifier
                                                                                    '      . 1
            provides to the dealer, distributor, or lessor, and the dealer, distributor or lessor
                                                                                           , r    ,
                                                                                            1
            provides to the consumer, the following written statement on a separate piece of
                                                                                           : r
            paper, in 10-point bold-face type:"IMPORTANT: THIS VEHICLE WAS

            RETURNED TO THE MANUFACTURER OR OTHER RESPONSIBLE PARTY



   16.   N.J.S.A. 56:12-44.
         1. 17 N.J.A.C. 13:45A-26.15.



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             BECAUSE IT DID NOT CONFORM TO THE MANUFACTURER'S OR OTHER

             14'ARTY'S WARRANTY FOR THE VEHICLE AND THE NONCONFORMITY WAS

             NOT CORRECTED WITHIN A REASONABLE TIME AS PROVIDED BY LAW;"

            (2)The dealer, distributor, or lessor obtains from the consumer a signed receipt
             I
             certifying, i n a conspicuous and understandable manner, that the written

             sitatement required under this subsection has been provided. The director shall

             prescribe the form of the receipt. The dealer, distributor, or lessor may fulfill his
                 bligation to obtain a signed receipt under this paragraph by making such a

             notation, in a conspicuous and understandable manner, on the vehicle buyer

             order form accompanying the sale or lease of that vehicle; and (3) The dealer,

             distributor, or lessor, in accordance with the provisions of section 1 of P.L.1993,

             6.21 (C.39:10-9.3), notifies the Chief Administrator of the Motor Vehicle

             oommission of the sale or transfer of ownership of the motor vehicle."18
             1
         92. Disclosure during discovery of the reasons for other 450 GLE vehicles being

             6randed lemons could reveal that one or more of the reasons were issues similar

             or identical to the problems.

         93.9ne or more statutes pled herein provide for fee shifting for parties hiring counsel

             and prevailing under said statutes.

         94.Accordingly, the counsel bringing this case serves as a private attorney

             genera1.18

         95.Otherwise, consumers pursuing claims under fee shifting states might incur




    18   N.J     56:12-35.
    19
         See Lemelledo v. Beneficial Mgmt. Corp. of Am., 150 N.J. 255, 268 (1997).

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              potentially considerable expense for a potentially small recovery.20

          94.As indicated by multiple unsuccessful repair attempts, defendants' never

             found a solution to the problems in a reasonable period of time and may

              indeed never find a solution or if found, that discovery may not occur during

              the period of coverage provided via the vehicle's warranty, resulting in the

              need for costly repairs out of pocket for problems that were covered by the

             .warranty and should have been fixed in a reasonable time during the

              warranty's duration at no cost to consumer but that defendants never fixed n

              a reasonable time and during that duration and plaintiffs failed to receive the

              benefit of plaintiffs' bargain — e.g., a safe, reliable, valuable vehicle warranted

             against yet discovered problems or problems that could be addressed under

             the warranty in a reasonable period of time.

          95.Instead, before plaintiffs purchased the vehicle, defendants had advanced !

             -knowledge, through the complaints of other consumers purchasing or leasing

             2020 450 GLEs or older model years of 450 GLEs, that those vehicles had

              problems which defendants were unable to successfully repair in a

              reasonable time. Exhibits C-E.

          96.While no consumer may be entitled to a new vehicle that is entirely trouble

             free mechanically, no manufacturer should place into the stream of

              commerce a vehicle which it knows suffers from specific problems and that



       20 See, e.g., Skeer v. EMK Motors, Inc., 187 N.J. Super. 465, 470(App. Div.
       1982)(discussing fee shifting under the CFA); Chaffin v. Cape May Greene, Inc., 243
       N.J. Super. 590, 610(App. Div. 1990), aff'd o.b., 124 N.J. 520(1992)(citing Coleman v.
       Fiore Bros., Inc., 113 N.J. 594, 598 (1989))(same); Furst v. Einstein Moomjy, 182 N.J.
       21 (2004)(same).

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               .C, annot'be fixed after repeat repair efforts and that substantially impair the
           1 1 :1
           !I yehicle:s use, value and/or safety.

         9T.The vehicle's warranty and the protections afforded to consumer via the NCLL
            i
          .; •1
              are crucial to the purchasers of vehicles manufactured, assembled and
           ;1 1
          :I distributed by defendants to which the warranty an the NCLL applies, as the

                   Warranty and the NCLL influences consumers' decisions to purchase vehicles

                   Covered by the warranty and NCLL.

         98.As the Appellate Division explained: 21 "[Marranties developed in the law ... to

                   protect the ordinary consumer who cannot be expected to have the knowledge or

                   capacity ... to make adequate inspection of mechanical instrumentalities, like

                   automobiles, and to decide for himself whether they are reasonably fit for the

                   designed purpose." Henningsen, supra, 32 N.J. at 375, 161 A.2d 69. An express

                   Warranty for a new automobile is not provided gratuitously by the manufacturer or

                   seller. The cost of the warranty is included in the cost of the product. The

                   Consumer has purchased the warranty along with the car. It is "part of the benefit

                   of the bargain." Thiedemann v. Mercedes—Benz USA, LLC, 183 N.J. 234, 251,

                   872 A.2d 783(2005).

         99.Express warranties are used by manufacturers to increase the attractiveness of

                   their products to consumers. The inclusion of warranties is not a result of

                   corporate benevolence. Conversely, purchasers rely on warranties; they

                   r,easonably expect them to have meaning beyond a mere promise of

           :


    21   Foi-d:Motor Credit Co. v. Mendola, 427 N.J. Super. 226(App. Div. 2012).


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           seplacement.22

        100. A warranty is intended to give consumers peace of mind that any problerri,s with

            the vehicle arising during the applicable coverage periods of the warranty can

            and shall be addressed in a reasonable period of time and if not, that consmers

            shall have recourse to the law to seek damages such as the remedy of

            revocation of acceptance and the NCLL statutory refund.

        101. Therefore, while a warranty is not a guarantee against all issues that mayl

            arise in the operation of a vehicle, the warranty forms an important marketipg

            tool, providing a consumer peace of mind that problems with a warranted !

            vehicle's operation, brought to the manufacturer's attention during that

            period, can and shall be fixed by the vehicle's manufacturer in a reasonable

            time.
                                                                                       i
        102. However, in this case, before plaintiffs purchased the vehicle, defendants

           (1) knew that the problems existed;(2) were unable to fix those problems in a

            reasonable time — as shown from warranty repair experience with 2020

            and/or older model year 450 GLE owners that were equipped with parts

            similar or identical to those installed in 2021 450 GLEs; and (3) proceeded to

            manufacture, assemble and distribute the vehicle into the stream of;

            commerce with its warranty to its ultimate end user, plaintiffs.

         103. Therefore, since certain 450 GLEs suffer from known issues that de

           .repair and since defendants had knowledge of those issues before !

            distributing those 450 GLEs to dealerships for sale and lease to the public,


                                                                                           6
   22   Gladden v. Cadillac Motor Car Div., 83 N.J. 320 (1980)(Pashman, J., concurring).

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          . the efficacy of the warranties issued with those 450 GLEs was in doubt
           1
           i before those 450 GLEs were sold and leased.

         104. Accordingly, acting in bad faith, defendants lured plaintiffs to consider

          .1purchasing the vehicle, marketed and sold as it was with its warranty but

            without disclosure of the problems that were unable to be fixed in a

            reasonable time under the warranty.

         105. Under the UCC "[a]ny affirmation of fact or promise made by the seller to the

            buyer which relates to the goods and becomes part of the basis of the bargain

            creates an express warranty that the goods shall conform to the affirmation or

            promise."23

         106. Further, every contract with a merchant for the sale of goods contains an

            implied warranty that the goods are fit for ordinary purposes for which the goods

            are used. This warranty is known as the implied warranty of merchantability.24

         107. In addition to other remedies available to consumers under the UCC for a

            breach of warranty, a UCC remedy available to consumers when a manufacturer

            fails to fix a vehicle in a reasonable period of time is revocation of acceptance.25

         108'. By failing to fix the problems in a reasonable time, defendants violated the

            NCLL and breached the warranty and the implied warranty of merchantability that

            arose as a matter of law relative to the vehicle.




    23 N.J.S.A. 12A:2-313(1)(a).
    24 NeW Jersey Model Civil Jury Charge 4:22B.
    25 N.JIS.A. 12A:2-608; General Motors Acceptance Corp. v. Jankowitz, 216 N.J. Super.
    313 (iikpp. Div. 1987); Realmuto v. Straub Motors, 65 N.J. 336 (1974); Ford Motor Credit
    Co. v.1 Mendola, 427 N.J. Super. 226, 242(App. Div. 2012); See also Ventura v. Ford
    Motori Corp., 180 N.J. Super. 45, 53-54, 433 A.2d 801 (App. Div.1981).

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      109. The vehicle's use, value and safety are substantially impaired by defendants'

          failure to fix the problems in a reasonable time.

      1 10. The vehicle's value has suffered from diminution.

      1 11. Diminution in value is a standard measure of damages in breach of warranty

          cases, such as here, where a revocation of acceptance remedy is sought.26

      1 12. Further, breach of warranty damages need not be established with exact

          certainty: "[M]ere uncertainty as to the quantum of damages is an insufficient

          basis on which to deny the non-breaching party relief. Although it complicates the

          precise calculation of damages, our courts have long held that "[p]roof of

          damages need not be done with exactitude. ... It is therefore sufficient that he

          plaintiff prove damages with such certainty as the nature of the case may permit,

          laying a foundation which will enable the trier of the facts to make a fair and

          reasonable estimate."27

      1 13. As explained in the Restatement(Second)of Contracts: Alternatkie to Loss in

         .Value of Performance § 348(Am. Law Inst. 1981), a small windfall to the injured

          party based on an inability to prove exact damages should not defeat recov!ery.




                  re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 816-
   26 See, e.g., In
   17(3d Cir. 1995)(emphasizing, in a class action suit, that section 2-714(1) of the   OCC
  allows for damages "as determined in any manner which is reasonable"); Perth Amboy
   Iron Works, Inc. v. Am. Home Assurance Co., 226 N.J. Super. 200, 219, 543 A.2d,1020
  (App. Div. 1988); McDonald v. Mianecki, 79 N.J. 275, 282 n.1 (1979); accdrd Furst v.
  Einstein Moomjy, Inc., 182 N.J. 1, 13, 860 A.2d 435(2004)(applying UCC principles to
  a consumer fraud case and concluding that the cost of replacing a damaged carpet was
  the appropriate measure of damages, as that method put the buyer in the position;he
   would have been in if he had received a non-defective carpet).
  27 Totaro, Duffy, Cannova and Co., LLC v. Lane, Middleton & Co., LLC, 191 N.J. 1,, 14,
  921 A.2d 1100(2007)(quoting Lane v. Oil Delivety Inc., 216 N.J. Super. 413, 420L 524
   A.2d 405 (App. Div. 1987)).

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             1 14. Also, the injured party need not prove that he or she actually spent the money

                   to repair the defect in order to recover for the breach.28

             1 15. The United States Supreme Court rejected the notion that a jury may not

               ! estimate damages.29

             1 16. As td the implied warranty of merchantability, that warranty was breached

                   because the vehicle was unfit for the ordinary purpose for which such goods are

               I used.

             1 17. As reflected by the vehicle's repair history, before filing suit, plaintiffs gave

               I defendants multiple efforts to cure the problems but defendants failed to fix the

               I problems in a reasonable time. Exhibit A.

             1 18. Moreover, as explained above, since defendants knew about the problems at

1              I   the tim'e of purchase, defendants had ample opportunity before the sale to cure

                   the br9ach of warranty.

             1 19. The manufacturer failed to repurchase the vehicle from plaintiffs pursuant to the

                   NCLL.1

             120. The NCLL states, in relevant part: "[t]he Legislature finds that the purchase of a

                   new motor vehicle is a major, high cost consumer transaction and the inability to

                   correct defects in these vehicles creates a major hardship and an unacceptable




        28Cox v. Sears Roebuck & Co., 138 N.J. 2, 22, 647 A.2d 454 (1994).
        29 ZenithRadio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 124, 89 S.Ct. 1562, 23
        L.Ed.2d 129 (1969)("[a]lthough the factfinder is not entitled to base a judgment on
        speculation or guesswork, the jury may make a just and reasonable estimate of the
        damage based on relevant data, and render its verdict accordingly"). See also Tyson
        Foods, Inc. v. Bouaphakeo, 577 U.S. —,136 S.Ct. 1036, 194 L.Ed.2d 124 (2016).




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         economic burden on the consumer. It is the intent of this act to require the !

         .manufacturer of a new motor vehicle, or, in the case of a new motor vehicle that

         is an authorized emergency vehicle, the manufacturer, co-manufacturer, or,post-
                                                                                  ,
          manufacturing modifier, to correct defects originally covered under warrantk

         which are identified and reported within a specified period. It is the further in' tent

         of this act to provide procedures to expeditiously resolve disputes b:etween

         consumer and a manufacturer, co-manufacturer, or post-manufacturing moiifier

         when defects in a new motor vehicle are not corrected within a reasonable lime,

         •and to provide to award specific remedies where the uncorrected defect

         substantially impairs the use, value, or safety of the new motor vehicle.

      121. Because of defendants' failure to fix the vehicle in a reasonable time and

         defendants' failure to provide plaintiffs with a revocation of acceptarce remedy or
                                                                                        ,
         a statutory repurchase under the NCLL, plaintiffs must now seek damages
                                                                                            I
         against defendants.

      122. To the extent that via the vehicle's warranty booklet, defendants attempt to
                                                                                       I
         disclaim liability for consequential damages and thereby limit the warranty to one

         simply providing a repair remedy, such an effort is fruitless.                    I
                                                                                           I!
      123. Such limitation language fails to negate plaintiffs' damages clairna)becau8e
                                                                                           11
                                                                                           !,
         where a limited repair remedy fails of its essential purpose (i.e., failing to fi

         vehicle in a reasonable time), the repair remedy limitation is no impediment.to the
                                                                              ;I
         consumer's recovering consequential damages. This is because, l0 be

         effective, a repair remedy must be provided within a reasonable period of time.

         Otherwise, the buyer loses the substantial benefit of the buyer's purchase and is




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          I thus entitled to seek damages against the offending party.3°

        124. "It is to be emphasized that we are here dealing with words of exclusion or

           limitation contained in a contract document that is not the product of mutual

           negotiation or cooperative draftsmanship. The purchaser of a mass-produced

           consumer article with a standard warranty form or booklet, as in this case, has no

           opportunity to bargain over its terms. Warranties are prepared unilaterally by the

          E company and distributed automatically with the product on a mass basis.

           Henningsen v. Bloomfield Motors, Inc., supra, 32 N.J. at 390. The consumer

           must ordinarily place considerable reliance upon the fairness and good faith of

           the manufacturer and its dealers. It has therefore been recognized that the

           reliance which a consumer necessarily reposes in a seller engenders a

          ! corresponding responsibility on the seller. See id. at 399." 31

        125. As to the NCLL and warranty claims, this isn't a case a defect but rather, the

          ; relief to which consumers are entitled when a manufacturer fails to provide a

           limited warranty repair remedy in a reasonable time.

        126. Under NCLL, the UCC and/or the MMWA, proof of the existence of a problem

           in the vehicle or of negligence on any defendants' part is not a prerequisite to a

          :finding that the problems substantially impair the vehicle's use and/or value

           and/or safety. 32



   30 G.O.A.C. v. Jankowitz, 216 N.J. Super. 329, 330-331 (App. Div. 1987); Chatlos
   Systems v. NCR Corp., Inc., 635 F.2d 1081, 1085-1086(3rd Cir. 1980); N.J.S.A. 12A:2-
   719(2); Smith v. Chrysler, 1990 WL 65700(E.D.Pa. 1990); Beal v. General Motors
   Corporation, 354 F. Supp. 423, 426, 427(1973).
   31 Gladden v. Cadillac Motor Car Div., 83 N.J. 320 (1980).
   32As stated by the court in Ford Motor Credit Co. v. Mendola, 427 N.J. Super. 226(App.
   Div. 2012): "the plaintiff in a warranty action need not establish the existence of a.

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      127. To establish the existence of a defect or nonconformity impairing the product's

          vehicle's use or value, plaintiffs need only identify the effect of a defect rather

          than pinpointing its cause.33

      128. As further explained by the Appellate Division, the "intent" of the Lemon Caw is

          to "provide procedures to expeditiously resolve disputes between a consunjer

         and a manufacturer when defects in a new motor vehicle are not corrected Within

         a reasonable time," and to provide "specific remedies where the uncorrected

          defect substantially impairs the use, value, or safety of the new motor vehicle."

          Ibid. Toyota's construction of the statute would turn this expeditious

         administrative proceeding into a full blown litigation entangling the consumer in

         the intricacies of design defects and other complexities of product liability law.

         The Legislature clearly intended to spare the unfortunate buyer of a "lemon'
                                                                                      1,
         those hazards and costs.34
                                                                                     !,
      129. Moreover, to establish a breach of warranty, plaintiffs need not show that!!




   defect; the failure of the goods to perform as warranted is sufficient." Spring Motor's,
   supra, 98 N.J. at 586, 489 A.2d 660;accord Gen. Motors Acceptance Corp. v.            !.
   Jankowitz, 216 N.J. Super. 313, 336, 523 A.2d 695(App. Div.1987). Proof of caus!ation
   must still be shown in a case based on breach of an express warranty, but "mere failure
   of promised performance is enough without proof of any defect." Realmuto v. Straith
   Motors, Inc., 65 N.J. 336, 343, 322 A.2d 440(1974)(citing Collins v. Uniroyal, Inc.!, 64
   N.J. 260, 262, 315 A.2d 16 (1974)). In Jankowitz, supra, 216 N.J. Super. at 320-4,
   336-37, 523 A.2d 695, on facts that resemble those of this case, we held that the buyer
   of a new car was not required to produce expert evidence to prove that the
   manufacturer's and the seller's failure to repair the car was a breach of the express
   warranty they had provided. See also Ventura v. Ford Motor Corp., 180 NJ. Super. 45,
                                                                                        !.
   53-54,433 A.2d 801 (App. Div.1981).
   33 Christelles v. Nissan Motor Corp., 305 N.J. Super. 222, 228-229 (App. Div. 199t).
   34 Berrie v. Toyota Motor Sales, USA, Inc., 630 A.2d 1180, 267 N.J. Super. 152(App.
   Div. 1993).


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                                                                                                    I
             defendants acted negligently or in bad faith.35

          130. The MMWA includes a private cause of action for consumers damaged by a

             breachof warranty as follows: "(d) Civil action by consumer for damages, etc.;

             jurisdiction; recovery of costs and expenses; cognizable claims (1) Subject to

             subsections (a)(3) and (e), a consumer who is damaged by the failure of a

            • supplier, warrantor, or service contractor to comply with any obligation under this

             chapter, or under a written warranty, implied warranty, or service contract, may

            ' bring suit for damages and other legal and equitable relief— (A) in any court of

            , competent jurisdiction in any State or the District of Columbia; or(B)in an

             appropriate district court of the United States, subject to paragraph (3) of this

             subsection.(2) If a consumer finally prevails in any action brought under

             paragraph (1)of this subsection, he may be allowed by the court to recover as

             part ofithe judgment a sum equal to the aggregate amount of cost and expenses

            (including attorneys' fees based on actual time expended) determined by the

             court to have been reasonably incurred by the plaintiff for or in connection with

            I the commencement and prosecution of such action, unless the court in its

             discretion shall determine that such an award of attorneys'fees would be

            i inappropriate.

          1 3'1. The MMWA envisions class action treatment of claims brought pursuant to the

             MMWA.36

          132. In this case, since this pleading doesn't name over 100 putative class action




    36   Chatlos Systems v. NCR Corp., Inc., 635 F.2d 1081, 1085(3rd Cir. 1980).
    36   15 U.S.C. § 2310.

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           representatives, this court and not any district court, has jurisdiction over the

           dispute — an issue that cannot be circumvented by the Class Action Fairness Act

           (CAFA).37

      133. Pursuant to 15 U.S.C.§ 2310(e), plaintiffs are entitled to bring this class action

           and are not required to give defendants notice and an opportunity to cure until

           such time as the court determines the representative capacity of plaintiffs.

      134. The CFA is a statute that is to be applied broadly given the statute's remedial

           purpose.38

      135. Under the CFA,"(d) The term "person" as used in this act shall include any

           .natural person or his legal representative, partnership, corporation, company,
           trust, business entity or association, and any agent, employee, salesman,

           partner, officer, director, member, stockholder, associate, trustee oncestuisl'que

           trustent thereof;" N.J.S.A. 56:8-1(d).

      136. The parties meet the definition of "person" as set forth in N.J.S.A. 56:8-1(0).

      137. Under the CFA,"[t]he term "advertisement" shall include the attempt directly or

           indirectly by publication, dissemination, solicitation, indorsement or Circulation or

           'in any other way to induce directly or indirectly any person to enter or not enter




   37 15 U.S.C. § 2310. As to class actions, MMWA's requirement to name one hundred
   plaintiffs must be met independently of CAFA's jurisdictional standard." Floyd v. AM.
   Honda Motor Co., 2018 WL 6118582, at *3(C.D. Cal. June 13, 2018)(Wilson, J.);
   MacDougall v. Am. Honda Motor Co., 2017 WL 8236359, at *4 (C.D.,Cal. Dec. 4, ?017)
  (Guilford, J.); Cadena v. Am. Honda Motor Co., 2019 WL 3059931, at *11 (C.D. Cpl.
   May 29, 2019)(Fitzgerald, J.). "CAFA—a basis for federal courts to exercise jurisdiction
  over state law disputes between diverse parties—doesn't fill in the gaps for missing
  substantive requirements of a federal law." MacDougall, 2017 WL 8236359, at *4. '
  38 Lemelledo v. Beneficial Management Corp. of Am., 150 N.J. 255, 264 (1997);
  Blatterfein v. Larken Associates, 323 N.J. Super. 167, 178(App. Div. 1999).

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                 into ahy obligation or acquire any title or interest in any merchandise or to

                 increase the consumption thereof or to make any loan;...." N.J.S.A. 56:8-1(a).

           38. Undqr the CFA,"[t]he term "merchandise" shall include any objects, wares,
            II
                    !;
               good*ommodities, services or anything offered, directly or indirectly to the

           I. public for sale;...." N.J.S.A. 56:8-1(c).

           39. The vehicle is merchandise subject to the CFA.

          40. Under the CFA, the term "sale" shall include any sale, rental or distribution,
           ; offer fOr sale, rental or distribution or attempt directly or indirectly to sell, rent or
                    !.
             d istrib0e. N.J.S.A. 56:8-1(e).

          41. The Sale of the vehicle constitutes a "sale" under the CFA.

          42. Further N.J.S.A. 56:8-2 states, in pertinent part: "The act, use or employment
                    '
                 by anyTerson of any unconscionable commercial practice, deception, fraud,

                 false pretense, false promise, misrepresentation, or the knowing, concealment,

                 suppression, or omission of any material fact with intent that others rely upon

                 such concealment, suppression or omission, in connection with the sale or

                 advertisement of any merchandise or real estate, or with the subsequent

                 perforthance of such person as aforesaid, whether or not any person has in fact

                 been misled, deceived or damaged thereby, is declared to be an unlawful

                 practice...." N.J.S.A. 56:8-2.
                            1

          143. The CFA is designed to protect the public even when a merchant acts in good

                 faith.39

          144. As to any individual defendants facing CFA violations pled in this pleading,



    39   Cox v. Seas, 138 N.J. 2, 16 (1994).

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          under the CFA, there is no need to pierce any corporate or company veil; the

          Court instead focuses on individual defendants' misconduct supporting CF4

          violations.

       145. Therefore, assuming for argument's sake that the individual defendants named

          to this case operated via one or more valid corporations or companies, the!

          corporate veil does not insulate corporate officers or employees or company

          managing members or employees from CFA liability.40

       146. Defendants' course of conduct in this dispute provides evidence of a section 2

          knowing omission violation of N.J.S.A. 56:8-2 (section 2) via unlawful   practices,
          both in the initial transaction and in subsequent performance.

       147. Relative to the vehicle's problems, which were known to defendants before

          plaintiffs purchased the vehicle and which defendants failed to disclose to ;

          plaintiffs, defendants committed a knowing omission involving the following i: (1)

          nondisclosure—"a fact existing at the time of the transaction was not discl4ed";

         (2) materiality of fact undisclosed—"the fact, if disclosed, would be importat to

          the plaintiffs' decision to purchase or to the decision of any reasonable buygr";

         (3) knowledge— defendants "knew the fact and its importance at the time Of the

          transaction"; and (4)intentional concealment— defendants withheld the

          information intending for the buyer to make a decision without knowing the fact.

       148. Defendants engaged in an "omission" - the act of neglecting to do what We law

          requires and liability is imposed for such inaction because of the existence Of a




   4° Allen v. V&A Bros., 208 N.J. 114 (2011).

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             d uty to act under the circumstances.41

          149. Vehicle purchasers such as plaintiffs have viable knowing omission claims           ;1 1
             where, as here, a manufacturer designs and distributes a vehicle with a problem

             not readily discoverable by customers but of which the manufacturer was aware

           • yet failed to disclose to those customers.42

          150. Unlike the usual vehicle put into the steam of commerce with a warranty, the

             manufacturer was not in good faith insuring against a risk but actually knew with

            ; certainty that the product at issue or one of its components was going to fail.43

          151. Plaintiffs need not prove their case on the pleadings but rather, must merely

             allege details showing that it is plausible that defendants knew of the problems

             before the sale and yet failed to disclose same to plaintiffs."

          152. There is evidence of defendants' foreknowledge of failure because defendants




    41' New Jersey Model Civil Jury Charge 4:43.
    42' Robinson v. Kia Motors Am., Inc., No. 13-006, 2015 U.S. Dist. LEXIS 121755 (D.N.J.
   Sept. 11, 2015). The court explained: In addition to the allegations of knowledge
   described above, Plaintiffs further assert that Kia was aware of the defect based on (1)
   online: customer complaints about the alleged problem, and (2)a technical service
    bulletin ("TSB")issued by Defendants. . . . Specifically, Plaintiffs direct the Court to
   specific websites that they allege contain complaints about the crankshaft pulley bolt
    problem. (Id.). They include detailed information regarding the names of the websites
   and the number and nature of the complaints. (Id.). In addition, Plaintiffs allege that a
   TSB issued in June 2007 that "identified the problem discussed in this complaint stating:
   ?pie Crankshaft Pulley bolt may become loose, especially if improperly torqued during
    routine service. . ." At least one New Jersey Plaintiff, Robinson, purchased her
   vehicle after the June 2007 TSB was issued . . . . Its "publication adds further plausibility
   to [plaintiffs] allegations that [d]efendants had knowledge of .. . the alleged defect."
   43. Cqba v. Ford Motor Co., No. 12-1622(KM)(MAH), 2017 U.S. Dist. LEXIS 123546
   (D.N.q. Aug. 4, 2017).
   44 Leon v. Rite Aid Corp., 340 N.J. Super. 462, 472(App. Div. 2001). See also Printing

    Mart v. Sharp Elecs.Corp., 116 N.J. 739, 746 (1989)("...in determining whether
   dismissal under Rule 4:6-2(e) is warranted, the court should not concern itself with the
    plaintiffs' ability to prove its allegations.").

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            knew the problems plagued successive model years of 450 GLEs(as evidepced

            by comments on the aforesaid vehicle owner forum indicating the repeated

            reporting of failures for identical or near identical or related reasons) and yeit

            failed to correct the problems for subsequent model year lines.45

         153. In addition to the aforesaid misconduct referenced above, during the course of

            the transaction or during subsequent performance of obligations, defendants may

            have committed other types of CFA violations, such as failure to make otheri

            mandatory disclosures or the like — misconduct which may be uncovered during

            the course of discovery.

         154. To the extent that substantial aggravating circumstances are necessary far any

            of the aforesaid CFA violations, all of the aforesaid misconduct amounted to

            substantial aggravating circumstances over and above a mere breach of contract
                                                                                    t.
            and/or breach of warranty and therefore, said misconduct was sufficient to thgger

            one or more CFA violations.

         155. Substantial aggravating circumstances may include, 'existence of bad faith or
                                                                                       •




   45.  T.J. McDermott Transp. Co. v. Cummins, Inc., No. 14-04209(WHW)(CLW), 2015
    U.S. Dist. LEXIS 29678 (D.N.J. Mar. 11, 2015). The court explained: Plaintiff buttresses
   this allegation with a research report from CK Commercial Vehicles, published befoi-e'
   Plaintiff purchased any of its tractors, which indicates that 37% of a group of users of
   tractors with Cummins engines experienced "a high rate of cracked DPF filters. . (      ./ .[T]he
   amended complaint also alleges that Defendants learned about these defects through
   "[t]he on-board diagnostics systems.. . that store trouble or fault codes and provide'data
   to Defendants' and/or their authorized service providers' diagnostic computers."         I
   On a motion for class certification of the CFA claims, the district court held that the
    plaintiffs' CFA claims sufficed. As to ascertainable loss, one plaintiff incurred over I,
   $80,000 in post-warranty repair costs. T.J. McDermott Transp. Co. v. Cummins, Inc.,
    No. 14-4209(WHW)(CLW), 2015 U.S. Dist. LEXIS 29678 (D.N.J. June 7, 2016).


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               lack of fair dealing.'"46

          156. Subthantial aggravating circumstances are present in this case because

           ' defendants,+possessing knowledge of the vehicle's predelivery problems, acted

               in bad faith and failed to deal fairly with plaintiffs because defendants: (1) put

           i into the' stream of commerce and continued to offer the vehicle for sale to

               consumers such as plaintiffs while failing to disclose the vehicle's problems;(2)

               were aware that the problems would manifest themselves within the warranty

               period and that the vehicle would fail yet failed to disclose that information to

               plaintiffs; and (3) provided repeated repairs that defendants knew would not fix

               the vehicle or fix the vehicle in a reasonable period of time while failing to

               disclose such fact to plaintiffs and while failing to simply provide plaintiffs with a

               UCC revocation of acceptance remedy or NCLL statutory repurchase remedy.47

          157. When purchasing the vehicle, plagued as it is by the problems of which the

               manufacturer was aware of presale, plaintiffs failed to receive the benefit of

               plaintiffs' bargain. The vehicle's value is substantially impaired by the predelivery


           •

    46.
        JWQ Cabinetry Inc. v. Granada Wood & Cabinets Inc., No. 13-4110(FLW),2015
    U.S. Dist. LEXIS 31730 (D.N.J. Mar. 16, 2015)(citing Petri Paint Co., Inc. v. OMG Ams.,
    Inc., 595 F. Supp. 2d 416,420(D.N.J. 2008))(citing, in turn, Cox v. Sears Roebuck &
    Co., 138 N.J. 2, 18(1994)).
    47 See, e.g., Mickens v. Ford Motor Co., 900 F. Supp. 2d 427, 443(D.N.J. 2012)(citing
    Perkins v. DaimlerChrysler Corp., 383 N.J. Super. 99, 111-12(App. Div. 2006);
    Manis,calco v. Brother Intl Corp. (USA), 627 F. Supp. 2d 494, 501 (D.N.J. 2009); Kuzian
    v. Electrolux Home Prods., Inc., No. 12-3341 (NLH/AMD), 2013 U.S. Dist. LEXIS 44050,
    at *291-30 (D.N.J. Mar. 27, 2013)(A putative class of plaintiffs alleged that defective ice
    makers failed to produce ice, leaked water into the refrigerators causing the electrical
    components to short out and malfunction, thereby caused the refrigerators to warm to
    unsafe temperatures and that the defective ice makers and resulting leaks caused food
    to spOil and caused damage to flooring, walls and other personal property beyond the
    refrigerator itself.).

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            problems of which plaintiffs only became aware after taking delivery of the

            vehicle.

         158. Plaintiffs had the vehicle examined by a mechanic expert and that expertl

            determined that the vehicle suffered a diminution in value and that the defect

            affects the vehicle's use, value and safety. Exhibit H.

         159. That diminution in the vehicle's value due to its repair history establishes the

            basis for an ascertainable loss of money or property proximately caused byi.the

            CFA violations detailed above that is able to be ascertained within a reasonable

            degree of certainty."

         160. The potential for future repair costs to attempt to fix the problems once the

            warranty is over is evidence of an out of pocket ascertainable loss of moneit that

            is able to be ascertained within a reasonable degree of certainty." Where,as

            here, someone faces or expects to incur an out of pocket loss, such a loss ;

            equates with an ascertainable loss sufficient to support liability under the CFA.5°




   48. Bang v. BMW of N. Am., LLC, No. 15-6945, 2016 U.S. Dist. LEXIS 166329(DN.
   Dec. 1, 2016). The court explained: Here, Plaintiffs have alleged injuries that have;
   already occurred, as well as imminent future injury. Specifically, all Named Plaintiffs
   have alleged economic injury in the form of diminished resale value of their vehicles. In
   addition, Plaintiffs spent time taking their vehicles to BMW repair centers. Several:
   Plaintiffs have also incurred out-of-pocket costs to purchase extra oil and replacement
   batteries. Accordingly, they have satisfied Article Ill's injury in fact requirement. ;
   Bang v. BMW of N. Am., LLC, No. 15-6945, 2016 U.S. Dist. LEXIS 166329(D.N4Dec.
   1,2016).
   48 T.J. McDermott Transp. Co. v. Cummins, Inc., No. 14-4209(WHW)(CLW), 2015 U.S.
   Dist. LEXIS 29678 (D.N.J. June 7, 2016).(one plaintiff incurred over $80,000 in post,-
   warranty repair costs.).
   5° See Cox v. Sears Roebuck & Co., 138 N.J. 2(1994); Thiedemann v. Mercedes-Benz
   USA, 183 N.J. 234 (2005). Under the CFA one does not need to actually incur the: loss
   to sufficiently allege same in a pleading. See Thiedemann v. Mercedes-Benz USA', 183
   N.J. 234(2005).

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       161. Making payments on a vehicle while it is being repaired for approximately 47

              days is evidence of an out of pocket ascertainable loss — i.e., paying for a vehicle

              that is unable to be used.

       162. Being deprived of the use of a vehicle while it is undergoing repairs is an

          I ascertainable loss of property. See N.J.S.A. 56:8-2.
       163. Plaintiffs are considering purchasing substitute transportation to replace the

          I vehicle and if plaintiffs do so, the cost of that substitute transportation will be
        • !evidence of an out of pocket ascertainable loss.

       164. If plaintiffs rent a vehicle or pay for public transportation or rideshares or taxi so

        '1 that plaintiffs don't have to drive an unreliable vehicle, those costs will be

         ,levidence of an out of pocket ascertainable loss.

       165. Had plaintiffs received disclosure of the problems before purchasing the

              vehicle, plaintiffs would have never paid out of pocket for the vehicle and that

          I purchase price — paid for a vehicle with problems that can't be fixed in a

              reasonable time or perhaps ever under the warranty - establishes an out of
          1

          ; pocket ascertainable loss of money that is able to be ascertained within a
         .!
          I reasonable degree of certainty.51

       166. Because plaintiffs suffered an ascertainable loss as aforesaid, treble damages




    51' BK Trucking Co. v. PACCAR, Inc., No. 15-2282(JBS/AMD), 2016 U.S. Dist. LEXIS
    85149 (D.N.J June 30, 2016)(Vehicle buyers claimed vehicles equipped with emission
    treatment system are defective and render plaintiffs' vehicles inoperable due to the
    enginOs' constant failure despite repeated warranty repair and the precise details of
    those systems are in the exclusive control of defendants. Plaintiffs have further alleged
    that, if defendants had disclosed to them the nature of the ATS and its impact on the
    engine, they would not have bought vehicles equipped with the engine or would not
    have paid over $100,000 for them).

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           are available for the CFA aforesaid CFA violations.52

        167. Equitable relief is available in the form of a full refund and a judgment or order

           declaring the aforesaid misconduct as illega1.53

        168. In addition, a statutory refund is sought — that is, relief pursuant to the CFA's

           refund provision, which states: "Any person violating the provisions of the within

           act shall be liable for a refund of all moneys acquired by means of any practice

           declared herein to be unlawful.54 The refund of moneys herein provided fori.may

           be recovered in a private action or by such persons authorized to initiate actions

           pursuant to P.L.1975, c. 376 (C. 40:23-6.47 et seq.).55" The New Jersey

           Supreme Court explained the separate cause of action available for refunds as

           follows: "The CFA vests the Attorney General with jurisdiction to enforce its'.

           provisions through a variety of mechanisms, N.J.S.A. 56:8-3 to -8, -11, -15 to -18,

           & -20, but it also provides individual consumers with a cause of action to recover

           refunds, N.J.S.A. 56:8-2.11 to -2.12, and treble damages for violations, whether

           in good faith or otherwise, N.J.S.A. 56:8-19."56

        169. Pursuant to the CFA, an award of counsel fees and litigation costs is also:.

           sought.57

        170. One or more statutes pled herein provide for fee shifting for parties hiring



   52 N.J.S.A. 56:8-19.
   53 N.J.S.A. 56:8-19.
   54 N.J.S.A. 56:8-2.11.
      N.J.S.A. 56:8-2.12. The last reference in this provision to "P.L.1975, c. 376(C. 40:23-
   6.47 et seq.)" refers to actions by the offices of the Department of Consumer Affairs.,
   56 Lemelledo v. Beneficial Mgmt. Corp. of Am., 150 N.J. 255 (1997).

   57. Artistic Lawn & Landscape Co., Inc. v. Smith, 381 N.J. Super. 75, 89(Law Div.: ,
   2005)(citing BJM Insulation & Constr., Inc. V. Evans, 287 N.J. Super. 513(App. Div.
   1996)).

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         ;I counsel and prevailing under said statutes.

       1 71. Accordingly, the counsel bringing this case serves as a private attorney

          genera1.58

       17.2. Otherwise; consumers pursuing claims under fee shifting states might incur

           potentially considerable expense for a potentially small recovery.59

       173. Plaintiffs bring this putative class action for damages, repurchases, refunds,

         l equitable and injunctive relief on behalf of themselves and applicable New Jersey

          citizens.

       174. More specifically and subject to confirmation, clarification and/or modification

         .1based on discovery to be conducted in this action, plaintiffs propose the following

          class of persons who purchased or leased a 2021 or older 450 GLE vehicle

          (class vehicle) manufactured or assembled or distributed by defendants, with the

           vehicle being purchased, leased or registered in New Jersey.

       175. Excluded from the class are:(a) defendants, any entity in which defendant has
          a controlling interest and its legal representatives, officers, directors, employees,

         l assigns and successors;(b)the Judges to whom this case is assigned and any

                                      or
         • member of the Judges' staff immediate family; and (c) class counsel.
       176. Plaintiffs seek only damages and injunctive relief on behalf of themselves and
         .1
         1 the class members. Plaintiffs disclaim any intent or right to seek any recovery in




    55 See: Lemelledo   v. Beneficial Mgmt. Corp. of Am., 150 N.J. 255, 268 (1997).
    59 See, e.g., Skeer v. EMK Motors, Inc., 187 N.J. Super. 465, 470(App. Div.
    1982)'(discussing fee shifting under the CFA); Chaffin v. Cape May Greene, Inc., 243
    N.J. Super. 590, 610(App. Div. 1990), aff'd o.b., 124 N.J. 520(1992)(citing Coleman v.
    Fiore Bros., Inc., 113 N.J. 594, 598 (1989))(same); Furst v. Einstein Moomjy, 182 N.J. ,
    21 (004)(same).

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         this action for personal injuries, wrongful death, or emotional distress suffered by

          plaintiffs and/or the class members.

      177. Defendants are in exclusive possession, custody and control of the list of

          persons who were class members in the prior case and any other cases.

      178. While there may be other cases pending against defendants, upon information

         .and belief, the proposed class members' claims in this matter don't overlap with.

         those other pending cases.

      179. It isn't the intent to have overlapping classes and any overlap will be

         ameliorated through amendment if facts show that they do overlap.

      180. Defendants' actions are not isolated.

      181. Defendants' actions have affected similarly situated individuals throughout the
                                                                                       ;
         State of New Jersey.

      182. Defendants acted on grounds generally applicable to the class members,':

         thereby justifying relief against defendants for the class members as whole: .!

      183. Plaintiffs are members of the class that they seek to represent.

      184. The class is believed to number at least hundreds, if not thousands, of persons

         and their joinder is impracticable, except by via a class action.

      185. The disposition of the claims of the class in a class action will benefit both the

          parties and the Court.

      186. There are questions of law and/or fact common to the class predominating over
                                                                                  ;
         any question affecting only individual class members as to whether defendants

         are liable to plaintiffs for violation of applicable law. For instance, are defendants

          liable for the class action claims pled in the complaint?

                                                                                        .!   I




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       187. Class certification is also appropriate because defendants acted on grounds
                     •i •
        I generally applicable to the class, making appropriate equitable injunctive relief

              with respect to plaintiffs and the class members.

       188. Specifically, plaintiffs seek injunctive relief via a court judgment or order

              requiring an end to the unlawful practices and/or the issuance of a corrective or

              explanatory notice to the class members.

       189. Plaintiffs' claims are typical of the claims of the class insofar as named class
         .1
         ,4 representatives and the members of the class were similarly exposed to the

         !i statutory harms alleged herein and were similarly injured and/or face similar risks

           therefrom.
        .1
       19'p. The proposed class representatives state a claim upon which relief can be

         'igranted that is typical of the claims of absent class members. If brought and

         ! prosecuted individually, the claims of each class member would necessarily

         ;I require proof of the same material and substantive facts, rely upon the same

              remedial theories, and seek the same relief.

       191. Plaintiffs will fairly and adequately represent the interests of the class insofar
         ;
         1 that the plaintiffs' claims are typical of those of the class members.

       192. Plaintiffs are committed to the vigorous representation of the class members.

       193. Plaintiffs retained counsel experienced and skilled in consumer law and class

              action litigation.

       194. Plaintiffs have no conflict of interest in the maintenance of this class action.

       195. If the matter is maintained as a class action, it shall provide for a fair and

         ; efficient adjudication of this dispute.




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                  196. The claims and remedial theories pursued by the named class representative

                      are sufficiently aligned with the interests of absent class members to ensure that

                      the individual claims of the class will be prosecuted with diligence and care by

                      the individual plaintiffs as class representatives.

                   197. Contrawise, especially in view of the small dollar amounts in controversy

                      relative to the individual plaintiffs' claims, it would be impracticable and

                      undesirable for each member of the class who suffered harm to bring a separate

                      action.

                  198. Further, the maintenance of separate actions in lieu of the instant proposed
1

                      class action would place a substantial and unnecessary burden on the courts and

                      could result in inconsistent adjudications.

                  199. Contrawise, a single class action such as the instant proposed class action can

                      determine the rights of all class members while economizing judicial resources.

                  200. Moreover, as plaintiffs invoked consumer protection statutes and have pled a

                      prima facie case for the violation of same, the policy goals behind those

i                     consumer protection statutes provide further reason for permitting class action

                      certification of the instant action.

                  201. The benefits of adjudicating this case via a class action far outweigh any .:

I
I   •
        :             difficulties in management of the case as a class action.
        ;

                  202. Class action treatment of this case is a superior method for the fair and efficient

                      adjudication of this dispute because:

                            • individual claims by the class members are impractical as the cots of

                                 pursuit far exceed what any one plaintiff or class member has at Stake;




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                  • as a result, there has been no other litigation over the controversies

                      herein;

                  • individual members of the class have no interest in prosecuting and

                      controlling separate actions; and

                  • the proposed class action is manageable.

                  • the proposed class is readily ascertainable.

       203. Certification of the class under R. 4:32 or Rule 23(b)(2) of the Federal Rules of

          Civil Procedure is appropriate because defendants acted on grounds that apply

          generally to the class, so that final injunctive relief is appropriate respecting the

          class as a whole.

       204. Certification of the class under R. 4:32 or Rule 23(b)(3) of the Federal Rules of

          Civil Procedure is appropriate in that:(a)the questions of law or fact common to

          the members of the class predominate over any questions affecting an individual

           member; and (b) a class action is superior to other available methods for the fair

          and efficient adjudication of the controversy.

       205. Class treatment will permit a large number of similarly situated persons to

           prosecute their common claims in a single forum simultaneously, efficiently and

          without the duplication of effort and expense that numerous individual lawsuits

         •.; would entail.

       206. Absent a class action, many members of the class will likely not even obtain

           relief, whether because they are unaware of their right to relief from the harm

          caused by defendants' illegal practices, due to the prohibitive time and monetary

          cost inherent in individual litigation, or otherwise.



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;
          207. While the exact number of class members is unknown to plaintiffs at this time

             and can only be determined by appropriate discovery, membership in the class is

             ascertainable based upon the records maintained by defendants and

             governmental officials.

          208. Upon information and belief, during the relevant time periods, over one hundred

             of the class vehicles, if not thousands of class vehicles, were sold, leased or

             registered in New Jersey.

          209. Therefore, the class members are so numerous that individual joinder of all

             class members is impracticable under R. 4:32 or Fed. R. Civ. P. 23(a)(1).

          210. Plaintiffs' claims are typical of the claims of the class members whom they seek

             to represent under R. 4:32 or Fed. R. Civ. P. 23(a)(3) because plaintiffs and each

             class member have a vehicle with the same problems.

          211. Plaintiffs will fairly and adequately represent and protect the interests of the

             •class members as required by R. 4:32 or Fed. R. Civ. P. 23(a)(4).

         212. Plaintiffs are adequate representatives because their interests do not conflict

             with the interests of the class members and intend to vigorously prosecute this

             case.

          213. Further, plaintiffs retained counsel (i.e., Lewis Adler and Paul DePetris)

             competent and experienced in complex class action litigation, including putative

             autOrnotive warranty class action litigation and New Jersey CFA litigation and

             who together certified at least eight(8)class actions and intend to vigorous

             prcAecute this case.

          214. Thlerefore, the interests of the class members will be fairly and adequately




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          protected.

       215. A class action is appropriate under R. 4:32 or Fed. R. Civ. P. 23(b)(3) because

          q uestions of law or fact common to class members predominate over any

         . questions affecting only individual members and a class action is superior to any
          ;
          other available means for fairly and efficiently adjudicating the controversy.

       216. The class members' interests in individually controlling the prosecution of

          separate actions is low given the magnitude, burden, and expense of individual

          prosecutions against large merchants such as defendants.
         I
       217. Plaintiffs nor their counsel are aware of any pending litigation concerning this

          controversy already begun by any of the class members.

       218. It is desirable to concentrate this litigation in this forum to avoid burdening the
         ;I
         .1,courts with individual lawsuits.

       219. As interpreted by New Jersey courts, New Jersey consumer statutes lend

          themselves to class action treatment, lest viable individualized consumer claims
         i
         ; go unprosecuted due to the dubious utility of prosecuting them on individual

          bases.

       220. Further, individualized litigation presents a potential for inconsistent or

            contradictory results and increases delay and expense to all parties and the court
         .;
       ' .1system presented by the legal and factual issues of this case.

       221. The proposed class action has no management difficulties.

       222. Defendant's records and the records available publicly will easily identify the

          class members.

       223. As the problems are common to all the class vehicles, the same documents




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          and testimony shall prove plaintiffs' and the class members claims.

      224. If the case proceeds as a class action, the parties and the court system shall

          benefit via a single adjudication, economies of scale and comprehensive

          supervision by a single court.

      225. A class action is appropriate under R. 4:32 or Fed. R. Civ. P. 23(b)(2) because,

          as detailed above, defendants acted or refused to act on grounds applicable

          genarally to the class members, so that final injunctive relief or corresponding

          declaratory relief is appropriate as to all class members.

                                            COUNT 1

                  VIOLATION OF THE NEW JERSEY NEW CAR LEMON LAW

        PLED BY PLAINTIFFS AND THE CLASS AGAINST THE MANUFACTURER

      226. The allegations contained in the previous paragraphs are repeated as if fully set

         forth.

      227. This count is pled by plaintiffs and the class against the manufacturer.

      228. Pursuant to N.J.S.A. 56:12-31, et seq., plaintiffs reported the problems and/or

          nonconformities with the vehicle to the manufacturer via the dealer and/or the

          repairing dealers (the dealers repairing the vehicle) directly to the manufacturer

          and thereby gave the manufacturer a reasonable number of opportunities to

          repair the vehicle.

      229. After said notification and/or a reasonable number of repair attempts to the

          vehicle as performed by the manufacturer (either itself or via the dealer and/or

          repairing dealers), the manufacturer was unable to repair the problems and/or

          nonconformities in a reasonable period of time.




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       230. In violation of N.J.S.A. 56:12-29, et seq., the problems and/or nonconformities

          substantially impair or impaired the vehicle's use, value and/or safety.

       231. The NCLL states, in relevant part:60 "[i]f, during the period specified in section

         .! 3 of this act, the manufacturer, or, in the case of an authorized emergency

          vehicle, the manufacturer, co-manufacturer, or post-manufacturing modifier, of

          that part of the motor vehicle containing the nonconformity, or its dealer or

          distributor, is unable to repair or correct the nonconformity within a reasonable

        • 1.time, the manufacturer, comanufacturer, or post-manufacturing modifier shall

         , accept return of the motor vehicle from the consumer.(1) In the case of a motor

         .! vehicle, other than an authorized emergency vehicle as set forth in paragraph (2)

          of this subsection, the manufacturer shall provide the consumer with a full refund

          of the purchase price of the original motor vehicle including any stated credit or

          allowance for the consumer's used motor vehicle, the cost of any options or other

           modifications arranged, installed, or made by the manufacturer or its dealer

          within 30 days after the date of original delivery, and any other charges or fees

          including, but not limited to, sales tax, license and registration fees, finance

          charges, reimbursement for towing and reimbursement for actual expenses

           incurred by the consumer for the rental of a motor vehicle equivalent to the

         : :consumer's motor vehicle and limited to the period during which the consumer's

           motor vehicle was out of service due to the nonconformity, less a reasonable

          allowance for vehicle use.(2) In the case of an authorized emergency vehicle,

          the manufacturer, co-manufacturer, or post-manufacturing modifier shall provide



    60 N.J.S.A. 56:12-32.

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          the consumer with a full refund of the purchase price of the original emergency

          vehicle, depending on the source of the nonconformity, including any stated

          credit or allowance for the consumer's used emergency vehicle, as well as any

          other charges or fees, including, but not limited to, sales tax, license and

          registration fees, reimbursement for towing and reimbursement for actual

          expenses incurred by the consumer for the rental of a substitute emergency '

          vehicle, if applicable, for the period during which the consumer's emergency

          vehicle was out of service due to the nonconformity.(3) Nothing in this

          subsection shall be construed to preclude a manufacturer, co-manufacturer, or

          post-manufacturing modifier from making an offer to replace the vehicle in lieu of

          a refund; except that the consumer may, in any case, reject an offer of

          replacement and demand a refund. Refunds shall be made to the consumer and

          lienholder, if any, as their interests appear on the records of ownership

          maintained by the Chief Administrator of the New Jersey Motor Vehicle

          Commission. In the event that the consumer accepts an offer to replace the

          motor vehicle in lieu of a refund, it shall be the manufacturer's, co-

          manufacturer's, or postmanufacturing modifier's responsibility to insure that any

          lien on the returned motor vehicle is transferred to the replacement vehicle. b. A

          consumer who leases a new motor vehicle shall have the same remedies against

          a manufacturer, co-manufacturer, or post-manufacturing modifier under this

          section as a consumer who purchases a new motor vehicle: If it is determined

          that the lessee is entitled to a refund pursuant to subsection a. of this section, the

          consumer shall return the leased vehicle to the lessor or manufacturer, co-




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          manufacturer, or post-manufacturing modifier, and the consumer's lease

          agreement with the motor vehicle lessor shall be terminated and no penalty for

          early termination shall be assessed. The manufacturer, co-manufacturer, or post-

          manufacturing modifier shall provide the consumer with a full refund of the

          amount actually paid by the consumer under the lease agreement, including any
                                                                                    '
          additional charges as set forth in subsection a. of this section if actually paid by

          the consumer, less a reasonable allowance for vehicle use. The manufacturer,

          comanufacturer, or post-manufacturing modifier shall provide the motor vehicle

          lessor with a full refund of the vehicle's original purchase price plus an'

          unrecovered interest expense, less the amount actually paid by the consumer

          under the agreement. Refunds shall be made to the lessor and lienholder, if any,

          as their interests appear on the records of ownership maintained by the Chief

          Administrator of the Motor Vehicle Commission.

       232. While plaintiffs, via plaintiffs' counsel, offered to return the vehicle to the

           manufacturer, to date and in violation of N.J.S.A. 56:12-32, the manufacturer

          never accepted return of the vehicle from plaintiffs and never provided: plaintiffs

          with a full refund of the purchase price of the vehicle as required by N.J.S.A.

          56:12-32.

       233. Pursuant to N.J.S.A. 56:12-32 and N.J.S.A. 56:12-42, plaintiffs seek a refund

          and other actual expenses incurred (including any expert witness fees incurred)

          as well as attorney's fees and court costs.

       234. As set forth on the certifications annexed to this pleading, plaintiffs complied

          with the provisions of N.J.S.A. 56:12-41.




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                                             COUNT 2

                                  SECTION 2 CFA VIOLATIONS

          PLED BY PLAINTIFFS AND THE CLASS AGAINST THE MANUFACTURER

      235. The allegations contained in the previous paragraphs are repeated as if fully set

          forth herein.

      236. This count is pled by plaintiffs and the class against the m'anufacturer.
             1
      237. Given defendants' omission about the problems and the prredelivery repairs,

          defendants engaged in knowing omission affirmative act seOtion 2 CFA violations

         .via unlawful practices, both in the initial transaction and in Obsequent

          performance thereof.

      238. By failing to alert or disclose presale to plaintiffs the exist6hce of the problems

          of which defendants had knowledge, defendants engaged in an "omission" - the

          act of neglecting to do what the law requires and liability is imposed for such

          inaction because of the existence of a duty to act under the1circumstances.61

      239. Therefore, the following occurred in this case: (1) nondisclosure by the
                                                                      1
         manufacturer — "a fact existing at the time of the transaction was not disclosed";

         (2) materiality of fact undisclosed by the manufacturer — "the fact, if disclosed,

          would be important to the plaintiffs' decision to purchase or to the decision of any '

          reasonable buyer";(3) knowledge on the part of the manufaicturer — the

          merb hant "knew the fact and its importance at the time of the transaction"; and

         (4)intentional concealment by the manufacturer — the merchants withheld the

          information intending for the buyer to make a decision without knowing the fact.
                                                                      1
              1

   61' New Jersey Model Civil Jury Charge 4:43.

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       240. In addition' to the aforesaid misconduct referenced above, during the course of

             the transaction or during subsequent performance of obligations, defendants may

             have committed other types of CFA violations, such as failure to make other

             mandatory disclosures or the like — misconduct which may be uncovered during

             the course of discovery.

       241. To the extent'that substantial aggravating circumstances are necessary for any

             of the aforesaid CFA violations, all of the aforesaid misconduct amounted to

             substantial aggravating circumstances over and above a mere breach of contract

             and/or breach of warranty and therefore, said misconduct was sufficient to trigger

             one or more CFA violations. This is because defendants' entire course of

             conduct indicates a lack of good faith and fair dealing towards plaintiffs and a

             predatory approach instead of one that was honest and forthright.

       242. As a proximate result of the section 2 CFA violations detailed above, plaintiffs

             incurred out of pocket ascertainable losses of money detailed above.

       243. For example, a merchant's sticker price for a product or service can provide

             evidence of loss — even if that price is greater than fair market value.62

       244. Therefore, the dealer's sales price for the vehicle provides a measure of loss.

       245. Where, as here, someone faces or expects to incur or actually incurs an out of

             pocket loss, such a loss equates with an ascertainable loss sufficient to support

             liability under the CFA.63



    62 Furst v. Einstein Moomjy, Inc., 182 N.J. 1(2004).
    63 See  Cox v. Sears Roebuck & Co., 138 N.J. 2(1994); Thiedemann v. Mercedes-Benz
    USA, 183 N.J. 234 (2005). Under the CFA one does not need to actually incur the loss
    if they have an estimate thereof. Thiedemann v. Mercedes-Benz USA, 183 N.J. 234
   (2005). Further, a merchant's sticker price can provide evidence of loss. Furst v.

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      246. In 'addition, plaintiffs failed to receive the benefit of the bargain — the vehicle at

          the promised Price and free from the undisclosed problems. The vehicle's value
                                                                      •
         Is diminished as stated by the expert report submitted herewith. Exhibit H.

      247. Therefore, the vehicle is worth less than its purchase price and plaintiffs didn't

         get the vehicle in the condition promised and therefore, has a claim of
                                                                         ; •„
         ascertainable loss of money or property associated therewith::
              1
      248. Treble damages are available for the aforesaid misconduCt.64
            • 1
      249. Equitable relief is available in the form of a full refund and a judgment or order
                                                                          1
          declaring the aforesaid misconduct as illega1.65

      250. In Oddition, a statutory refund is sought — that is, relief pursuant to the CFA's

          refund provision, which states: "Any person violating the provisions of the within
             •1                                                        i
          act shall be liable for a refund of all moneys acquired by means of any practice

          decl'ared herein to be unlawful.66 The refund of moneys hei-ein provided for may

          be recovered in a private action or by such persons authorized
                                                                     • ; to initiate actions
              1
                                                                       '
          pursuant to P.L.1975, c. 376 (C. 40:23-6.47 et seq.).67" The New Jersey
             1
         Supreme Court explained the separate cause of action available for refunds as
             1
         follows: "The CFA vests the Attorney General with jurisdiction to enforce its

          prOv,isions through a variety of mechanisms, N.j.S.A. 56:8- to -8, -11, -15 to -18,
                                                                      1 —
          & -20, but it also provides individual consumers with a cause Of action to recover



                                                                          i
   Einstein M8omjy, Inc., 182 N.J. 1, 12(2004).                         I
   64 N.J.S.A.156:8-19.                                                 1 '
   65 N.J.S.A.!56:8-19.                                                   !
   66 N.J.S.A.156:8-2.11.                                               !
   67 N.J.S.A.56:8-2.12. The last reference in this provision to "P.L.1:976, c. 376(C. 40:23-
   6.47 et seq.)" refers to actions by the offices of the Department of co0umer Affairs.
              !
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            refunds, N.J.S.A. 56:8-2.11 to -2.12, and treble damages for violations, whether

            in good faith or otherwise, N.J.S.A. 56:8-19."68

         251. Pursuant to the CFA, an award of counsel fees and litigation costs is also

            sought.69

                                              COUNT 3

    BREACH OF EXPRESS WARRANTY AND VIOLATION OF THE MAGNUSON-MOSS

             WARRANTY—FEDERAL TRADE COMMISSION IMPROVEMENT ACT

          PLED BY PLAINTIFFS AND THE CLASS AGAINST THE MANUFACTURER

         252. The allegations contained in the previous paragraphs are repeated as if fully set

            forth.

         253. This count is pled by plaintiffs and the class against the manufacturer.

         254. Since the vehicle are goods, the UCC applies to this dispute.79

         255. At the time of sale and/or thereafter, defendants or their agents issued plaintiffs

            the warranty, which was an express warranty in accordance with the UCC and/or

            the MMWA.

         256. Plaintiffs accepted the vehicle in the belief that the vehicle conformed to the

            aforesaid warranty.




    68Lemelledo v. Beneficial Mgmt. Corp. of Am., 150 N.J. 255 (1997).
   69. N.J.S.A. 56:8-19; Artistic Lawn & Landscape Co., Inc. v. Smith, 381 N.J. Super. 75,
   89(Law Div. 2005)(citing BJM Insulation & Constr., Inc. v. Evans, 287 N.J. Super. 513
   (App. Div. 1996)).
   7° As explained by the Appellate Division: Article 2 of the UCC applies to transactions in
    goods. N.J.S.A. 12A:2-102."Goods' mean all things (including specially manufactured
    goods) which are movable at the time of identification to the contract for sale other than
   the money in which the price is to be paid, investment securities and things in action."
    N.J.S.A. 12A:2-105(1). Dilorio v. Structural Stone & Brick, 845 A.2d 658, 368 N.J.
   Super. 134 (N.J. Super., 2004).


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      257. Defendants expressly warranted the labor that defendants performed or caused

         to be performed to the vehicle and/or parts that defendants replaced or caused to

          be replaced on the vehicle.

      258. Plaintiffs relied on said warranty and/or representations and believed them to

          be true and would not have purchased the vehicle but for said warranty.

      259. Foiflowing delivery of the vehicle to plaintiffs and problems arising therewith,

          plaintiffs learned that the vehicle wasn't as warranted.

      260. For, the vehicle, as originally delivered and/or subsequent to repair, exhibited

          problems that substantially impair the vehicle's value to plaintiffs.

      261. Plaintiffs performed plaintiffs' obligations under the aforesaid warranty,

          including but not limited to plaintiffs' obligation to notify defendants of problems

         that plaintiffs experienced with/exhibited by the vehicle and gave defendants a

          reasonable time to correct and/or repair and/or address said problems and

         defendants or their agents failed to correct and/or repair and/or address said

          problems in a reasonable time.

      262. By failing to correct and/or repair and/or remedy the vehicle's problems within a

         'reasonable time, defendants breached their obligations under the aforesaid

          warranty.

      263. The limited repair remedies that defendants provided to plaintiffs failed of their

         essential purpose, as defendants were unable and/or unwilling to correct and/or

          repair and/or remedy the vehicle's problems within a reasonable time. Therefore,
         any :disclaimers/limitations of liability contained in the warranty are null and void

          under the doctrine of failure of essential purpose.




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       264. Defendants' failure to correct and/or repair and/or remedy the vehicle's

          problems Within a reasonable time or to replace it with conforming goOds in a

          reasonable period of time or to provide the remedy of revocation of acceptance

          constitute a breach of express warranty.

       265. Pursuant to the MMWA, via one or more repair attempts referenced in this

          pleading (exhibit A)and before filing suit, plaintiffs afforded defendantS a

          reasonable opPortunity to cure defendants' failure to comply with the Warranty

          but defendants failed to render such compliance.

       266. Thereafter, pursuant to the UCC (N.J.S.A. 12A:2-608), plaintiffs provided

          defendants with a letter notifying defendants that plaintiffs revoked acceptance of

          the vehicle and demanded a refund from defendants pursuant to the UCC and/or

          M MWA. Exhibit A. However, to date, defendants refused to comply With said

          demand.

       267. Defendants committed a breach of express warranty under the UCC and/or

          under that of any other jurisdiction whose law the Court finds applies to the

          instant action.

       268. Plaintiffs are entitled to relief pursuant to N.J.S.A. 12A:2-608 and therefore,

          seek the remedy of revocation of acceptance in accordance therewith..

       269. Plaintiffs are consumers as defined by 15 U.S.C. § 2301, defendants are

          warrantors as defined by 15 U.S.C.§ 2301 and the vehicle is a consumer

          product as defined by 15 U.S.C.§ 2301.

       270. The provisions of 15 U.S.C. § 2301, et seq. apply to this case, because,

          pursuant to 15 U.S.C.§ 2301-2303, defendants are manufacturers and/or sellers




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         and/or warrantors of a consumer product sold to plaintiffs with written and implied

         warranties and plaintiffs are entitled to enforce the provisions of same.

      271. Pursuant to 15 U.S.C. § 2308, defendants provided a written warranty to

         -plaintiffs in conjunction with the vehicle.

      272. Defendants' breach of warranty caused plaintiffs to suffer a diminution of value

         in the vehicle. Accordingly, plaintiffs suffered damages by defendants' failure to

         comply with defendants' obligations under the U.C.C. and/or    yMWA and/or
         under the aforesaid warranty and thus bring this action against defendants for

         damages and pursuant to 15 U.S.C. § 2310, et seq., plaintiffs are entitled to

         recover attorney's fees and court costs.

      273. More specifically, 15 U.S.C. § 2310 states in part: "a consumer who is

         damaged by the failure of a supplier, warrantor, or service contractor to comply

         with any obligation under this chapter, or under a written warranty, implied

         warranty, or service contract, may bring suit for damages and 'other legal and

         equitable relief—(A)in any court of competent jurisdiction in any State or the

         District of Columbia...(2) If a consumer finally prevails in any action brought

         under paragraph (1)of this subsection, he may be allowed by The court to
                                                                      •
         recover as part of the judgment a sum equal to the aggregate amount of cost and

        • expenses (including attorneys' fees based on actual time expended) determined

         by the court to have been reasonably incurred by the plaintiffsifor or in

         connection with the commencement and prosecution of such action, unless the

         court in its discretion shall determine that such an award of attorneys' fees would

         be irlappropriate.




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       274. Accordingly, pursuant to the UCC and the MMWA, plaintiffs seek the remedies

          of revocation of acceptance, damages applicable under those statues and an

          award of fees and costs pursuant to the MMWA.

                                 COUNT 4
     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY AND VIOLATION OF
             THE MAGNUSON-MOSS WARRANTY-FEDERAL TRADE ,
                       COMMISSION IMPROVEMENT ACT
       PLED BY PLAINTIFFS AND THE CLASS AGAINST THE MANUFACTURER
       275. The allegations contained in the previous paragraphs are repeated as if fully set

          forth.

       276. This count is pled by plaintiffs and the class against the manufacturer.

       277. At the time of sale and/or thereafter, defendants failed to properly disclaim

          implied warranties in accordance with the UCC and/or the MMWA and/or

          defendants impliedly warranted that the vehicle was of merchantable quality

          and/or was reasonably fit and/or suitable for the purpose for which it was

          purchased. ,

       278. Plaintiffs aCcepted the vehicle in the belief that the vehicle conformed to the

          aforesaid warranty.

       279. Plaintiffs relied on said warranty and/or representations and believed them to

          be true and would not have purchased the vehicle but for said warranty.

       280. Following delivery of the vehicle to plaintiffs and problems arising therewith,

          plaintiffs learned that the vehicle was not as warranted.

       281. For, the vehicle, as originally delivered and/or subsequent to repair, exhibited




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          problems that substantially impair the vehicle's value to plaintiffs.

      282. Plaintiffs performed plaintiffs' obligations under the aforesaid warranty,
         including but not limited to plaintiffs' obligation to notify defendants of problems

         that plaintiffs experienced with/exhibited by the vehicle and gave defendants a

         reasonable time to correct and/or repair and/or address said problems and

         defendants or their agents failed to correct and/or repair and/or address said

         problems in a reasonable time.

      283. By failing to correct and/or repair and/or remedy the vehidle's problems within a
         reasonable time, defendants breached their obligations under the aforesaid

         warranty.

      284. Defendants'failure to correct and/or repair and/or remedy the vehicle's
         problems within a ;reasonable time or to replace it with confOrming goods in a

         reasonable period of time constitute a breach of defendant warranty

         obligations, including but not limited to a breach of the implied warranty of

          merchantability. '

      285. Pursuant to the MMWA, via one or more repair attempts reIferenced in this
         Pleading (exhibit     and before filing suit, plaintiffs afforded !defendants a

         -reasonable opportunity to cure defendants' failure to complY.With the warranty

         but defendants failed to render such compliance.

      286. Thereafter, pursuant to the UCC (N.J.S.A. 12A:2-608), plaintiffs provided
         defendants with a Iletter notifying defendants that plaintiffs r )oked acceptance of

         the vehicle and demanded a refund from defendants pursuant to the UCC and/or

         MMWA. Exhibit A.      However, to date, defendants refused fo cqmply with said




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          demand.

       287. Defendants committed a breach of the implied warranty of merchantpility

          under the UCC and/or under that of any other jurisdiction whose law tIe Court

          finds applies to the instant action.

       288. Plaintiffs are entitled to relief pursuant to N.J.S.A. 12A:2-608 and thelrefore,

          seek the remedy of revocation of acceptance in accordance therewith.

       289. Plaintiffs ae consumers as defined by 15 U.S.C. § 2301, defendants are

          warrantors Os defined by 15 U.S.C. § 2301 and the vehicle is a consum
                                                                              ! er

          product as defined by 15 U.S.C. § 2301.

       290. The provisions of 15 U.S.C. § 2301, et seq. apply to this case, because,

          pursuant to 15 U.S.C. § 2301-2303, defendants are manufacturers and/or sellers

          and/or warrantors of a consumer product sold to plaintiffs with written ' nd implied
                      I
          warranties and/or service contracts and plaintiffs are entitled to enforce the

          provisions of same.

       291. Pursuant to 15 U.S.C.§ 2308, as defendants have extended written warranties

          and/or service contracts to plaintiffs, except for the modifications permitted in

          said statute, defendants are unable to disclaim or modify the implied warranties

          issued in coriljunction with the vehicle.

       292. Defendants' breach of warranty caused plaintiffs to suffer a diminution of value

          in the vehicle. Accordingly, plaintiffs suffered damages by defendants failure to

          comply with defendants' obligations under the U.C.C. and/or MMWA and/or

          under the afOresaid warranty and thus bring this action against defendants.for

          damages and pursuant to 15 U.S.C. § 2310, et seq., plaintiffs are entitled to




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         recover attorney's fees and court costs.

      293. More specifically, 15 U.S.C. § 2310 states in part: "a consumer who is

         damaged by the failure of a supplier, warrantor, or service contractor to comply

         with any obligation under this chapter, or under a written werranty, implied

         .warranty, or service contract, may bring suit for damages and lother legal and
                                                                     ;
         equitable relief—(A)in any court of competent jurisdiction in any State or the
                                                                          ;(
         District of Columbia...(2) If a consumer finally prevails in any action brought

         under paragraph (1)of this subsection, he may be allowed by the court to
                                                                      i
         recover as part of the judgment a sum equal to the aggregate amount of cost and

         expenses (including attorneys' fees based on actual time expended) determined

         by the court to have been reasonably incurred by the plaintiffs for or in

         'connection with the commencement and prosecution of suChaction, unless the

         court in its discretion shall determine that such an award of attorneys' fees would

         be inappropriate.                                               •

      294. Accordingly, pursuant to the UCC and the MMWA, plaintiffs seek the remedies

         of revocation of acceptance, damages applicable under those statues and an

         award of fees and costs pursuant to the MMWA.

                                          COUNT 5

                             CLAIMS AGAINST THE DOES ONLY

      295. The allegations contained in the previous paragraphs are repeated as if fully set

         forth.
                                                                        I,
      296. This count is pled against the Does.

      297. All allegations pled in the above counts are pled against the Does and all relief




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           sought in said counts is sought against the Does.

                      PRAYER FOR RELIEF COMMON TO ALL COUNTS

    WHEREFORE,judgment is demanded for:(1) all applicable damages — including any

    specific types of darages specifically pled in any of the above listed counts;(2)the

    remedies provided for. under the common law and/or any state and/or federal statutes
                       I
    pled herein or applicable to this case including any mandated counsel fees and/or
                      •
    costs/expenses and any applicable equitable relief; and (3)such other and further relief

    as the court shall deem equitable and just.

                           'JURY DEMAND PURSUANT TO R. 4:35-1

    Pursuant to R. 4:35-1, relative to all issues pled in the instant action that so triable, a

    trial by six (6)jurors is demanded.

                               DESIGNATION OF TRIAL COUNSEL

    Pursuant to R. 4:25-4 LEWIS G. ADLER, ESQ. is designated as trial counsel in this
                        I
    matter for the parties submitting this pleading for filing.

                     NOTICE PURSUANT TO R. 1:5-1(a) AND R. 4:17-4(c)

    Take notice that, pursuant to R. 1:5-1(a) and R. 4:17-4(c), each party named in the

    complaint that serves .or receives pleadings of any nature (including discovery requests)

    to or from any other party to the action is requested to forward copies of same along

    with any documents provided in answer or response thereto and take notice that this is

    a continuing demand.

                               NOTICE PURSUANT TO R. 1:7-1(b)

    PLEASE TAKE NOTICE that to the extent applicable to this case, at the time of closing

    argument it may be suggest to the trier of fact with the respect to any element of




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   damages, that unliquidated damages be calculated on a time-unit Osis, without

   reference to a specific sum.

                         DEMAND PURSUANT TO RULE 4:10-2(B) :1

   Pursuant to Rule 4:10-2(b), demand is made for the disclosure of whether or not there

   are any insurance agreements or policies under which any person or firm carrying on an

   insurance business may be liable to satisfy part or all of a judgment Which may be
                              i
   entered in this action or indemnify or reimburse for payments made to satisfy the
                                                                    ! I
   judgment. .Demand is made for true copies of those insurance agreements or policies,

   including but not limited to any and all declaration sheets. This dern' and includes a
                                                                         • I
   request for not only primary coverage insurance policies but also any and all excess,
                                                                            I
   catastrophe and umbrella insurance policies.

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                      CERTIFICATION PURSUANT TO R. 4:5-1(2) and (3)

    Pursuant to R. 4:5il(2)and (3), I hereby certify that:

       1. I am an attorney at law of the State of New Jersey.

       2. I am counse)for the party-parties offering this document for filing in this case and

           am personally familiar with the facts recited in this certification by my involvement

           in those fact . '

       3. Upon my initial review of this matter, the matters in controversy in this action are
                       1
          not the subject of any other action pending in any other court or of a pending

           arbitration plioceeding, that no other action or arbitration proceeding is currently

           contemplated and that I am unaware of any other parties who currently should be

          joined to this action.
                      1,
       4. Confidential personal identifiers have been redacted from documents now

           submitted to the court and will be redacted from all documents submitted in the

          future in accordance with R. 1:38-7(b).

   "I certify that the foregoing statements made by me are true. I am aware that if any of

    the foregoing statements made by me are wilfully false, I am subject to punishment."

     DATED: May 6, 2p21                             Is! LEWIS G. ADLER
                                                    LEWIS G. ADLER



   [REST OF PAGE INTENTIONALLY BLANK]




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                          CERTIFICATION OF SERVICE PURSUANT TO
      N.J.S.A. 56:8-20 AND/OR N.J.A.C. 13:45A-26F.2 AND/OR N.J.S.A. 56:12-41
   LEWIS G. ADLER herebY certifies to
                                                             I
                                           the Court as follows:
                            i
       1. I am an attorney at law of the State of New Jersey.

       2. I am counsel for ttie party-parties offering this document foil fi ing in this case and
                                                                          I
         .am personally familiar with the facts recited in this certificafion•by my involvement

          in those facts.

      3. As required by N.J.S.A. 56:8-20 and/or N.J.S.A. 56:12-41 end/or N.J.A.C.

          13:45A-26F.2, I hereby certify that I am causing a copy of the complaint to be

          served upon the following offices via first class United States Mail, postage

          prepaid:

                     XX     Office of the Attorney General, Richard J. Hiu6rles Justice
                                                                        1 4
                            Complex, P.O. Box 80, Trenton, NJ, 0862570080
                                                                       !, I1
                            Division of Consumer Affairs, Used Car Lernorii Law Unit, P.O.
                                                                         1
                            &ix 45026, 124 Halsey St., Newark, NJ 07101-5026



   "I certify that the foregoing statements made by me are true. I am pware that if any of

   the foregoing statements made by me are wilfully false I am subject to punishment."

    DATED: May 6, 2021                             /s/ LEWIS G. ADLER

                                                    LEWIS G. ADLER




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                       i




                           COMPLAINT
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                              REPAIR HISTORY SUMMARY
                     SCATTAGLIA V. MERCEDES-BENZ USA, LLC, ET AL.

 DATE         MILES  INVOICE         CUSTOMER COMPLAINT AND/OR REPAIR
 IN & OUT     IN &   #               ATTEMPT AND/OR DIAGNOSIS REPORTED BY
 &            OUT                    DEALER
 # OF '       OF
 DAYS         DEALER
 VEHICLE
 AT                                                                 1
 DEALER
 1 1/10/20    242        M8CS225     CLIENT STATES THE R/SIDE qF THE VEHICLE
 To     '                26          IS DEAD - DOOR LOCK
 1 1/11/20                           INOP - MIRROR DOESN'T FOLD -
                                     CHECK/REPORT               li
                                     VERIFY COMPLAINT, DRIVE VEHICLE INTO
                                     SHOP. HOOK UP SDS AND i ]
                                                                         ,
                                     CHARGER. FOUND FAULT CODES
                                     IN MANY MODULES FOR COMMUNICATION TO
                                     RF DOOR CONTROL MODULE'
                                     N69/2. OPENING RF DOOR APPEARS TO HAVE
                                     RECTIFIED FAULT. RNR       II i
                                     RF DOOR SILL TRIM, CHECK FUSE 302. FIND
                                     13.2 VOLTS. RNR RF
                                     DOOR PANEL. CHECK CONNECTORS ON DOOR
        ,
         •                           CONTROL MODULE AND PINS1
                                     FOR TIGHTNESS. FOUND CONNECTOR 610
                                                                li
                                     NOT BE PLUGGED IN          1 ..
                                     COMPLETELY. CONNECTOR 6 DOES NOT
                                     APPEAR TO BE ROOT OF CAOISE
                                     BEING THAT CONNECTOR 6 PRIMARILY .
        '                            CONTROLS LIGHTING AND SEAT
                                     POSITION. CONCERNED ABOVJT CONNECTOR 3
                                     BECAUSE OF CIRCUIT 30        i
                                     VOLTAGE AND CAN COMMUNICATION. FIND
                                     13.2 VOLTS AT CONNECTOR 1i f1
        '                            3 PINS 4 AND 5. OK. CHECK,CAN   •
        ;                            COMMUNICATION FIND 2.2V CAN
                                     LOW PIN 1 TO CHASSIS GROUND. FIND 2.6V
                                     FROM CAN HIGH PIN 2        I!
                                                                I,
                                     TO CHASSIS GROUND. RNR FT SEAT RNR RF
                                     CARPETING. DUE TO
        :
                                     VEHICLE AGE FINDING LOOSE GROUND IS
                                     NOT UNCOMMON. PERFORM
         i                                                      1
                                     VOLTAGE DROP TEST FROM CONNECTOR 3
         ;                           PIN 4 TO W15/1 FIND 0.0V , !
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                                 OK. CHECK FOR CONTINUITY BETWEEN
                         ;       THOSE TWO POINTS, FIND .1
                                 OHMS OF RESISTANCE. CHECK PINS FOR
                                 TIGHTNESS AT X35/2X1 FIND
                                 ALL ASSOCIATED PINS TO HAVE GOOD DRAG
                                 AND CONTACT PATTERN.
                                 NO FAULT FOUND THERE.  I
                                                          PERFORM HARD
                                 RESET OF N69/2 BY
                       ,         TENSION AT F150/1 TENSION OK. UPON
                                 REINSTALLING FUSE FOUND
                                 EVERYTHING TO FUNCTIONING. SUSPECT
                                 FAULTY MODULE DUE TO HARD
                       ,         RESET   HAVING TO BE PERFORMED. INSTALL
                                 NEW DOOR CONTROL I
                     4   ,
                                 MODULE RE. PERFORM INITIAL START UP OF
                                 RF DOOR. ALL OK AT
                                 CURRENT TIME. CLEAR CODES.
  12/01/20               M8CS239 CLIENT STATES RED BATTERY LIGHT IS ON -
  To                     82      VEHICLE WILL NOT       :
  01/08/21                       CRANK/START
                                 VERIFIED COMPLAINT, NO START AND
                                 WARNING IN CLUSTER 48
                                 VOLTS BATTERY WARNING ON., PERFORMED
                                 QUICK TEST PRINT CODE#
                                 B183387 DC/DC CONVERTER BATTERY FOR
                                 THE 48V SYSTEM HAS A'
                                 MALFUNCTION, THE MESSAGE IS MISSING. LIN
                     i           G1/3 - 48V ON VOLT.
                                 B183349 THE BATTERY FOR THE 48VOLT ON
                                 BOARD SYSTEM HAS A
                                 MALFUNCTION. FOLLOWING ;   LI54. 10-P-069698
                                 FUNCTIONAL
                                 IMPAIRMENT OF 48V ON-BOARD ELECTRICAL
                     i           OPEN PTSS CASE# 154425
                                 SYSTEM,VEHICLE FALLS
                                 INTO CAUSE/REMEDY 1 AND 2 CAUSE#1 NO
                                 START WITH B183387 IN .
                       ,         DC/DC CONVERTER N83/1, CAUSE 2 B183349 IN
                                 48 VOLT BATTERY.
                     J1
                                 PERFORMED rEMEDY1 CAUSED NO START
                                 WITH B183387 IN DC/DC
                                 CONVERTER N83-1 A. IF FIRST VISIT PULL
                                 QUICK CHEST IF FAULT
                                 CODE IS B183387 IN N83-1 (REGARDLESS OF
                                 OTHERFAULTS)REPLACE
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                                    ONLY 48V BATTERY. REMEDY 2 B183349 IN 48V
                                     BATTERY. A. IF                Ii
                                     FAULT B 183349 IN 48V I. REPLACE,  ONLY 48 V
                                     BATTERY                       I
                                                                   14
         ,
                                    (REGARDLELSS OF OTHER FAULTS).   ,    I
                                     UPDADED DC /DC CONVERTER IF
                                     LATEST S/W IS AVAILABLE 9 IS THE
                                     RESOLUTION RPLACE 48V IL
                                     BATTERY AND UPDATED DC/DC CONVERTER.
                                    PULLED INITIAL QUICK TEST AND  li
                                                                       DC/DC,
                                     CONTROL UNIT LOG.          I !I
                                    PULLED ISA PERFORMANCE DATA BEFORE
        :                            CLEARING FAULTS. COULD!i 1 1
                                     NOT ROAD TEST VEHICLE WOAD NOT START.
                                     COULD NOT CONFIRM ALL i t
                                    48V COMPONENTS COULD BE ACTUATED. NO
                                    48V OUTPUT OF BATTERY.! ;1
         4                           VIA XENTRY GUIDE TEST I 11
                                     A1=M75 ELECTRICAL COOLANT PUMP
                                     A2=M60 ELECTRICAL TURBO 1
                                     A3=A95 ELECTRICAL AC COMMESSOR
                                    PRINTED OUT FROM 12V TE& WITH XENTRY
                                     BATTERY TESTER IN         .i. !
         ,
                                     FRONT SAM. DETACHED LINES BETWEEN
                                     DC/DC CONVERTER N83-1 1 1
                                     AN48V ON BOARD ELECTRICAL SYSTEM
                                     BATTERY, NO DAMAGE, 1
                                    SOILING , CORROSION AND RESISTANCE OF
                                     ALL CABLE PINS .1          I I
                                    OHMS. REMOVED IND INSPECT ALL CABLE
                                     INTO/ OUT OF DC/DC         I I
                                     CONVERTER ALL CLEAN AND TIGHT. AS A
                                     RESULT ME (SIC) MUST REPLACE                 '
                                    48V ON BOARD ELECTRICAL S' YSTEM
                                     BATTERY, R&R PASS FRONT SEAT
             ,                       ASSEMBLY, R&R REAR SEAT BOTTOM , R&R I
                                     FRONT AND REAR CARPET1 1
                                     R&R FLOOR PANELS , ACCESS 48V BATTERY, ,1
         I                           R&R BATTERY COOLANT 1
                                     LINES, R&R ELECTRICAL LINES,REMOVE           I
                                     FOAM AND REPLACED 48V I                      ,
                                     BATTERY,SWAP CONTROL MODULE TO NEW
                                     BATTERY , INSTALLED NEW                      i
                                     BATTERY ,ASSEMBLE VEHICLE IN REVERSE
                                     ORDER,PROGRAM NEW
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                      .,
                                      COMMENTS
                                      TOW IN
                      I               THIS CAR IS GONE DO NOT CALL CLIENT
  04/10/21                            J#1 VEHICLE TOWED IN
                           ,
  To                       ,
  04/15/21                 .
                      ,               J#2 LOANER CAR #27
                                      SUPPLIED LOANER CAR
                      I
                           i          J#3 CLIENT STATES VEHICLE WILL NOT START
                                      - NO CRANK NO START
                      o               CK. VEHICLE DOES NOT START, SDS AND
                      i
                                      CHARGER HOOK UP SDS TEST
                      I               CK. DTC'S B183349 BATTERY FOR 48 VOLT ON
                      ,               BOARD ELECTRICAL
                      1               SYSTEM HAS A MALFUNCTION...THERE'S AN
                                      I NTERNAL ELECTRICAL
                           '          FAULT. B183371 THE BATTERY FOR 48 VOLT
                                      ON BOARD ELECTRICAL
                      I               SYSTEM HAS A MALFUNCTION..THE
                      ,               ACTUATOR IS BLOCKED. PROCESS
                      41              DTC'S AS PER LI54.10-P-069698 AND PERFORM
                      i.:             CK. LIST..FOR
                      i,              CAUSE 2 FOR THESE 2 FAULT CODES
                      I!
                                      MENTIONED ABOVE...
                      !               AS PER LI54.10-P-069698 REMOVE R/F SEAT
                       ,              AND R/F RUG AND R/R
                                      PORTION OF REAR RUG REMOVE FLOOR
                      4
                                      BOARD PANELING AND REPLACE
                                      48 VOLT BATTERY..WITH DC/DC CONVERTER
                        I
                      •               AND INITIAL STARTUP OF
                      '               DC/DC CONVERTER AND UPDATE 48V SYSTEM
                        .             BATTERY...RECK.
                                      FUNCTIONS OK. ERASED CODES AND
                      iI              REASSEMBLE VEHICLE .:
                      ,.
                      I'i             J#4 CLIENT STATES DASH WENT OUT FOR 1-2
                      i               MINUTES AND THEN CAME
                                      BACK ON (WHILE DRIVING) CK. VEHICLE
                                      CLUSTER WENT BLANK, SDS AND CHARGER
                      •               HOOK UP SDS TEST CK. DTCS NONE CK. FOR
                                      RELATED LI'S NONE CK. FOR RELATED
                      I               PROBLEMS WITH OTHER VEHICLES NONE
                                      SPECIFIC TO THIS COMPLIANT CK. FOR
                       1              CLUSTER S/VV UPDATES AND UP CLUSTER S/VV
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                                                                    ,
                                                                       .1
                                                                    •



         .TOTAL MINIMUM DAYS VEHICLE AT FRANCHISE DEALERSHIPS SINCE
          DELIVERY FOR REPAIR ATTEMPTS FOR ISSUES WITH ELECTRICALi
          SYSTEM =47

       > 'TOTAL MINIMUM NUMBER OF REPAIR ATTEMPTS PERFORMED UPON
          VEHICLE SINCE DELIVERY BY FRANCHISE DEALERSHIFiS FOR ISSUES
          WITH ELECTRICAL SYSTEM = 3.
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                        COMPLAINT
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                    The Warranty Process Flow Within the
                            Automotive Industry:
                              An Investigation of
                  Automotive Warranty Processes and Issues




                                         Prepared for the
                             Program on Automotive Practices
                                           Sponsored by
                                      Microsoft Corporation




                                   CENTER FOR AUTOMOTIVE RESEARCH




                                          August 2005




               The statements, findings, and conclusions herein are those of the authors and do not
                               necessarily reflect the views of the project sponsor
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                                       Acknowledgements

                              ,
       TheiCAR-Microsort Program on Automotive Industry Practices is a four-year research
       effort consisting of in-depth, focused interviews with industry participants on subjects of
       importance to all 'industry stakeholders. The Automotive Industry Program,funded by
       Microsoft, will investigate two topics per year, with results publicly disseminated. The
       first topic of investigation for 2005, presented in this report, is the flow of warranty data
       within the automotive industry.
                            I 1
       The,Center for Atipz)motive Research would like to thank Microsoft Corporation for its
       support and proactive interest in topics of critical importance to all automotive industry
       stakeholders. We: believe the CAR-Microsoft Program on Automotive Industry Practices
       is representative Of Microsoft's desire to further public discussion on important
       automotive issues.

       We Would like to tha;nk those in the automotive industry who took time to guide our
       work. CAR greatly appreciates the willingness of those interviewed to share their
       insights and idea . yVithout their support such a project would not be possible. These
       individuals showed a strong passion for creating better warranty processes both within
       their companies, 4nd throughout the industry. We hope this report reflects, in some way,
       the commitment thee industry participants have toward their work.

       Finally, this report!is the result of several people contributing in many ways. The authors
       of this report would like to thank Karen Esper, who contributed by formatting and
       managing the dociument. Jillian Lindsay Gauthier assisted in the interview process and
       document review;


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       Executive Summary
                         1;
       The Center for Automotive Research (CAR) has undertaken the CAR-Microsoft Program
       on Automotive Industry Practices. The program is a four-year research effort consisting
       of in-depth, focused interviews with industry participants on subjects of importance to all
       industry stakeholders. The Automotive Industry Program will investigate two topics per
       year, with results publicly disseminated. [The first topic of investigation is warranty
       process flow in the automotive industry.] Importantly, this topic is not intended to gather
       confidential data such as warranty cost estimates. Instead, this report will describe the
       flow of warranty data gathering, including processing and application activities, and
       where possible, highlight selected practices and critical future operating issues.

       As with many CAR projects, the identity of companies interviewed will not be made
       available—nor will information be presented in a way that may directly identify any
       participating companies. CAR researchers interviewed representatives from three
       automakers, four suppliers, and one dealership as part of this project. Given the relative
       small number of interviews, this report is not intended to be a complete description of the
       topic. Instead it is hoped that by selecting companies that have been identified as
       thought leaders in a specific topic, these reports will be then be viewed as contributing to
       the greater understanding of the issues and challenges.

       Given the high volume of manufacture, the complexity of the product, and the often
       harsh operating environment in which the automobile is used, it is inevitable that there
       will be component failures. While there are certainly lessons to be learned from these
       failures, such incidents can in some ways be viewed as normal operating noise from
       non-assignable causes. However, the manufacturers and suppliers must be able to
       differentiate the expected component failure rate—the 'noise'—from those incidents that
       may be an indication of a systemic failure of the component. This report will focus on
       how the industry is addressing those warranty issues that appear to be serial in nature,
       and would thus present significant potential cost exposure.

       Guided by the responses of those interviewed, CAR has identified two areas of the
       warranty process of focus for this report, and four issues that are likely to be critical
       challenges for the,industry in the coming years. The first area of focus is the flow of data
       from the dealership to the manufacturer, and then from the manufacturer to the supplier.
       The second area of focus is the challenges brought about by the large volume of
       warranty data that is available.

       Lastly, CAR will address four issues that were described by interviewees as pending
       warranty challenges within the industry:(1)the challenge of increased warranty issues
       surrounding greater application of on-vehicle electronics;(2)the lack of skilled
       mechanics;(3)the action of vehicle manufacturers moving toward warranty cost-sharing
       as a method to increase revenue; and finally (4)the difficulty presented when applying
       current warranty strategies in developing markets.

       The flow of warranty data, in its most simple form, is a reporting and transfer of
       information regarding an in-service product failure. A failure is reported by the service
       representative (the dealer) to the vehicle manufacturer, and then, if deemed necessary
       by the vehicle manufacturer, to the component supplier. In reality, this seemingly simple
       path is exceptionally complex, and at times even serendipitous. The warranty data
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       process is highly quanti ative and qualitative, sometimes scientific, an often creative.
       The process as identified by the participants includes:

              1. Part identification/defect analysis and codification.
              2. Reporting of warranty claim to the vehicle manufacturer—claim processing.
              3. Investigation of claim by vehicle manufacturer warranty analysis center—
                 claim review.
              4. Notification Of incident—or more accurately, increase in reported incidents—
                 to component supplier.
              5. Incident remediation (i.e. manufacturing, engineering, mater als etc.) as
                 required.
              6. And, possible further action taken to assure the correction iL implemented
                 throughout the product line, including future components.

       This report describes the communication formats, and touch-points for re six data flow
       processes.

       As noted, on the surface the warranty process would appear to be rather straight
       forward. However, the variance with which the data is collected, commimicated and
       analyzed creates opportunity for complexity nearly unimaginable by an putsider.
       Warranty data coding of failures varies from dealer to dealer—even from technician to
       technician—within a vehicle manufacturer dealer network, as well as between the
       vehicle manufacturer dealer networks. Nearly all interviewed suggested that if they were
       to take the same part tot five different dealers, the failure would likely be; identified and
       coded differently by each dealer. In their view, this was not an indictment of the repair
       shops ability to analyze the problem. Instead it was a reflection of the extent of the
       challenge. Often times the reason for a part failure is obvious, but just as often, the 'root
       cause of a failure is not readily apparent. The dealer repair shop must make a rapid
       decision regarding the sailed part. Included in the decision process is allowable repair
       time, workload of staff, the experience of the technician, and even the history of
       reimbursement by the vehicle manufacturer.

       From this rather inauspicious start, the data is then sent to the vehicle manufacturer,
       where, although it is usi.Jally centrally housed, it often follows several separate paths'.
       While each manufacturer has developed its own internal process for warranty data, the
       flow generally starts with a review of the dealership claim. In most aspects, this step
       serves as a method to Monitor dealer repair work and focus on the process of repairing
       the vehicle. Although the claim process has become electronic in recent years, there is
       still a considerable amdunt of staff effort required to analyze and folloW-up via telephone
       for clarification. While this review process is intended to monitor the dealership repair
       work, it is also considered a line of first defense in identifying potential warranty
       problems.

       Once the warranty data is in an acceptable form, the vehicle manufacturer enters it into
       a database. From this point, each manufacturer has developed very established and
       confidential internal systems, often using both internally developed and third party
       software. The warranty data is controlled by either a quality or warranty function, but
       can be accessed by product engineering, manufacturing, materials, legal, finance, and
       other functions within tie company.




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       Selected data is then made available to the suppliers. The type of data transferred from
        vehicle manufacturer to supplier differs greatly among the vehicle manufacturers. One
        respondent described three general types of data they receive: incident-based data
       (limited to claims and count); rate-based data (based on production/sales); and warranty
        data with month of production/months in service (MOP/MIS) data included. Obviously
       the ability to tie a defect to a date of manufacture, months in service, or some similar •
        measure is of great value when assessing the problem and developing a response. It
        was widely agreed that to have an effective warranty process, the 'born on date' for a
       component is criti4al. The traceability of subsystems may become a competitive
        advantage for manufacturers and suppliers.

       While the warranty data is vital to identifying systemic failures, an analysis of the
       component is often required to establish root cause of the failure. Due largely to
       logistics and transportation, it is also a costly proposition. Thus it is important to better
       understand the fate of the failed component. Often the component is disposed of at the
       dealership, thus ending any opportunity to establish root cause of the failure.
       Manufacturers also may randomly select dealers to send a limited number of
       components for inspection, allowing a sample for study. These are then sent to the
       supplier for review. Finally, if the supplier has an indication there may be issues related
       to a component, the supplier may request the vehicle manufacturer obtain a small
       number of components for analysis from the dealers. Importantly, the vehicle
       manufacturers differ greatly in how they deliver the parts. Some send them through a
       vehicle manufacturer parts center, while others have a more formal warranty processing
       location, and still others send the parts directly to the supplier. The inherent conflict of
       the warranty system is that it was originally developed to monitor and pay claims, not
       necessarily to capture the data.

       The vehicle manufacturers (and some of the suppliers) interviewed indicated that one of
       the most pressing challenges of warranty investigation is the vast amounts of data
       processed, and the wide range of groups within the company that have use for the data.
       During the creation and implementation of the TREAD (Transportation Recall
       Enhancement, Accountability and Documentation) act, much was made of the enormous
       amount of data already collected by the industry. Based on numerous published reports,
       CAR estimates the automotive industry handles well over 100 million warranty claims
       per year. Each cl im includes numerous fields, and often several lines of text.
       Realistically, the industry handles billions of warranty data fields annually.

       Not only are companies challenged to develop methods of effectively capturing and
       storing warranty data, but they also must have the ability to access the information in a
       timely—and perhaps most importantly—cost effective way. As noted, each
       manufacturer has developed such information technology systems, but there continues
       to be concern that these systems are not yet fully capable of delivering consistent data
       to the suppliers. One supplier suggested they don't need more data, instead they need
       increased responsiveness (of the manufacturers to data requests); while another
       suggested that there was not consistent data available. A strong theme from all
       discussions was that a successful warranty program relied on a strong relationship
       between the interested parties.

       Several companies were either currently investigating or had recently investigated text
       data mining as a method of increasing their ability to better analyze warranty data. From
       a vehicle manufacturer's viewpoint, text data mining presents opportunity to further


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       investigate and underst'rd the vast text reports received from dealer repair shops. The
       ability to accurately anailyze text entered by technicians may offer insight into, and
       potential early warning of, likely in-service product failures. One supplier indicated that it
       had spent several months investigating text data mining, but concluded that the cost of
       off-the-shelf systems coluld not be justified by the expected savings. o

       During the interviews, respondents identified several issues that will likely challenge the
       automotive industry in the near future. While CAR does not attempt to offer solutions to
       these issues, each of them is worthy of discussion and provides fertile ground for further
       research. Those areas are:

              1.   Warranty cot sharing
              2.   The lack of skilled mechanics
              3.   Electronics,9s a warranty burden                               ;
                                                                                  f
              4.   Adapting warranty systems to developing markets

       This report presents a description of the flow of warranty data within tt.le automotive
       industry, and highlights pending challenges faced by dealers, vehicle Mrenufacturers and
       suppliers. CAR's investigation has highlighted several areas that offer Opportunity for
       improvement. It is apparent that the industry continues to struggle witlIthe warranty
       data flow, particularly in the areas of data management and process,interfaces. In
       conclusion, CAR believes the warranty process will continue to be an area of great
       challenge, interest and opportunity for the industry.




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       Introduction
       The,Center for Au omotive Research (CAR) has undertaken the CAR-Microsoft Program
       on Automotive Industry Practices. This program is a four-year research effort consisting
       of in-depth, focus0 interviews with industry participants on subjects of importance to all
       industry stakeholders. The Automotive Industry Program will investigate two topics per
       year; the results will be publicly disseminated. Warranty in the automotive industry is
       the first topic for q1 nsideration. It is important to note that it is not the study's purpose to
       gather confident61 data, such as warranty cost estimates. Instead, this report will
       desaribe the flo4f warranty data gathering and, where possible, highlight selected
       practices and critiFal future operating challenges. The identity of companies interviewed
       will not be made vailable—nor will information be presented in a way that could directly
       identify any partiiipating company.
                          I
       As a part of this project, CAR researchers interviewed representatives from three vehicle
       manufacturers(vityl), four automotive suppliers, and one automobile dealer. By design,
       this program's studies are not intended to be a complete description of the topic.
       Instead it is hoped that by focusing on companies identified as leaders in a specific topic,
       these reports willOen be viewed as contributing to the greater understanding of the
       issues and challenges.
                         II
       Given the high vo ume of manufacture, the complexity of the product, and the often
       harsh environment in which the automobile operates, it is inevitable that there will be
       component failure's. While there are certainly lessons to be learned from these failures,
       such incidents can in some ways be viewed as normal operating noise. However, the
       vehicle manufacqirers and suppliers must be able to differentiate the expected
       component failure' rate—the 'noise'—from those incidents that may indicate a systemic
       failure of the component. This report will focus on how the industry is addressing those
       warranty issues that appear to be systemic in nature, and would thus present significant
       potential cost exposure.

       Theoretically, vehicle manufacturers can address warranty costs via two approaches.
       First, they can proactively attempt, through engineering, to reduce expected warranty
       costs toward zero While this approach will likely lead to robustly engineered products,
       and concomitantly higher usage of engineering resources, it also often requires a
       willingness to accept a higher initial price for a component. Alternatively, the
       manufacturers can attempt to monitor the warranty data and react to in—service
       incidents. This approach is closely associated with those companies that have a strong
       cost-focused purchasing bias in their sourcing decision process. Realistically, each
       vehicle manufacturer uses a combination of the strategies, with some companies biased
       more toward the proactive engineering approach, while others tend to place more
       emphasis on reacting to reported data.

       The automotive industry tends to focus on warranty in terms of direct costs—
       manufacturing, logistics and labor for replacement. Granted, these are significant costs;
       however, it is also important to understand other 'soft' costs associated with warranty.
       While any in-service product failure is likely to dissatisfy a customer to some extent, the
       q uick, accurate repair of a warranty issue is likely to lessen the customer's overall
       dissatisfaction. Any discussion of warranty processes should not overlook the



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       importance of developing warranty strategies that deliver the greatest customer
       satisfaction—or more appropriately—least dissatisfaction in the most cost effective
       manner.


       The Path from Repair Bay to the Supplier

       The flow of warranty data, in its most simple form, is a reporting and itransferring of
       information regarding an in-service product failure. A failure is reported, by the service
       representative (the dealer) to the vehicle manufacturer, and then, if de6med necess6ry
       by the vehicle manufacturer, to the component supplier'. In reality, thisseemingly
       simple path is exceptiorlrally complex, and at times even serendipitoys. The warranty
       data process is highly quantitative and qualitative, sometimes scientific,,and often
       creative.
       The process, as identifiled by the participants, includes:

                   1. Part identification/defect analysis and codification. Thig May be the most
                      critical element of the process, and yet it is certainly th4 most variable. The
                      process ofi capturing the customer's description of an inliservice product
                      failure, diagnosing the problem and correcting it remains al;difficult andi
                                 .;
                      unscientific process.

                   2. Reporting ol f warranty claims to the vehicle manufacturr. The movement of
                      data from the dealer repair shop to the vehicle manufaCtu* has becorhe
                      electronic in recent years, which has allowed for a much faster reporting
                      system. :

                   3. Investigation of claim by vehicle manufacturer warrantylanplysis center
                      Even though warranty claim filing has become increasir?g ji electronic, it still
                      requires effort to verify and clarify the data. Each manufacturer has a group
                      review theidata and enter it into some form of warranty !database. This!
                      database i then accessed by product engineering, product development,
                      manufacturing engineering, and the manufacturing plant, among others

                   4. Notificatioi of incident—or more frequently, increase in ireported incidehts—
                      to componient supplier. The type and amount of data tran4ferred to supplier
                      differs among the vehicle manufacturers.

                   5. Incident remediation (i.e. manufacturing, engineering, materials etc.)
                      required. If the in-service product failure is found to be F
                                                                                 I aysed by a
                      supplier component, the supplier will then use the    availab e data and parts
                      to identify the problem, and determine actions to elicit a1 remedy.
                                                                                                     •




       1 q1/4IR acknowledges the failure of a product may enter through other sourdes (e.g. police reports,
       fleet reports, insurance cleims and customer service calls). For this study, the focus is on the
       warranty process though She most common entry-point, from the dealer's repAir shop.


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                 6. Proabtive suppliers and the vehicle manufacturers will take action to assure
                    the Correction is implemented throughout the product line, including
                    incorporating the knowledge into future component development.


        From the Dealer to the Vehicle Manufacturer

       On the surface the warranty process appears to be rather straightforward. However, the
       variance with which the data is collected, communicated, and analyzed results in
       complexity nearly unimaginable by someone unfamiliar with the process. Warranty data
       reporting varies from dealer to dealer within vehicle manufacturer dealer networks, and
       even mechanic tqlmechanic within dealerships. Vehicle manufacturers also differ in the
       reporting methods they require of their dealers. Such a varied starting point for warranty
       data creates potert,itial for great difficulty downstream.

       Nearly all study participants suggested that if they were to take the same part to five
       different dealers, the failure would likely be identified and coded differently by each
       dealer. In their views, this was not an indictment of the repair shops' ability to analyze
       the problem. Instead, it was a reflection of the extent of the challenge. Often times, the
       reason for a part failure is obvious, but just as often, the root caue of a failure is not .
       readily apparent. The dealer repair shop must make a rapid decision regarding the
       failed part. Included in the decision process is allowable repair time, workload of staff,
       the experience of, the technician or mechanic, and even the history of reimbursement by
       the vehicle manufacturer.
                            I
       Because the point of entry for an in-service product failure is so critical, it is valuable to
       investigate this stage of the process more closely (Diagram 1). The first step in the
       process is to record the customer's complaint. Again, while this is a seemingly simple
       task, there is great opportunity for miscommunication as the customer tries to explain the
       problem to the service manager. Importantly, this input—often a short written
       documentation of the issue—can be a vital part of the warranty tracking process. Key
       words or phrased'entered at this point can potentially offer insights as vehicle
       manufacturers and suppliers undertake root cause analysis weeks, months or even
       years later. An iqestigation of the warranty process in the automotive industry quickly
       highlights the factithat the dealer repair shop service manager is, in many ways, the -
       cornerstone of a successful process. Once the shop manager identifies a likely cause
       of the problem, the1 1 vehicle is assigned to the appropriate mechanic.2
       Each vehicle manufacturer continues to develop strategies that remove the responsibility
       from the repair slibp floor. One vehicle manufacturer respondent suggested the biggest
       improvement of tte information received from the repair shop to the vehicle
       manufacturer would be the implementation of a new, more structured warranty reporting
       software; however, the respondent also suggested that the replacement cost was
       currently prohibitive. While it is important to develop systems that make the identification
       of an in-service failure more efficient and effective, it is also important to realize that the
       ability of the mechanic or technician will be a key part of any diagnosis strategy for the



       2
         Repair shops ma'use a technician to identify the problem, then, in turn assign a mechanic *ho
        will do the actual repair work.


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       foreseeable future. As such, it behooves the industry to work to develop a skilled
       technical base at the dealership level.


                                           Diagram 1: In-Service Problem Identification
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      The mechanic, using visual inspection, technical manuals, service bUll tins, and
      technical support from the vehicle manufacturer, must then begin the process of         '
      identifying the part that has failed. Upon determining the failure, the m'echanic must then
      match it to a warranty repair code. The coding process illustrates two Important
      variables. First, there are often ulterior motives for the mechanic to select a code for the
      in-service failure. For example, some codes may tend to offer more ireiiair time, or may
      be less likely to be questioned by the manufacturer3. Second, the tryelcause 'of the
      failure may not be completely understood, thus the mechanic may make an educated
      guess as to why the failure occurred, and code it accordingly. Given'tlie time
      constraints, working environment and differing experience level amond mechanics, it is
      understandable that the mechanics often aren't able to fully identify the, product failure.
      However, once the repair is performed, a warranty claim is then sent tq the
      manufacturers.
                                I
       Most respondents expressed concern that there is potential for dealerS, to consider the
       repair shop as a profit denter by affecting unnecessary repair work. Although there was
       no.clata presented to aipport this concern, those that mentioned the:prioblem indicated
       that if new vehicle sales.were down, some dealers were more likely to push warranty

       3 CAR does not wish to suggest that these are necessarily fraudulent acts, initead they may be .
       honest attempts by the mechanic to better capture the time needed to complete an adequate
       repair, and better satisfy the customer, while remaining within the standards slpt forth.


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        claims to fill the rirpfit 'valleys.' While such actions have wide ranging implications, of
        interest to this report is the potential for a decrease in the accuracy of the reported
        warranty data. A'yvarranty claim that is not accurate—whether intentionally or
        unintentionally entered as such—will have consequences throughout the entire warranty
        process.
                                                                          I
       Finally, it is at the dealer repair shop where warranty data and the part are separated.
       Most parts are scrapped, while others are shipped to the manufaOurer—or directly to the
       supplier for review. In order to understand and analyze the warranty process more
       completely, it is irriportant to note the data and the component take markedly different
       paths.
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       The PathwaY;Within the Vehicle Manufacturer

       From this rather inauspicious start, the data is then sent to the vehicle manufacturer
       where it often follows several separate paths, although it is usually centrally housed.
       While each manufacturer has developed its own internal process.for warranty data, the
       flow generally starts with a review of the dealership claim. Such a review is intended to
       monitor the work done at the dealership. In most aspects, this step serves as a method
       to monitor dealeritepair work and focus on the process of repairing the vehicle. Special
       attention is given' t this step to assuring the warranty claim meets the standards set by
       the manufacturerd Commonly, the review includes an evaluation of the claim to assure
       completeness and correctness, an analysis of the type of repair, the time taken to make
       the repair (especially if different from the standard), the frequency of repair at that
       dealership vis-à-vis other dealerships and other such concerns. Although the entry of
       the claim process has become electronic in recent years(most are now on-line, and
       completed overnight), there is still a considerable amount of staff effort required to
       analyze and follow-up via telephone for clarification. While this review process is
       intended to monitor the dealership repair work, it is also considered a line of first defense
       in identifying pote0alwarranty problems as trends become evident.

        The reduction in time for the claim filing process has important implications for root
        cause analysis. Critical to understanding any in-service part failure is the interaction With
        the mechanic. The ability for the vehicle manufacturer—or even the supplier—to contact
        the mechanic within a few days of when the repair is affected increases the chance the
        mechanic will be able to more clearly remember the repair in question, and thus more
        accurately describe the problem identified, and the process of repair.
                           I
       Once the warranty data is in an acceptable form, the vehicle manufacture enters it into a
       database. From'this point, each manufacturer has developed comprehensive and
       confidential internal systems, often using both internally developed and third party
       software. The warranty data is controlled by either a quality or warranty function, but is
       available to be acessed by product engineering (product and manufacturing),
       manufacturing (assembly plant), legal and other functions within the company. Diagram
       2 illustrates the complex flow of warranty data within the vehicle manufacturer. It is
       important to note warranty data is only one form of information used to identify in-service
       product issues. Other forms (technical call centers, insurance claims, police reports,
       etc.) are often captured by other internal functions, and are likely to be stored in entirely
       different data warehouses.


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       Warranty data is accessed by many different functions within a vehicleirnanufacturer.
       The manufacturers interviewed indicated that because the warranty da'ta was accessed
       by s', o many functions internally, some uncertainty exists among the different functions as
       to who else in the organization might be accessing the same data and !what their needs
       might be. There was also uncertainty expressed as to how the data might be of value to
       others in the company.. It is a valuable area of further study to more clOsely examine the
       pathways within the vehicle manufacturers. However, two caveats are;offered. First, the
       flow of data, or more appropriately the description of users, within thesip large companies
       is complex. Second, each manufacturer views the warranty process as a competitive
       advantage, and is not necessarily interested in discussing detailed des,criptions of the
       process.



                      Diagram 2: Flow of Data within the Vehicle Manufacturer          M)

                                           Warranty
                                            Claim
                                         from Dealer
                                                                              VM Legal,
                                                                              Policyt,;etc.
            Finance

                                                        4'
                                         VM Quality/
         Component                        Warranty                   VM Assemby
          Supplier                        Database                     Facility I t



                                                                                    ,1 Sales and
                          VM Product                          VM                     Ir'riarketing
                           Engineering                   Manufacturing               I
                                                          Engineering

                                                                         4

                                          VM Product                     Initial infOrmation flows
        Second Tier
          Suppliers                       Development
                                                                         4-
                                                                    Secondary information flows


      The type and amount of data that flows to suppliers from a vehicle man1pfacturer differs
      greatly among vehicle manufacturers. Generally, the supplier must query the vehicle
       manufacturer database(increasingly via web-based applications) to access warranty
       information. One respdndent described three general types of data hi company
       receives (Diagram 3): incident-based data (limited to claims and count); rate-based data
      (based on production/sales); and data that included months in service, nd month of
       prdduction. While the suppliers interviewed had developed strong intei-nal warranty
      trapking processes, thelrespondents made it clear the quality of data passed along by


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             the vehicle manufkturers affected the speed and accuracy of an'early warning system.
             The ability to tie aldefect to a date of manufacture, months in service, or other similar
             measures is of grlat value when assessing the problem and developing a response.
             Certainly there has been much discussion surrounding the tracObility of parts in the
             manufacturing process. However, the traceability of some key components in service,
             presents an opportunity for those wishing to gain a competitive advantage in the
             automotive warranty business. Vehicle manufacturers that develOp effective reporting
             systems—a meaps of getting concise, accurate warranty data to ,their suppliers in a
             time y fashion—vyill take a large step toward developing a proactr0 early warning
             system.


                      Diagram 3: The Reporting of Data from Vehicle Manufacturer to Supplier
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             Because of the variance in the warranty reporting processes among vehicle
             manufacturers, each supplier interviewed had set up its warranty efforts by customer.,
             Such redundancy was difficult for the suppliers to justify financially. Although several ,
             people interviewed indicated it would be valuable for the vehicle manufacturers to work
             to make their systems more common, there was little hope that it would occur. It is .
             worth noting the Automotive Industry Acton Group (AIAG) has begun to investigate
             warranty process flow, with the intention of developing a set of industry best practices for
             use as a guideline. As such, this guideline could potentially serve to offer a first step
             toward industry standardization within some elements of the autolimotive warranty         '
             reporting system. I

            While the warrant/ data is important for identifying systemic failures, an analysis of the
            component is oftep required to establish the root cause of the failure. It is a costly    i
            proposition, due16rgely to logistics and transportation. Thus, it is important to better
            understand the fate of the failed component. Diagram 4 shows the possible outcomes
            for an in-service failure under warranty. The vast majority of components are disposed
            of at the dealership, thus eliminating any opportunity to establish tthe root cause of the
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       failure.4 Manufacturers may randomly select dealers and require that the dealers send
       a limited number of coniponents for inspection, creating a sample for stUdy. Depending
       on the vehicle manufacturer, these components are then sent either to:their component
       assessment center, or directly to the supplier for review.

           Diagram 4: The Returning of Parts from Vehicle Manufacturer Repair Shop to Supplier

                                                                                  I/
                                             Warranty Claim




                                                    1
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                                                                             No Flarts
                                                                       11
                                                                       .
                                                                             Returned:
                                                                             Disprised
                                                                             by Dialer




       If the supplier has an indication there may be issues related to a component, the supplier
       may request the vehicle manufacturer obtain a small number of comportlents for analysis
       from the dealers. As was illustrated during the course of the interviewsifor this project,
       the automotive warranty process is often driven by relationships. Each;of the suppliers
       interviewed had establi hed relationships that enabled them to side-step the
       bureaucratic red tape, 6nd resolve issues rapidly. This was especially evident in the
       area of component procurement. Such relationships are difficult to represent in a flow
       chart, but are vital to successfully solving warranty issues. One final method of parts
       dispersal, according to one supplier: one vehicle manufacturer sends the supplier a 'box
       of parts' with no information nor explanation of failure.

       Each supplier interviewed had developed similar, albeit slightly differeril processes, for
       analyzing the warranty data. Diagram 5 shows the general flow of wari"anty data and
       pai-ts as described by &smaller supplier. The data (and component) Oirected from the
       vehicle manufacturer tot the supplier's manufacturing plant, where it is received by the
       plant's quality department. After review of the data, a cross-functional team is
       aseembled to begin thel process of identifying the problem. It is important to note that
       the smaller supplier felt warranty issues were in essence a 'plant issue,; thus they used


       4                                                                          11
         Vehicle manufacturers have often struggled with quality on newly launched vehicles, and
       therefore have become much more aggressive in addressing launch quality. Several companies
       ha\ie leveraged the existing warranty system to assure that launch products have a 100 percent
       part return program. By capturing all parts that fail during the launch phase ai,0
                                                                                        - using the
       warranty infrastructure to analyze the data, companies hope to quickly respond to potential
       product issues.

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       the manufacturing plant as the central processing point for the in-service product
       failures.
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        Diagram 5: Stylized Flow of Warranty Data and Parts—Tier 2(Small Supplier)

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                           Ad Hoc Cross Functional Warranty Teams

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       CAR researchers also had discussions with a larger supplier who admitted that
       ownership of the problem—and thus solution—was often found at the manufacturing
        plant. However, this supplier had a more comprehensive program than the others
       (Diagram 6). This maybe due, in part, to a progressive warranty strategy as well as
       availability of greater resources. According to this supplier, the warranty data was
       received from the vehicle manufacturer by a central quality contact for this supplier. This
       supplier requested a structured monthly data report from its customer. The data was
       then reviewed by the customer-focused quality team. Any issues were discussed at a
       cross-functional rrieeting. The warranty data was tracked using structured problem
       solving strategiesi If it was determined that more information was needed, they would
        make a special request to the vehicle manufacturer for more specific data or
       components. The supplier also worked with the vehicle manufacturers' assembly facility,
       engineers and otters as needed.
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       The supplier req4sted that generic parts (i.e. those componentsithat were used for
       several different vehicle lines and customers) be sent to a central location. This was
       done because these products tended to be manufactured using similar processes in
       multiple plants. Components that were product specific (i.e. those components that
       were unique to a Vehicle) were passed on to their specific manufacturing plant.




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       Diagram 6: Stylized Flow of Warranty Data and Parts—Tier 1 (Large Supplier)

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      The availability of resources was an important determinant of the supper's warranty
      process. The larger companies are more likely to have dedicated quallty departments,
      focusing on ongoing warranty tracking. Conversely, smaller companies'are more likely
      to have a small quality staff, with much of the product failure analysis done by an ad hoc
      cross-functional team at the manufacturing facility. In such cases, thekacking of
      warranty information is then done by a small staff at the product engineering center.
                                                                                :t
       Several respondents interviewed used basic spreadsheet software fourid on most
       computers to handle all data. A few respondents indicated they neeCle:41 more complex
       inform6tion technologies to be used for specific and more technical a4ns—or as one
       respondent suggested the "backroom work." However, most of the re ondents
       interviewed strongly indicated their current spreadsheet software wai rInore than
       adequate for many of their manipulation and data management needs.!1The challenge I
       was making the "back room" operations available in a format conducivP to corporate 1
       wide use through common user-friendly interfaces.


       Data Overload
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       The manufacturers (and some of the suppliers) interviewed indicated one of the most
       pressing challenges of warranty investigation is the vast amount of dM processed.
       Fui-ther, they indicated the wide range of groups within the company thlAt have use for
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       the data adds even greater complexity. During the creation and implementation of the
       TREAD (Transportation Recall Enhancement, Accountability andi Documentation) Act
       (2000), much was made of the enormous amount of data already collected by the
        industry. Based on numerous published estimates, and discussions with industry
       sources, CAR researchers estimate the automotive industry handles well over 100
        million warranty claims per year. Each claim includes numerous fields, and often several
        lines of text. Realistically, the industry handles billions of warranty data fields annually.
       The challenge for'vehicle manufacturers is not to get enough data, but instead to better
        understand which'of the data is important.

       While the TREADIact •I
                                is not of central concern to this report, it is important to briefly
       address some key points of the regulation. Probably the most visible element of TREAD
       is the development of an early warning database to help identify critical safety defects.
       Like many aspecth of the warranty/defect discussion, this database (containing
       information on 24 vehicle systems) presents a challenge far greater than merely
       reporting those key systems. Although the act requires vehicle manufacturers to report
       q uarterly on 24 different systems, in reality each of those systems is made up of
       numerous components, which are manufactured by a wide range of suppliers.
       I nterestingly, the interviewees had varying levels of familiarity with TREAD. The vehicle
       manufacturers *te proactively approached the act by developing internal systems.
       Each manufacturer has developed a TREAD response system that it believes offers a
       significant advantage over its competitors. However, the vehicle 'manufacturer
       representatives were not willing to discuss the specifics of those programs. This
       highlights an interesting challenge with regard to investigating warranty processes.
       Each manufacturer believes warranty to present opportunity for strong competitive
       advantage. Thu ,, there is little willingness to share strategies, and even less
       understanding of.f,he opportunities presented by collaborative efforts. The suppliers
       interviewed seemed to better grasp the opportunity—and even need—to develop
       collaborative solutions. This is likely due to the fact the suppliers have to deal with
       numerous warranty systems. The suppliers may be better able to identify which vehicle
       manufacturer systems truly provide a competitive advantage.

       Although the usefOlness of the TREAD act was initially questioned by many within the
       automotive industry, several respondents did credit the act for leading manufacturers to
       be more proactive in establishing early warning reporting systems. It has encouraged—
       even required—the companies to re-examine their existing systems, to better
       understand the ddta, and to assess how the warranty process might be improved.

        Diagram 7 shows the various inputs that comprise a vehicle manufacturer warranty data
        warehouse. It is Important to note although the diagram suggests a single data storage
        warehouse, there!are often numerous data warehouses within each manufacturer.
        While this report !las focused on the dealer warranty repair shop as the entry point, it is
        valuable to briefly;consider the other input sources. National Highway Transportation
       Safety Administration (NHTSA) reports, police reports and insurance claims are usually
        presented in some form of coded response and unstructured text. Customer feedback
       (via call centers and other forums) is often the first line of notification for a developing
        problem. Critical data can also be gathered from mechanic councils and tracking repair
        part sales. There'is also valuable information available from monitoring both internal
       and supplier engineering documents. Many of these inputs present rich information.
        However, they are often in the form of unstructured text.



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       Diagram 7: In-Service Product Failure Reporting Channels
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              Structured               Warehousing
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      Not only are companies challenged to develop methods of effectively Capturing and
      storing warranty data, but they also have the ability to access the inforr5lation in a
      timely—and perhaps most importantly—cost-effective way. As noted, each
      manufacturer has developed numerous internal information technologyf:storage and
      retrieval systems. These legacy systems are occasionally redundant, and often narrowly
      focused. One individual stated that data overload was an important challenge.
      According to this respondent, it was critical for each function within a vehicle
      manufacturer to learn what data were the best indicators for their needs. They should
      then use that type of data as the guidepost. The other types of data should then be
      used to confirm trends identified by the lead data.                       i
       A supplier indicated that it doesn't need more data. Instead, it needed increased
       responsiveness from the manufacturers to data requests. Another supplier also



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        suggested that consistent data was not available. All discussions asserted a successful
        warranty program,relied on a strong relationship between the interested parties, in part
        to make up for the lack of robust data (and component retrieval) processes.

        Both manufacturers and suppliers highlighted the richness and importance of warranty
        claim text. Each of the respondents described the complexity and repetitiveness of
        reviewing the unstructured text. Each of the suppliers was either currently investigating,
        or had recently considered unstructured text data mining as a method of increasing their
        ability to better analyze warranty data. From a vehicle manufacturer perspective, text
        data mining presents an opportunity to further investigate and understand the vast text
        reports received from dealer repair shops. The text entries may offer insight into, and
        potentially an early warning of, in-service product failures. Such analysis also adds
        depth to the often'vague or inconclusive repair codes entered at the repair shop.

        One supplier indicated that his company had spent several months investigating text
        mining, but concluded that the cost of off-the-shelf systems could not be justified by the
        expected savings! The respondent believed the vast coding differences and terminology
        between vehicle manufacturers presented complexity issues that made text mining
        strategies difficult (and cost prohibitive) at the supplier level. This respondent believed
        the standard reports were sufficient in tracking potential problems. However, another
        supplier had worked with a software provider to develop a text mining application that
        effectively searched data text from several manufacturers. This supplier believed that its
        ability to mine text was a significant advantage. Further, they indicated several other
        suppliers had contacted him to inquire about their application of the software.


        Strategic Warranty Considerations

        During the interviews, respondents identified several issues that will likely challenge the
        automotive industry in the near future. This section will address those concerns. While
        solutions to these'issues are not presented here, each of the issues is worth discussing
        and provides fertile ground for further research.

            A. Warranty Cost Recovery

               The issue of most concern to supplier respondents was that of vehicle
               manufacturers moving toward a cost recovery warranty strategy as a revenue
               stream. As an increasing amount of the vehicle is built by suppliers, it is logical
               to believe components produced by suppliers are a major portion of the total
               warranty cost. One vehicle manufacturer estimated that 80 to 85 percent of all
               recalls were traceable to supplier components. Therefore, according to the
               vehicle manufacturers, it is logical that the suppliers take a larger portion of the
               financial responsibility for the failures. The vehicle manufacturer representatives
               indicated it was a logical step to pursue some form of cost sharing. They also
               expected it would happen.

               Currently, it is common practice for the component supplier to be responsible for
               the manufacturing cost of the failed part covered under warranty plus some
               portion of the logistics and labor cost. However, the vehicle manufacturer must
               cover the remaining costs, including transportation, part replacement labor, and



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             information processing. Warranty cost recovery has shifted an increased portion
             of those non-manufacturing costs to the supplier.

             Suppliers felt that if the vehicle manufacturers continue to pursue cost recovery,
             it will have a negative impact on product quality. It was suggested that suppliers
             will be forced to put increased resources into defending against accusations, and
             less time resolving issues, resulting in more cost for all. Another aspect is the
             lack of ability to build some cost for warranty into the piece price of the
             component. Suppliers suggested that the car companies `bake-:in' warranty cost
             into the price of a vehicle. (Assuming they are able to get the 'price.') Suppliers
             have no leverage/leeway to include a 'warranty cost' into the price of the
             component. A part is sold at production cost, with no allowance for future
             warranty costs. 'Thus, if the suppliers are increasingly charged :for total warranty
             costs, the respondents believe it could have serious implication's.

             Importantly, the suppliers interviewed indicated they had made!
             recommendations—even warnings—to vehicle manufacturers regarding product
             decisions. According to these suppliers, the warnings usually went unheeded
             and occasionally predicted warranty actions accurately during hAuction. There
             was great concern among the suppliers that with warranty costIrecovery, the
             suppliers would likely be paying for future product failures that could have been
             prevented with better upfront engineering.

             Suppliers (and the dealership manager) also expressed concern regarding
             vehicle manufacturers including a strong purchasing bias in their component
             sourcing decision process. One supplier recounted an exempla where it had
             clearly demonstrated that its component, although a few pennigs more expensive
             than that of its competitor's, had a significantly lower expected warranty cost—
             and a thus a lower overall cost. According to the supplier, the vehicle
             manufacturer, driven by its purchasing bias, chose the componiant with the lower
             upfront cost. According to this supplier, within several months of launch the
             cheaper component was already causing significant warranty eXpense and likely
             customer dissatisfaction. Suppliers indicated such a strategy Creates a very
             difficult operating environment.

             Suppliers also expressed concern regarding initial analysis of tliia component at
             the dealership, and the integration of that component into the vehicle. Because
              of the vagaries of component identification, defect analysis and codification
              processes (at the dealership repair shop)suppliers suggested there is
              opportunity, even likelihood, that their part may be improperly identified as at'
             fault. Further, if the in-service failure is the fault of their part, they may be held
              liable for the costs of disassembling the vehicle to conduct a repair. Such cost
             (as measured in mechanic labor hours) could be substantial, and is driven, not by
             the component, but instead by vehicle design decisions made li,jr the vehicle
              manufacturer. '

          B. Lack of Skilled Mechanics

             As described in this report, the first step in the warranty process,is the
             identification of the in-service product failure by the mechanic at the dealer repair
             shop. If a problem is not properly identified, or it takes several attempts to


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              correctly p npoint the problem, the process is less efficient. The service manager
              intervieweiel indicated his concern regarding the availability of highly competent
              mechanics. According to the service manager, a strong understanding of how a
              vehicle works is essential to quickly and accurately assessing in-service product
              failures. Based on his experience, he believes there are too few mechanics who
              truly understand the automobile. He left little doubt that a,good mechanic Can be
              one of the most effective early warning points in the process.

              While meehanicS'are critical to the warranty process, they can also be viewed as
              the touch point for the customer. An accurate, fair and fast assessment of a
              warrantyiSstie by the mechanic can greatly enhance customer satisfaction.
              Thus, a first step for vehicle manufacturers looking to more effectively address
              warranty cbsts while increasing customer satisfaction is trii address the shortage
              of highly trained mechanics with a strong diagnostic skill.
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           C. Electronics as a Warranty Burden
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              Numerousiarticles in the popular press have illustrated the growing
              dissatisfaCfion (as measured in quality ratings) among consumers—and concern
              among vepcle manufacturers—regarding the reliability of in-vehicle electronics.
              Warranty repair for electrical systems has always presented unique challenges.
              Traditionally a wire that was 'pinched' during installation in the vehicle could
              cause a short in the electrical system. This type of electrical open circuit has
              been a p#it of the failure identification challenge since the alternator became a
              standard option on the vehicle. However, it is no longer as simple as finding a
              bare wire or a poorly performing electrical motor. Now many of the product "
              failures are caused by software or other electronic glitches. The non-technical
              term for such challenges offered by one respondent was 'chasing electronic
              gremlins:,;
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              These electronic gremlins present significant challenges for the repair shop
              attempting to properly identify and correct the problem. A dealer repair shop
              manager interviewed for this project estimated that 90 percent of the electronic
              problems ,r;eported by consumers were intermittent, and were not able to be
              validated by the dealership on the first attempt. Since the warranty process
              cannot start without a validated problem, they will return the vehicle to the
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              consumer nd expect it back within a short period. After two failed attempts to
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              verify using vehicle manufacturer guidelines, the manager then advises the
              mechanieto attempt to identify the problem by using a process of elimination.
              Often timir such a strategy proves to be very time-consuming and difficult to
              code into yyarranty claim forms. However, the manager felt it was his
              responsibility to his customers to go beyond what the system allowed, and do
                       in
              anything his power to resolve their problems. Once the electronic gremlin was
              identified, the dealership was able to correct about 90 percent of the problems.
              The area Of in-service electronic product failure resolution—and prevention of
              such incidences—presents a strong opportunity for further investigation.

           D. The International Challenge

              The final area of concern addressed in this report is the international challenge—
              or more accurately the two international challenges. The first challenge is that of


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               vehicle manufacturers operating different warranty strategies and processes in
               the United States, Japan and Europe. Suppliers indicated some manufacturers
               have different warranty processes and targets for each of these regions. The
               elimination of such differences could bring significant efficiency/gains. The
               second challenge is that of bringing the current warranty methodology to
               developing markets.

               The warranty process is, in many ways, driven by the dealer repair service
               shops. As noted earlier, the dealer repair service is the point of entry for any in-
               service product failure. The United States, Japanese and Eurdpean dealer
               systems are characterized by strong technical expertise, signifiOnt experience,
               and ample resources. As such, they have demonstrated an ability to analyze
               and identify in-service product failures. They also benefit from strong logistical
               networks within the borders of their country of operation. Although the
               dealerships in these different regions are similar in some ways,I they have
               developed within the constraints of the local customs, laws and consumer
               requirements. Suppliers indicated their customers had different systems in place
               in the each of the developed markets. From their point of view)there is
               significant opportunity to standardize international warranty operations.

               As manufacturers move into developing markets, they often a4 their suppliers to
               apply their warranty data control systems to operations in these, new markets.
               This request presents challenges on many levels. It was strongly suggested that
               operations in markets with relatively undeveloped dealer networks—and no local
               suppliers—cannot meet the same warranty standards as thoselip more
               experienced markets. It is important for vehicle manufacturers tb work with
               suppliers and dealers in these developing markets to leverage the systems
               already in place elsewhere, but also to be prepared for lapses ih the system.


       Conclusions

       This study, the first in the CAR-Microsoft Program on Automotive Industry Practices; is
       intended to identify the flow of warranty data through the automotive velue chain. As
       such, CAR researchers have captured the drivers and pertinent issues regarding this
       important automotive data process flow. However, to view the path warranty data
       travels as merely a data flow process would be a mistake. As this project progressed, it
       became apparent that although the flow of warranty data was increasingly becoming
       more formalized, successful actions were still often behavioral and relationship driven.
       From the dealership through to the supplier, each of the interviewees had examples of
       how they went beyond the process 'structure' to obtain a better result.'

        It is. valuable to present a few examples of this creative behavior for illUstrative purposes.
        One supplier, with a critical new engine component, developed an early warning system
        by enlisting the help of local dealerships. This supplier contacted several local dealers
        and asked them to inform the supplier if the dealer were to perform repairs on engines
        that used this particular technology. The supplier had an engineer assigned to the
        dealerships to observe the repair, and analyze specifics of the failure. While such an
        action is not statistically reliable, it gives the supplier immediate feedback on early
        problem detection.



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        Another supplier 'spoke of how his personal relationship with his vehicle manufacturer
        warranty contact llowed him to `go around' the process to get a more immediate
        response to quespons and concerns. If this supplier needed better access to a part, or
        wanted further data, he would contact the vehicle manufacturer representative. And
        certainly, the seniice manager interviewed had developed numerous action plans that
        better enabled hicq to reach a satisfactory—and equitable—resolution for the vehicle
        owner. CAR researchers believe any analysis of the warranty process must consider
        these behavioral 'Characteristics as an important and effective part of the system.

        Similarly, there were individuals within the vehicle manufacturers that had clearly driven
        a process or project to resolve challenges. These individuals had to use creativity to
        overcome the challehge of the legacy systems, scope, and cost to develop solutions that
        achieved the desired results while still staying within the bounds Of their corporate
        culture.

        These relationships, while successful, are indicative of the complexity of an effective
        warranty process. As vehicle manufacturers and IT providers attempt to formalize the
        warranty process', it is likely that behavioral aspects will continue to be a vital part of
        rapid warranty reklution.




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  .I  Rate Thread (https://mbworld.org/forums/gle-class-y167/785752-new-gle-keeps-draining-battery-won-t-start.html?
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                 1                  New GLE Keeps rialning Battery - won't start
 Willfulone                                        .,

(httr?s://mbworld                   Hello Everyone I l i
.6Irg/forums/me '                                  li
                                    Sorry this is my.firsL post.                                                         I
 IT136-8/461941-
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     .,                                             i L..L.
 Willfulone.html)                   Got a1new 2020 Lt350 about 3 months ago
 Newbie                                             1. 1 '                                                               I
  II 1                              About a week ago, it would not start, bunch of lights on the dash, would not turn over
  t1 1                                              II
 Join Date: Jun 2020                M B sent out a service and they jumped the car
 Location: Virginia                                                                                                               I
 Pdsts: 4
 Likes: 9                           It ran for another week, and then just died again. We had it towed to MB this time
 Received 3 Likes on ,Z Posts
                                                                                                                                                                      Contact Us
 Ihtios://mbworld.orglisaim         Already checked the Battery and the Alternator, all are fine                                                                                            _bp_l -
 ELpost thanks gjgg2                               I'                                                                                            Us fhttudirattaltIstg/forumsiabout-usil - Archive
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 2020 9LE350                        Any idea what is'causing the battery drain
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                                                                                                                        ://mbworld.org).
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                                                                                                                        Mercedes-Benz SUVsjucks, Vans, Diesels, Others
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Ron.s                          Don't rule out the battery. I had a similar situation except that with the 450 the 48 volt              IscomZpclivnZKbTBiEmI7BUAtHonH2lva u9hi
                               sta
                                 ' rts the car. I kept getting "critical battery" message and the dealer couldn't find                                  CISs3LgMNOiH-
(https://mbworld               anything wrong. Then when it was in for 3 days to replace the MBUX controller it ran                           yp0kIxnuatXAfS9/026saio/03DAMfl-
.org/forums/me                 down after a charge and they replaced it (the 12 volt battery). I think it had an internal              YRz16YDclr8c3F7u WtPN8smxnFdlgjLMII9Hc81
                               short but got that 3td hand from SA & probably a guess.
 m bers/410733-                                                                                                                           (313cy°/026sig0/03DCgDArKISzAx1DwpvlhCdErl

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Join Date: May 2018
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Location: Boise
Posts: 2,023                                                                                                                             EH58D(DKZGZUCOSVOGR9H9SGJB5Y9DWD686GJF
Likes: 240                                                                                                                              TOWZCBZQBH178KKD2L7BOPERGEDXMi5X-
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L)06-17-2020, 07:03 AM               #3..a5tps://mbworld.orgiforums/rge-class-y167/785752-new-gEg             gzgattgef-
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                                                                                         won-t-start.html#post8084079)
                                                                                                                                                       QLSKH7KWPIA6PAE45PCE
me2mb                               Quote:
(https://mbworld                     Originally Posted by Willfulone Ltaittps://mbworld.org/forums/gte-class-                                     UYC8700X0MMMV7FPWQ7FBK
.org/forums/me                       v167/785752-new-gle-keeps-draining-battery-won-t-start.html#post80799711
m bers/461563-                       Hello Everyone                                                                                           BT3CY%26SIG%3DCGOARKJSZAX1D1
me2mb.html)                          Sorry this is my first post.
Newbie

Join Date: Jun 2020                  Got a new 2020 GLE350 about 3 months ago
Posts: 4
Likes: 3                             About a week ago, it would not start, bunch of lights on the dash, would not turn
1httos://mbworld.ora/forum           over
gpost thanks Ola2
do=findthanks user oave&g
=4615631                             MB sent out a service and they jumped the car
Received 0 Likes on 0 Posts
2020 GLE 350 4mat1c                  It ran for another week, and then just died again. We had it towed to MB this
                                     time

                                     Already checked the Battery and the Alternator, all are fine

                                     Any idea what is causing the battery drain

                                     Tks



41 Reply (https://mbworld.orgag
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                           I was detailing/ceramic coating mine last week and received a notification that my

                                                                       = -
                                                                                           having my key in my pocket and
                                                                                   Wilinlocking the car multiple times,
Share -(https://moworld.orgAltratrdAtIleadavasatipalitg7therratte-Iteep3-litratidnjeltallirrg-itorotislianhlrairrAIng the battery.
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                               The process took me a total of 10 hours and the alert occurred around hour 8‘                  I
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's=,i22746f0c4b521018f3Oef3008b2c79c&f=2541b Like (https://mbworld.org/forums/post_thanks.php?
 I> New GLE Keeps DrainitiO Battery - wdn     'tiM4ttt_thanks_add&p=80840798,securitytoken=guest)                                         i
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  Willfulone                      Back from the shop!
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                                                                                                                               '       Register (https://mbworldlorg/forums/register.php)
 (https://mbworld                 ESP was a consta'nt'drain on battery
 .org/forums/me
  m bdrs/461941-                  Supposedly a known issue
  willfUlone.html)                Fixed with a software update
  Newoie
   I.
       4           1              Will let you knoW
                                                 ! i if it fixes the problem permanently, tks for the responses
 Join Date: Jun 2020
 Location: Virginia
 Posts: '4                                            i                                                                         ,
 Likes: p                                             Ii
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 2020 GLE350                                          / Ii    !
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  m bers/410733- 1                      Back from the shop
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  p/members/410733-ron- •               Will let you fenoty if it fixes the problem permanently, tks for the responses
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                                                      t  I
 Join Date: May 2018              Even with the ig!iiiition off? Do you have the TSB or Software detail so some of us can
 Location: Boise
 Posts: 2,023
                                  check to see if ours!needs it? Or post a copy of work order?                           I

  Likes:   2, ,,,                                 11
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 2021 GLE AMG 53 SUV
 2018 Audi SQ5
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,Qrg/forums/me                          v167/785752-new-gJe-keps-draining            y-won-t-start.html#post80857381
  m bers/461941-                        Even with the ignition off? Do you have the TSB or Software detail so some of us
                                        can check   tó
                                                    see if ours needs it? Or post a copy of work order?
  willfulone.html)                                4-1 —
  Newbie
                                  I   do, I will dig it but'and post it up
 Join Date: Jun 2020
 Location: Virginia
 Posts: 4                                          11
 Likes: 0
 Received 3 Likes on 2 Posts
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    XXX-XX-XXXX,08:23 P,t4               • #7(https://mbworld.org/fort     sitLgle-class-v167/785752-new-gle-keeps-draining-batteryz
                                                                                                     won-t-start.html4pos58087087)

 robert c                             It seems battery issues are a thing to deal with as our lives and driving patterns have
                                      changed due to the virus shutdowns. I am only driving to the post office and grocery
(https://mbworld                      store and barely keeping the battery up on the GLE. My Denali Duramax lost both
„lug/forums/me                        batteries during the cold.weather as they weren't being fully charged and the extra
 m bers/398518                        drain on the batteries by the glow plugs. Those new AGM batteries just gave up. I am
                                      using a Granite battery tender on the new ones for sure. I am also using a Granite
 robert-c.html)                       tender on the E300 as it hasn't been started since March. The GLE is keeping it's battery
    Member                            ok for some reason but if it acts funny I'll put a tender on it also.
 Join Date: Nov 2017     t
                                      Robert
 Location: Eastern Maryland            'I
 Posts: 125
okes: 13,
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, Qrg/forums/me                          • v167/785752-new-gje-keeps-drainihgAlattery-won-t-start.html#post8085868).
 m bers/427860-                          • I do, I will dig it out and post it up

 maalox.html) ..!
    Member                            Just wondering if you were able to find the TSB #? I might have to get my car serviced
                                      this week and would like to get outstanding software updates done at the same time.
    Join Date: Feb 2019               Dealer always claims there are no updates to any of the components, though I did see
    Location: Boston
    Posts: 137                        in:another thread GregW, mentioned he got updates a while back to the EIS (Electronic
                                      Ignition Switch), ESP (Electronic Stability Program), ME & fuel pump software at some
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                       ji.ist wanted o follow up. with you to see if you were still having problems. I was•drIving-4—'
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                                             Fixed with a Software update

                                             Will let you knoW if it fixes the problem permanently, tks for the responses
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      Ihttos://mbworld.oroiforum                              -
      5Lpost 'thanks,plua                I'm not buying it, Just pickd  e it up so we will see . Now I feel like I dont have a reliable
      do=findthanks&u=4652901             vehicle especially. with all the bad reviews I have read. Pinched wiring starter circuit BUT
      2020 QLE                            it stopped while at a stop light and then didn't start after it cut off. I'm no mechanic but
                                     ,    it doesn't add up to me.
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  s4e'CO224fifBallbEoic1/031.9f9Oef30013b2c79c&f=250)                                                              '
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   m bers/410733-.'                     I've had the same isgue with my four month old 2020GLE! Keep getting "Critical"
                                       'messages via email. Dealer has had the vehicle three or four times and
  ron-s.html)                           continues with software updates apparently dictated by Mercedes. "Starter
       M BWorld Fanatic!               .Battery Partly Charged" shows on the Mercedesme app for almost a week now
                                .1      despite the car being driven daily. Really frustrating and I'm quickly losing
                                        confidence in bothe the vehicle and dealership!

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       ifit    mt_gri,g
                3w d                 As1 posted earlier....mine turned out to be a bad battery and it has been good since it
       s1members/410733-ron-
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                                     was replaced. Common dense is it's either 1. Battery issue 2. Short draining battery 3.
                                     Not charging properly. This isn't Rocket Science so I'd go with the theory of the Dealer
       loin Date: May 2018           Tech being the problem. Since it's a fairly uncommon problem you have to wonder why
       Location: Boise               they would be looking at software anyway? If it was software wouldn't it be widespread?
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                                      maalox (https://mbWorld.org/forums/members/427860-maalox.html).(08-04-2020)


     D.                                #16 (https://mbwoild.org/forums/q1e-class-v167/785752-new-qle-keeps-draining-battery-wo
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             "Working to MB Specs". — back in the day, that meant something. Now it just means a reset to the counter to w
             it's back in the shop.


               Quote:

                   Originally Posted by Vernedia a(h4ps://mbworld.org fort rlsgle-class-v167/785752-new-gle-keeps-
                   cli iing-l     ry-won-t-start.html#post8124533)
                   I totally agree. I picked up the car gesterday and looked at app 3 hours later" battery partially charged
                   drove it for15 minutes changed to charged. Checked it all night and drove 40 minutes to work. Still sags
                   charged, had to pray all the way to work that this expensive car didn't stop on me again. I will attach work
                   order. Sorry could not straighten it upward. And yes I do have EAP.




         Rep y (https://mbworld.org/forums/newreply.php7do=newreply&noquote=18a=785752)
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     12-20-2020, 12:32            #17(https://mbworld.org/forums/gle-class-y167/785752-new-gle-keeps-draining-battery-
                                                                                       won-t-start.htmirrp0s58229025)
                                GLE battery drain
 nwehler
(hrips://mbworicl               I WO a similar experien2e my new '21 GLE450: battery went dead after 230 miles. Had
                                to. be towed - could not be jumped. I am waiting more than 30 days fir a new battery
.org/forums/me                  coming from Germany. None in the US. So frustrating. Mercedes has a serious problem
 m bers/474063-                 here with this 48v battery system.
,nwehler.html)                     I
 Newbie                          'Quote:

 loin Date: Dec 2020               :•
                                     Originally Posted by Ron.s allgttps://mbworld.org/foruMS/g
 Location: Delray Beach '
 FLORIDA                          I V167/785752-flew-gee-keeps-draining_A2@ltely-won-t-start.html#p                 l
                          .1      !Don't rule out the battery. I had a similar situation except that with the 450 the
 Posts: 3
 Likes: 4                   i     1148 volt starts the can I kept getting "critical battery" message and the dealer
 ihttos://mbworld.oro/forum
 5/0055 thanks opi
                                   Ilc!ouldn't find anythino wrong. Then when it was in for 3 days to replace the
                                     MBUX controller it ran down after a charge and they replaced it (the 12 volt
 do=findthanks user gavd.0
 =4740631                         .rhattery). I think it had an internal short but got that 3td hand from SA &
 Received 0 Likes on 0 Post .     !probably a guess. I
 GLE 450


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                                       had a similar experience my new 71 GLE450: battery went dead after 2.3,0;.—t * —
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                                   Prniles. Had to be towed - could not be jumped. I am waiting more than 3d-Va7s
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 'fli •                                                                  e>nc.sicg Elasei(V167)_(fitps://mbworld.Org/forums/forumdisplgy.php?
  7.-74_ . .                   f30e111008nds79o8fsareOassistance which is a joke for another post. After repeating to the '
  r>P0145w36LE Keeps Drain,ifigKilmtale/PhiKrightb&Jufteed a tow truck, NOT a jump...who do they send.., a jumP 2                                             ,

  ! Likes:13.2,                 i guy. Anyway, heicalled me and said he's seen this before, and for me to try to start the
        t_tWmbworld.oroiforum, ; car. Did tTfinacbTiLtillttril*R6a/PILDITArkielr.Phf9NtIspiglitillan11416?/RefdtficnitegairlIgeps-draining'-battery-won-t-stal'it.html?nojs=1.#goto_threadtools)
  , filps
     A/oosttnanks &a            '. Pompano Beach,:FL. the next morning. Drove perfectly fine to the shop. They informed :
     dci firidthanks user ciave&u
  , =474087)             Search.thingulgr•IkihttligilitYtOgatAikOrt4A/WeitrYsciONSiM3OkterfNalrelikietWfitifitANIIRMi9=won-t-start.html?nojs=1:#goto_threadsearch) Log In I
     Received6 Likes on 5 Posts the US, and 47 on back order in Germany with no idea when would get one. The car is                                            I:     i
    ihttps:%/mbworld.orctiforum    still with them since December 1. This is my first MB, and I'm NOT impressed at all. The                                          ,!!
    gpost'lhanks Op?                                                                                                                ;      Register (https:Mnbworld.org/forums/register.php)
     sio=findthanks&u=4740871'  I
                                   biggest questioel have is...this a battery problem, or software issue...or both?                 i
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     2020 GLE450                , Batteries don't Usually come back to life after a failure, and a 10 minute shutdown??!                                              '
         • :1 .                 , Seems that resetting the software by restarting the car made the issue go away...for
                                   now at least.     •
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                                                                  •
   Bill Baird       g.                       M y '18,GLE sat fi'om May to August with no problem. My '07 CL600 sat from November
                                             to February with no problem. Neither had a battery tender. It makes me think there is
  (litt ://mbworld.                          some kind of draw. There was a really good explanation on how to find the problem on
        -1, •
    i•giforums/me   :                        the "Car Wizarcfs',' youtube channel.
                                                               ,
   rnb6r/269175- 1
   bill-6aird.html)
   Mein* ;                                                 What's draining the battery on this '01 Mercedes SLK320? CAR 4
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   2018 C43, Coupe, 2018      i
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                          540650 ON-BOARD POWER SUPPLY VOLTAGE MAINTAIN
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                          541011 PERFORM QUICK TEST
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 1      'mm how is MB Alexandria doing these days. Had one car there, now moved them all to Arlington, far better se
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  1 - 4 of 4 Posts



             j0hnh55@att.net • Registe'red
     si      Joined 6 mo ago • 1 Posts


  O Discussion Starter      • #1 • 6 mo ago

   I have had 4 occasions in last 3 mbnths where 450 is dead after only sitting for        hour. Its now at Dea er for
   second time for this problem withl total of 15 days of trying to fix it. In 3 of thoseioccasions,jumping finally
   started it. Dealer replaced starter battery. THen it happened again last week and thus up at the dealer.
                                                                                                                             i
   A GLE 450 they gave me as a loader last time also ended up not starting while I had it and had to                be towed
                                                                                                                      1
                                                                                                                     ;1      i•
   - not even a jump started it.
                                   i
                                                                                                   i
   ANy one know if other GLEs are having this problem? I know hundreds of GLEs were stored at the factory
   when they were originally built.

   My GLE was built in November of 2018. I bought it new in January of 2020.

   ANy help would be greatly appredated. Love the car but don't trust it at all.


       Reply


  IIII Jeorge • Registered
             Joined 6 mo ago • 4 Posts


   it9 • Rrnn rin
https://www.mercedesgleforum.com/threads/electrcal-problems-with-2020-gle450.4056/                                               1/4
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4/16/2021            [                         Electrical Problems with 2020 GLE450 I Mercedes'GLE Forum


   Do you still haye warranty?




          Reply
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      .1  ! WG36 Registered
       V V Joined 5 r•no ago 1 Posts


  #3 • 5 mo ago



   Hi,

                                .,
   I 4clIthe same,problem with 2016 GLE 450 AMG,(bought new from the dealer) The first week I received it
       : 1
   the car would Completely shutdown
                                 ., ,      I would have to open the door in order , to restart it, for 4 years I had
    . 1 :;           i
   nothihg but problem after p!ro,blem, mostly electrical. They never found the issue with the engine and entire
       I. ,                      :I
   ignitiOn and computer system ;shutting down and having to be restarted. This had nothing to do with the
       I ,           1
   eco engine start and stop.
                                 1                                                I
   The ti;ansmission from day One was beyond jolty. Eventually the car completely shutting down stopped after
 ' I '
   the, dealer had done updates to the cars computer system etc.., but they cOuld never diagnose' many
   recurring and new issues. I sold the car as I deemed it a complete lemon from day one.
       I                                                                          i
                                   ,
    • 1 I                                                                         ;
   All ithk being aid I fell in lo6 with the all new GLE 53 AMG when I first heard of its announcement and
   even Considered many full y competition BMW vehicles and Range Rovers etc....,
                                                                                  1
                                                                                  ,
   The New GLE53 AMG, is beyond impressive and works wonderfully, the car is mind blowing and drives 1000
 I                                                                                l
 !times;
 ,          better then the older GLE's (2019 and older).                         .
                     ,                                                            I
                                     '
   Everything is new on the    carfrpm   what  I understand and it is an amazing Vlehicle.
 i       Reply                   il I                                             1


              NicholasAnderson:: Registered
  ;?-         Joined 1 mo ago • 1 Posits
  ;
  I#4 • 1 mo ago

  1Yes, I'm very familiar with your' problem, it usually happens with this type of model. Usually it has to be
  isolVed in the production service centers, but it is also possible to have the repair done by a handyman who
 !work for himself. I am now convinced that it is worth it to check your car several times before buying it and
          •                             1: •
   make'sure there are no factory problems with it. I was trained to do this when I took a course How to
 ! I
https://wwW.mercedesgl'eforum.com/thread:s/Oectrical-problems-with-2020-gle450.4056/

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        Become an Electrician: Career Guide [2021 Update] and I don't think you should neglect the training
        because it explains many things and solves problems.


                Reply




        1 - 4 of 4 Posts

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                                                       Join the discussion

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                                                              G0RiSrwpx09,920e



        Recommended Reading
        -                                                                                                                 .4
                             •                                                                                             a
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            Did you find the recommended reading relevant to this discussion?                          ••, Yes            f
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        9G-Tronic Transmission - A most Everything You Need To Know!'
        Transmission and          brivetrain Discussion
    •7                 ®8K

            H       HDGFND • updated 8 mo ago



        2016 gle 350d
        Engines and Technical Discussion

        q       9     0 4K

            S       serta • updated ,Jan 17, 2017



        2020;gle 450 air conditioner problems
        Introductions

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            Ross Novelli Jr • updated 29 d ago
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  1 B bwd,ownie • updated Jun ,16, 2017
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    20z0'Mercedes-131 nz GLE 450
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  1 $55,791 - $104,948 MSRP Range




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            54% of drivers recOmmend this car
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      All Reviews          Engine         Easy Entry           New Car                  Mechanical Problem              Beautiful Car              _o
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      Comfortable Ride            Comforiable Seat             Great Job        Great Creature      Safe Car                     Brake         i   Lt..
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      Most innovative vehicle I've owned.
      by Penny J from WICHITA, KS on Sn Feb 022020
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      M y Favorite Mercedes SUV yet!
      by Lone Star Lady from Dallas, TX 4n Fri Feb 072020
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      *****
      Super solid and comfortable cruiser
https://www.cars.com/research/mercedes_benz-gre_450-2020/consumer-reviews/?pg=1&nr=250
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      *****
      This the 5th MBZ I have owned and it is the best.
      by MBZfan from Ocean City;NJ on Thu Apr092020
                                I




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      Soft hhndling
      by Watchman from Alaska 6;1 Mon Jun 222020




                                                         Show Full Review \/




      Most unreliable car I have ever owned.
      by CEO from Lexington NC Q9 Fri Nov 082019
                               # 11
      I currently own 3,Mercedes - I will never own another one. This 2020?450!GLE has refused to start, left
      me sdanded 10 times in,18 weeks- only to find out from a tow truck driver there is a problem with the
      softw?re . Which Mercedes has now confessed is true. I will turn this new car back to dealer. NC lemon
      law. 1
           === Comfort                                              MINI
                                                                                          Value for the Money
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        :•..  cm= Interior Design                                  =I=I
                                                                      0 01=3
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      Purchased a New car
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      Uses jar for Commuting
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      Does not recommend this car!!
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      39 out of 41 people found this review helpful. Did you?


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      I spoke too soon
      by Christopher Holloway from Suffolk, Virginia on Wed Jul 242019




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      *****
      Been in the shop more days than I've owned it®
      by Dschu from Mcallen Texas on Mon Nov 182019




                                                         Show Full Review \/



      *****
      Not worth the frustration
      by Rosa Disappointed Customer fr m Atlanta, GA on Wed Feb 052020




                                                        Show Full Review \/




      I spoke too soon
      by LA Guy from LA, CA on Wed Not/202019
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        Ncit a 1-eliable and a safe'car to drive
        byiTom from Bay Area,Fremont on Sun Dec292019
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        Good outweighs Bad (Maybe)
        by!Cliff M, retiree cruising Canada and U.S.A. from Lashbum,SK., Canada on WedMar252020
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      *****
      Good car, no issues, a small reliability problem.
       by Jenny Liverhead from San Antohio, TX on Thu Jan 302020




                                                        Show Full Review \/



      *****
      So happy with my new GLE 456
       by Amanda from Cincinnati, OH on Mon Nov 042019




                                                        Show Full Review \/


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      *****
      Absolutely BeaUty
       by Happy from Saskatoon Sk. on Wed Oct092019




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      *****                                                                                                                       1
      Luxurious and Roomie
       by Lionsfan from Los Angeles,CA on Tue Jan 21 2020




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     2020 Mercedes-Benz GLE 450                                                                                                    ,
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      Ndw 2020 GLE is worth tke wait
      hy Pkrbakaifrom Newport Beach CA on Mon Aug 052019


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      Awesome Vehicle
      by lenko from Orleans Ma on Mon May 132019
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      Thinking of buying
       • JeffLong Island from New york on Sun Feb 162020



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      *****
      Very comfortable and reliable.
       by Sara Brown from Liberty, Tx on Sun Feb 14 2021

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       Great vehicle but
       by KLYPH EM from Lashbum,SK Canada on Fri Feb 122021




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                        COMPLAINT
                         EXHIBIT F
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      Richard Roth
    ; RSJ AUTO LLC

     May 5, 2021


      Perlman-DePetris Consumer Law
    ; 1926 Greentree Rd. Suite 100
      Cherry Hill, NJ 08003 .1 •

     RE:
     Jerry Scattaglia
     135 Oak Ave.
   . Staten Island, NY 10306




     Mr. DePetris,

     I have reviewed this vehicle's repair invoices, Mr. Scattaglia's documentation of his repeated attempted
     repair experiences, tecpniCal service bulletins and other relevant information regarding this case.
   ' Subsequent to reviewing the supplied documentation, I examined Mr. Scattaglia's 2021 Mercedes Benz
     GLE 450 VIN# 5FNRL6H75j13096844 on 4/28/21. I performed a multipoint inspection which includes
     road testing the vehicle; a visual inspection, and a diagnostic scan of the vehicle's electronic systems.
     The vehicle had 2,384 miles at the time of my inspection. During this review, I have formed opinions
     about the vehicle's repairbistory, defects, and value. My evaluation takes 1.nto account the disclosure of
   ; its repair history.
                             I '




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    SUMMARY

      • Three (3) repair visits and forty-nine (49) days out of service for abnormal no crank, no start
         conditions and electrical system anomalies in 6 months of ownership.
      • •This vehicle is clearly defective from the factory. There were latent defects that existed at the
         time of sale that have caused the repeated no crank, no start abnormal condition and electrical
         system anomalies that are extant to this day.
      • These anomalies are known issues as there are numerous Mercedes BeniTSBs regarding the
         48V on-board electridial system.                                            ;,•
      •  The  right front door  module  was  replaced, and the 48V battery was  replaced  twice in 6 months
         of ownership. This re,peated repair is significant as a majority of the interior of the vehicle has to
         be removed during this repair attempt. The passenger front seat, seat bdttom,front and rear
         carpet and the floor panels all were removed twice. All this to attempt td repair the repeated .
         and continued no crank, no start anomalies that Mr. Scattaglia complaindd about no less than 3
         times since delivery cf the Mercedes Benz GLE 450.
                                                                                     I
      • I found the use, value and safety of this vehicle have been impaired by the recurring defects and
         malfunctions of the engine and electrical system.
      • I found the diminished value of this vehicle to be $10,483.97.


                                                                                    0,
    I. RECORDS REVIEWED

       1. Retainer agreement signed by counsel.
       2. RO 4-10-21
       3. RO 12-1-20
       4. RO 11-11-20
                                    i
       5. Cars.Fom forum posts
       6. MBworld.com forum !posts
       7. Mercedes GLE forum:posts.
       8. Client contact info for; use in scheduling inspection
       9. Client factual summai-y
       10. Window sticker
       11. Pages from warranty book (summaries of coverage)
       12. Service contract page!
       13. Certificate of title for vehicle
                                    l
       14. Redacted retail order;
       15. Mercedes Benz TSBs
       16. Current NADA Value Report




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     II. BACKGROUND
                                                                                  1
                             I •
     Mr. Scattaglia purchased the vehicle new on 10/29/20. The purchase price' is $76,918.36. The vehicle
     was delivered defective as manifested during his ownership. This Mercedes Benz GLE 450 has had
     repeated abnormal conditions including: right side of the vehicle is dead,:no crank, no start(2 times),
     battery light illuminated,and dash goes blank while driving. It has requir0 no less than three (3)
     additional repairs and forty-nine (49) days out of service to attempt to correct these abnormal
                             I.
     conditiops. Mr. Scattaglia reports that the electrical system problems still occur to this day.
                                                                                  1

     III. REPAIR HISTORY


     Mr. Scattaglia reports that the vehicle was serviced by an authorized Merci9des Benz repair facility at
     least three (3)times between the purchase date of 10/29/20 and 4/10/21.1

     The specific repair visits based on the records supplied by Mr. Scattaglia are as follows:

        •    11/10/20 @ 242 miles. 13 days after purchase. 2 days out of service.

                 o   CLIENT STATES THE R/SIDE OF THE VEHICLE IS DEAD - DOOM LOCK INOP -
                     MIRROR DOESN'T FOLD.
                        • '!Vfrify complaint, drive vehicle into shop. Hook up ds and charger.
                        • ; Found fault codes in many modules for communigtion to RF door control
                            1 rriodule N69/2. Opening RF door appears to have r.pctified fault.
                        • RNR RF door sill trim, check fuse 302. Find 13.2 vols.
                            j
                        • , RNR RF door panel. Check connectors on door control module and pins
                            ,far tightness.
                        • , Found connector 6 to not be plugged in completelY. Connector 6 does not
                            ; appear to be root of cause being that connector 6 primarily controls lighting and
                           'seat position. Concerned about connector 3 because of circuit 30
                             Ivoltage and can communication. Find 13.2 volts at connector
                            13 pins 4 and 5. OK. Check CAN communication find 2.2V CAN
                           :Idw pin 1 to chassis ground. Find 2.6V from CAN high pin 2
                           ,t6 chassis ground.
                        • !RNR RF seat RNR RF carpeting. Due to vehicle age finding loose ground is not
                           ;uncommon. Perform Voltage drop test from Connector 3 pin 4 to W15/1 find
                          '10.0V ok. Check for continuity between those two p,oints, find .1ohms of
                            i resistance. Check pins for tightness at X35/2x1 find all associated pins to have
                           ;good drag and contact pattern. No fault found thee.
                        • ;Perform hard reset of N69/2 by tension at F150/1 tension ok. Upon reinstalling
                              fuse found everything to functioning. Suspect faulty module due to hard reset
                              having to be performed.
                        • Install new door control module RF. Perform initial start up of RF door. All ok at
                              current time. Clear codes.




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      •   12/1/20 @ 554 miles. 41 days out of service.
                              NOTE: Mr. Scattaglia reports the vehiclefailed on 11/30/20
                                     and was towed to the dealer that day.

             o   CLIENT STATES RED BATTERY LIGHT IS ON - VEHICLE WILL NOT CRANK/START

                     •   VERIFIED COMPLAINT, NO START AND WARNING IN CLUSTER 48
                         VOLTS BATTERY WARNING ON.
                     •   PERFORMED QUICK TEST PRINT CODE#B183387 DC/DC CONVERTER BATTERY',
                         FOR THE 48V SYSTEM HAS A MALFUNCTION,THE MESSAGE IS MISSING. LIN
                         G1/3.- 48V ON VOLT.B183349 THE BATTERY FOR THE 48VOLT ON BOARD
                         SYSTEM HAS A MALFUNCTION.
                     •   FOLLOWING LI54. 10-P-069698 FUNCTIONAL IMPAIRMENT OF 48V ON-BOARD 1
                         ELECTRICAL OPEN PTSS CASE# 154425 SYSTEM, VEHICLE FALLS
                         I NTO,CAUSE/REMEDY 1 AND 2 CAUSE#1 NO START WITH B183387 IN
                         DC/DC CONVERTER N83/1, CAUSE 2 B183349 IN 48 VOLT BATTERY.
                     •   PERFORMED rEMEDY1 CAUSED NO START WITH B18336 IN DC/DC
                         CONVERTER N834 A. IF FIRST VISIT PULL QUICK CHEST IF FAULT
                         CODE IS B183387 IN N83-1(REGARDLESS OF OTHERFAULTS) REPLACE
                         ONLY 48V BATTERY.
                     •   REMEDY 2 B183349 IN 48V BATTERY. A. IF FAULT B 183349 IN 48V I. REPLACE
                         ONLY 48 V BATTERY (REGARDLELSS OF OTHER FAULTS). I UPDADED DC/DC
                         CONV 'ERTER IF LATEST S/W IS AVAILABLE 9 IS THE RESOLUTION RPLACE 48V
                                                                              ;
                         BATTERY AND UPDATED DC/DC CONVERTER.                 14
                     •   PULLED INITIAL QUICK TEST AND DC/DC CONTROL UNIT LOG.
                     •   PULLED ISA PERFORMANCE DATA BEFORE CLEARING FAULTS. COULD
                         NOT ROAD TEST VEHICLE WOULD NOT START. COULD NOT CONFIRM ALL
                         48V COMPONENTS COULD BE ACTUATED. NO 48V OUTPUT OF BATTERY.
                     •   VIA XENTRY GUIDE TEST                                I,
                             • A1=M75 ELECTRICAL COOLANT PUMP
                             • A2=M60 ELECTRICAL TURBO
                             fa, A3=A95 ELECTRICAL AC COMPRESSOR
                     •   PRINTED OUT FROM 12V TEST WITH XENTRY BATTERY TESTER IN
                         FRONT SAM. DETACHED LINES BETWEEN DC/DC CONVERTER N83-1
                         AN48V ON BOARD ELECTRICAL SYSTEM BATTERY, NO DAMAGE,
                         SOILING, CORROSION AND RESISTANCE OF ALL CABLE PINS .1
                         OHMS.
                     •   REMOVED IND INSPECT ALL CABLE INTO/ OUT OF DC/DC.CONVERTER ALL CLEAN
                         AND TIGHT. AS A RESULT WE MUST REPLACE 48V ON BOARD ELECTRICAL
                         SYSTEM BATTERY
                     •   R&R PASS FRONT SEAT ASSEMBLY, R&R REAR SEAT BOTILOM , R&R FRONT AND
                         REAR CARPET, R&R FLOOR PANELS, ACCESS 48V BATTE6', R&R BATTERY
                         COOLANT LINES, R&R ELECTRICAL LINES, REMOVE FOAM AND REPLACED 48V
                         BATTERY,SWAP CONTROL MODULE TO NEW BATTERY , INSTALLED NEW
                         BATTERY, ASSEMBLE VEHICLE IN REVERSE ORDER, PROGRAM NEW BATTERY.

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        • 4/10/21 @ 2,194 miles. 6 days out of service.

                 o   CLIENT STATES VEHICLE WILL NOT START - NO CRANK NO 5,TART

                         • !VEHICLE DOES NOT START,SDS AND CHARGER HOOK UP SDS TEST
                            ; CK.
                         • DTC'S B183349 BATTERY FOR 48 VOLT ON BOARD ELECTRICAL
                              SYSTEM HAS A MALFUNCTION...THERE'S AN INTERNAL ELECTRICAL
                              FAULT. B183371 THE BATTERY FOR 48 VOLT ON BOARD ELECTRICAL
                            .SYSTEM HAS A MALFUNCTION..THE ACTUATOR IS BLOCKED.
                         • • PROCESS DTC'S AS PER LI54.10-P-069698 AND PERFORM CK. LIST..FOR
                            • CAUSE 2 FOR THESE 2 FAULT CODES MENTIONED 4/14BOVE...
                         • AS PER LI54.10-P-069698 REMOVE R/F SEAT AND R/F RUG AND RM.
                              PORTION OF REAR RUG REMOVE FLOORBOARD PANELING AND REPLACE
                             48 VOLT BATTERY..WITH DC/DC CONVERTER AND INITIAL STARTUP OF
                              DC/DC CONVERTER AND UPDATE 48V SYSTEM BATTERY...CHECK.
                         • . FUNCTIONS OK. ERASED CODES AND REASSEMBLE VEHICLE.

                 o   CLIENT STATES DASH WENT OUT FOR 1-2 MINUTES AND THEN CAME BACK ON (WHILE
                     DRIVING)
                        • CK. VEHICLE CLUSTER WENT BLANK,SDS AND CHARGER HOOK UP SDS
                            TEST CK.
                        • DTCS NONE CK. FOR RELATED LI'S NONE CK. FOR R'FLATED PROBLEMS WITH
                           , OTHER VEHICLES NONE SPECIFIC TO THIS COMPLIANT
                        • CK. FOR CLUSTER S/W UPDATES AND UP CLUSTER '  S/W



     Mr. Scattaglia reports that the electrical system anomalies still occur to thii day.




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    IV. INSPECTION

    I inspected Mr. Scattaglia's vehicle on 4/28/21 @ 2,384 miles.

       •    I checked the vehicle's fluids; they were of normal level and condition.

       •    I scanned the vehicle's computer systems. Numerous abnormal trouble codes were found.

               o     48 computer systems were analyzed on this vehicle.

               o     I found 28 abnormal trouble codes, 18 of which were in the instrument cluster module   •
                     which directly corresponds to Mr. Scattaglia's most recent complaint, the instrument
                     cluster display blacking out while driving.

               o     NOTE: It is logical to conclude that during the last repair attempt at the authorized
                     Mercedes Benz repairfacility that these codes were not retrieved nor diagnosed, OR ,
                     the abnormal were retrieved, not diagnosed then cleared,(but not documented on the
                     repair order)and they have all set/reset in the last 13 days between when the
                     defective unrepaired vehicle was delivered back to Mr. Scattaglia and my inspection
                     Either way, the vehicle is not repaired and has extant abnormal conditions as
                     illustrated by the numerous trouble codes. From these codes it is reasonable to
                     conclude that Mr. Scattaglia will continue to experience the instrument cluster
                     anomalies while driving which is a serious safety concern. See the following abnormal' •
                     trouble codes.

               o     Engine
                        • U0416-08 I Implausible Data Were Received From Control Unit 'Traction
                            System'. There is a signal fault or the message is faulty. - Pending.

                     Antilock Brakes
                        • U1155-FF I Communication With The Lower Control Panel Has A Malfunction
                             Stored.
                        • U1427-94 I Implausible Data Were Received From Control Unit 'Audio Or
                             Comand'. There Is An Unexpected Instruction. - Stored.

                o    Instrument Panel
                        • UO100-87 I Communication With The Control Unit 'Combustion Engine' Has A
                            Malfunction. The message is missing.- Stored.
                            U0101-87 I Communication With Control Unit Transmission Has A Malfunctiori.
                            The message is missing. - Stored.
                            U0109-87 I Communication With Control Unit Fuel Pump Has A Malfunction.
                            The message is missing. - Stored.
                            U0115-87 I Communication With Control Unit 'drivetrain' Has A Malfunction.
                            The message is missing. - Stored.
                        • U0122-87 I Communication With Control Unit 'Traction ‘,/stem' Has A
                            Malfunction. The message is missing. -Stored.



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                      •       U0127-87 I Communication with the tire pressure'monitor has a malfunction.
                            .The message is missing. - Stored.
                      •    :U0141-87 I Communication with the front signal acquisition and actuation
                            , module has a malfunction. The messageis missing.- Stored.
                      •       U0142-87 I Communication with the rear signal acquisition and actuation
                          • ;module has a malfunction. The messageis missing.;- Stored.
                      •       U0147-87 I Communication With Control Unit 'audio Or Comand' Has A
                              Malfunction. The message is missing. -Stored.
                      •    .U0151-87 I Communication with the supplemental restraint system (SRS) has a
                              malfunction. The message is missing. - Stored.
                      •     1U0159-87 I Communication with PARKTRONIC has!a malfunction. The message
                              is missing. - Stored.
                      •       U0212-87 I Communication with the steering column module has a
                              malfunction. The message is missing. - Stored.
                      •       U111B-87 I Communication With The Control Unit,'Mercedes Benz Intelligent
                              Drive' Has A Malfunction. The message is missing.;Stored.
                      •    :U1167-87 I Communication with the left front re‘m•sible emergency tensioning
                              retractor has a malfunction. The message is missing. - Stored.
                      •       U1168-87 I Communication with the right front reversible emergency
                             tensioning retractor has a malfunction. The message is missing. - Stored.
                      •    .U118F-87 I Communication With The Control Unit'For Telematics Services Has A
                              Malfunction. The message is missing. - Stored.
                      •       U11AD-87 I Communication With Control Unit Display Cluster Has A
                              Malfunction. The message is missing. - Stored.    !
                      •       U120E-87 I Communication With The Blind Spot Apsist Has A Malfunction. The
                              message is missing. - Stored.

               o   Parktronic
                      • .U0147-86 I Communication With Control Unit 'audio Or Comand' Has A
                           Malfunction. There Is An Incorrect Signal. -Stored.

               o   Electronic Ignition Switch
                       • U1160-00 I A Bus Keep Awake Unit Was Detected. There Is A General Failure. -
                           Stored.

               o   Ambiance Light
                      • • I U1127-87 I Communication With One Or More Color Generation And Coupling
                            Modules On LIN Bus 6 Has A Malfunction. The message is missing. - Stored.

               o   Audio/COMAND Display
                      • U014787 I Communication With Control Unit 'Audio Or Comand' Has A
                         Malfunction. The Message Is Missing.

               o   Audio or COMAND
                      • B227B-00 I The Specified And Actual Configurations Of The MOST Components
                          Are Different. There Is A General Failure. - Stored.



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                  Panoramic Sliding Roof
                     • U0147-87 I Communication With Control Unit 'audio Or Comand' Has A
                         Malfunction. The message is missing. -Stored.
                     • U0169-87 I Communication With The Overhead Control Panel Has A
                         Malfunction. The message is missing. -Stored.

              o   Touchpad
                     • U0147-87 I Communication With Control Unit 'audio Or Comand' Has A
                         Malfunction. The message is missing. -Stored.

              0   Rear Switching Module
                     • U1160-00 I A Bus Keep Awake Unit Was Detected. Therefls A General Failure.
                          Stored.                                       f I

       •   I road tested the vehicle. No anomalies were experienced.          I



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     V. OPINION

      Mr. Scattaglia has a vehicle that has had numerous abnormal conditions including: the right side of the
      v4iicle is dead, no crank, no start(2 times), battery light illuminated, and dash goes blank while driving,
    : during 6 months of ownership. These type of warranty issues are not acceptable under any industry
      standard I am aware of and I find them unreasonable from my standpoint as a 29-year veteran of the
      industry.

    . I have many years' experience as an automotive shop owner/operator, responsible for generating,
    , authorizing and auditing records exactly like these. Relying on this experience, my inspection of the
      vehicle, the accounts of Mr. Scattaglia, and the documentation from the authorized factory agencies, I
      a m able to make this evaluation.

    • The above repair history is significant since:

         • There are repeated abnormal complaints about the engine not starting and electrical system
           anomalies. It is' impossible to ignore the abnormal and poor performance of the vehicle given
           M r. Scattaglia's•repeated complaints. This vehicle has not been reOaired after three (3) visits
           and forty-nine (49) days out of service for the same and various abnormal conditions.

         •   Mercedes Benz knew as early as 1/28/20 the problems with this vehicle existed. They still
             knowingly delivered the vehicle to Mr. Scattaglia on 10/29/20 with the known problems as is
             illustrated in official Mercedes Benz service bulletins regarding the.48V on-board electrical
             system. These, bulletins are:

                  o   LI54.10-P069698 "Functional impairment of 48 V on-board electrical system"
                         • :1/28/2020
                         • 'Complaints:
                                • Instrument cluster message 48 V on-board electrical system battery
                                    (G1/3) in yellow or red.
                                • Vehicle does not start.
                                • Limp home mode due to high engine operating temperatures.

                  o   LI54.101-P-071596 "Vehicle does not start / Vehicle cannot be unlocked - starter battery
                      may be discharged"
                         • '!8/7/2020
                         • • Complaints:
                                  • Vehicle does not start / Vehicle cannot be unlocked
                                  • Display message in instrument cluster "Battery - Start Engine - see
                                      Operator's Manual"

                  o   LI54.10-P-071499 "Xentry Battery Tester results disagree with workshop assessment"
                         • 8/10/2020
                         • Complaint:
                                • The result from the XENTRY battery test does not match the current
                                    state of the battery.



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       • The repair invoices prove the malfunctions have occurred repeatedly and the authorized
         Mercedes Benz repair facility has not performed any meaningful diagnosis or repairs to correct
         these problems.

       • The right front door module was replaced, and the 48V battery was replaced twice in 6 months
         of ownership. This repeated repair is significant as a majority of the interior of the vehicle hag to
         be removed during this repair attempt. The passenger front seat, seat bottom,front and rear
         carpet and the floor panels all were removed twice. All this to attempt to repair the repeated,
         and continued no crank, no start anomalies.

       • -Mr. Scattaglia reports the electrical system issues continue to this day.
                                                                                                           I ;
    The above repair history and vehicle inspection results are significant as the repeated complaints inclUde
    no start, no crank and electrical system anomalies.

    Overall, the condition and performance of this vehicle is fair at best and dangerous at worst in certain,
    situations. I have been in the automotive repair industry for 29+ years and have owned a transmission
    and total car care repair facility for 10+ years. I consider the poor performance of this vehicle to be a
    serious safety concern and understand Mr. Scattaglia's reluctance to drive this vehicle as he is
    concerned that the vehicle will not start, or the instrument cluster will black out while driving like he has ;
    experienced numerous times. Mr. Scattaglia does not feel safe operating this vehicle and is concerned
    for his and his family's safety. I would not feel safe or confident driving Mr. Scattaglia's vehicle due to:
    the above concerns experienced.




    Repair History Effect on Use, Value, and Safety

    The use of this vehicle has been substantially compromised since it repeatedly failed to operate as
    intended, the unreasonable number of times it has had to go back to the dealer for repair attempts td
    have essentially the same abnormal condition fixed, the number of days it has been out of service, and
    through the difficulty of procuring proper repairs from the authorized Mercedes Benz repair facility.

    The value of this vehicle has been substantially compromised. The significant repair history with right
    side of the vehicle is dead, no crank, no start(2 times), battery light illuminated, and dash goes blank
    while driving, the numerous abnormal trouble codes found during my inspection:along with three (3)!
    repair visits and forty-nine(49) days out of service in 6 months of ownership, compromises the vehicle's
    value.

    This is because one of the greatest areas of diminished value is private party sale. Since Mr. Scattaglia
    would achieve the greatest value for his Mercedes Benz GLE 450 when listing it himself for sale rather:
    than trading it in to a dealer and that disclosure of the vehicle's repair history would be a prerequisitelp
    the private gale and thus cause the sale price to be lowered significantly. Dealers'do not consider
    warranty rePairs when accepting vehicle trades or purchasing vehicles from consumers. Automotive
    dealers instead focus mainly on physical exterior and interior visible condition and miles registered oR
    the vehicle'g odometer.


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    4
        Mr. Scattaglia's repair history coupled together is unreasonable; the problems Mr. Scattaglia
          I
        ex perienced are unexpected and abnormal. I would consider this GLE 450 unreliable given Mr.
        Scbttaglia's repair history.
          1
        The safety of this vehicle has been compromised by the engine and electrical system malfunctions
        chronicled in its repair history. The engine should start as expected without failing to crank or start, and
        the instrument cluster should not black out while driving. If the engine fails to start or the instrument
        cluster blacks out while driving, serious safety concerns occur.

        Finally, there is no indication that this Mercedes Benz GLE 450's engine and electrical system
        ncinconformities, defects and abnormal conditions are the result of abuse, neglect, or unauthorized
        modifications or alterations of this Mercedes Benz GLE 450 by anyone other than the manufacturer.
        This is based on my vehicle inspection and the review of the records provided which include the
        authorized Mercedes Benz repair facility repair orders and records, Mercedes Benz recalls and service
        bulletins, along with the accounts of Mr. Scattaglia. It is also my understanding Mr. Scattaglia will testify
        =icier oath that the vehicle has not been in any accidents, damaged, modified or undergone any body or
        collision repairs or refinishing since he purchased it.




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    VI. Damages

    Diminished Value is the difference in value at the time and place of acceptance between the value of the
    goods as accepted and the value they would have had if they had been delivered as warranted. This
    2021 Mercedes Benz GLE 450 was unfit, unmerchantable and unsafe at the time of sale. There is a
    significant difference or diminished value from as the vehicle was represented and as it truly existed.
    The diminished value of this vehicle as delivered and warranted equals 13.63% of the purchase price.

    Valuation is a part of what I have done on a daily basis at my shop. We performed major repairs like ,
    transmissions, engine, AC and everything in between. It is important to value the vehicle to determine if
    the repairs are the right thing to do. Valuing and appraising is a process that any mechanic or used car
    dealer would do. Starting with a thorough examination of the vehicle, sometimes disassembling
    components to determine the extent of the repair or damage. Next, I calculate the cost of the repairs1
    Using the same court accepted methodology mechanics and used car dealers employ, I determine the
    value of the Vehicle with the industry accepted reference guides like Kelly Blue Book and NADA guides.
    gather the elements and facts including what was paid for the vehicle, what was its price when new,
    mileage and condition. I then apply an objective, court and industry accepted standard to determine
    the value of the vehicle. I have applied the same method to the facts of this case.

    I based this diminution on the vehicle's value today per NADA Guides.com. In "Clean Retail" condition
    the vehicle is:worth $74,625 based on its age and mileage. "Rough" condition is defined by NADA as "A
    vehicle with significant mechanical defects requiring repairs in order to restore reasonable running
    condition." l!clefine the condition of this vehicle as "Rough" since its purchase giVen the significant
    repair history with right side of the vehicle is dead, no crank, no start(2 times), battery light illuminated,
    and dash goes blank while driving, the numerous abnormal trouble codes found during my inspection;
    along with thiee (3) repair visits and forty-nine (49) days out of service in 6 months of ownership. As the
    vehicle was delivered in "Rough" condition, its value today is $64,450. The difference between these •
    figures is 13.63%. Therefore, the diminution in the value of this vehicle, as warranted and delivered at .
    the time and:place of delivery is equal to 13.63% of the purchase price. Taking the 13.63% and
    m ultiplying it by the purchase price of $76,918.36 equals $10,483.97 as the diminished value at the time
    of purchase.

    These opinions have been made to a reasonable degree of automotive mechanical certainty based on ;
    m y years of experience in the automotive repair industry. I reserve the right to supplement and amend
    this report with additional inspection reports, pictures, videos or other informatibn in the future.

    Respectfully:submitted,




    Richard Roth

       •    For Reference, the following is the CV for Richard Roth.
                   •




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                                               EXPERIENCE
        Owner, RSJ AUTO LLC                                                     December 2012-Present

          • Provide Expert Witness services including vehicle inspections, report generation with
            photos and videos, attendance and testimony at trials/arbitrations, attendance at
            service advisor, and mechanic depositions.
          • Court Admissions as a Mechanical and Valuation Expert:
                o Philadelphia County, PA
                o Allegheny County, PA
                o Lehigh.County, PA
                o Camden County, NJ
                o Cumberland County, NJ
                o Sussex County, NJ
                o Burlington County, NJ
          • Provide service to automotive repair shops including diagnostic, mechanical,. and
            management assistance on an as needed basis.
          • Provide mechanical and physical damage appraisals.(PAMVPDA License #788577)
          • Provide mechanical breakdown and physical inspections for insurance, warranty, and
            fleet companies.(Allstate, Safe-Guard VSC, Auto Retention Services, Aegis/APCO,
            Preferred Warranties Inc., ARI, General Motors-Chrysler-Mopar Vehicle Protection,
            Subaru Factory Warranty and others).
          • Provide pre-purchase vehicle inspections for warranty companies.


        Owner, AAMCO Transmissions and Total Car Care, Turnersville, NJ July 2007-September 2017

          • Involved daily in the diagnosis and repair of customer vehicles.
          • Manage all operations, sales, marketing and technical proficiencies. This includes
            customer interfacing, management of customer service manager and techniCians.
          • Practical hands-on knowledge and performance of all repair services, supplies and
            equipment including: automatic transmission, manual transmission, clutch, brakes,
            exhaust, air conditioning, cooling system, air bag, automotive parts, automotive
            l ubricants, friction materials, part suppliers, differential, emissions, alignment, steering,
            suspension, tires, EGR, EVAP, check engine light diagnosis, engine, tools, scan tools,
            scanner, smoke machine, alignment, and tires.
            Regularly worked with insurance, warranty and fleet company adjusters providing
            service on current model year vehicles.
            Over 15,000 vehicles serviced.


        Director of Transmission Operations, Henley Transmissions,
    ;
        Newton, MA/Moveras,Salem, NH                                               May 2006-June 2007
                                                  Page
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       • General management of 6 AAMCO centers' operations, sales, marketing and technical
           proficiencies. This includes human resources management of customer service          s
                i
           managers and technicians, 67 employees.
       • Worked daily in the diagnosis and service recommendations of vehicles in all 6 center .
       • Shared in the management of a centralized transmission remanufacturing facility
          (Moveras)that supplied transmissions to the company owned stores and other local '
           repair shops. Assisted in the design and management of transmission teardown, parts
           supply, rebuilding and dyno testing procedures                I 11       I              :
               d                                                         J .
                1                                                      „,,
                                                                         1 I                    ;
    Director of Technical Services, AAMCO Transmissions Inc.             4 1 July 1991-April 20116
                                                                                               1 1
                                                                             i 1!     1   4 i
       9   Management of AAMCO's Technical Support Department, providing technical support, ,,
           for ii-ansmission repair and total car care repair to over 800 AAMCO centers.  t
               o Support services provided to the chain include management of:
                    • Technical Hotline (phone technical support for all A4/1CO Centers).
                    • Regional Technical Support Managers(8 in-field trainers/center analysts). ;
                                                                          1                 , ;
               „    • Technical Information, Certification and Testing.
       • Teck'nical Training Materials Production — Manage the planning)developing and
                                                                                 1                  ' I
           leadership of Technical projects to meet corporate goals. Personally involved at every
         .                                                                         ,                ; 1
           level of production of books, technical bulletins, certification tets,•and videos including 1
                                                                             f   .
           ;writing, layout, editing, photography, print production, slide production, video
                                                                              1 1                        14
           ,production (taping, editing, on-screen talent, duplication, collateral materials, etc.). .   !
           •    ,                                                             ;  I
                o Some of the training titles produced include but are not limited to:i transmission     I
                                                                                 I
                   specific programs(E40D, VW 01M, CD4E,JF506E, SATURN,,4L80-E,i 4T65E,              !   ,;
                   45RFE, etc.), Valve Body Repair, ACCESS (Automotive Com' pUter Controls &        I     I
                                                                               1 1                        J
                   Electrical System Servicing), 1-5 Series, Differential Repair, R&R (transmission       s
                   removal and reinstallation), Fundamental Rebuilding, St6ndard Transmission, Do 1
               •   These or CBs, Rebuilder's Kwik Reference Guide, Kwik Pressure Specifications     i4
                                                                           1
                   Guide, Brake System Servicing, Air Conditioning System Servicing, Air Bag System i
                   servicing, and the Benchnote Series.
                                                                    i '+
       • Equipment and Tools
                                                                    i li
         ' 9 Performed evaluation, in-field testing, and recommendation
                                                                      ,f of tools and                    ;
            • equipment from numerous vendors.
            o Maintained AAMCO's required tool and equipment list for AAMCOI Dealers.                    ,
               o  Negotiated national pricing programs with RTI(now MAHLE), Snap'ton, Hot Flulh, i
                                                                                 ,
                  and Rotary. i
               :I              ,                                          1      1
               o Worked closely with AAMCO's Parts warehouse on procurement and
                                                                          i
                I distribution.

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           •   Part, Lubricant and Service vendors
                   o Negotiated national programs with Autozone, Transtar and Lubeguard.
                   o Met with vendors executives regularly to design special programs and
                     promotions for AAMCO Dealers.
           • Technical Seminars
                o Develdped, created, and presented technical training seminars.
                   o Presented seminars to groups of dealers and technicians with audiences ranging
                     from 10 to over 300 attendees.
               Center Visits •
                  o Personally performed over 500 AAMCO center visits nationwide, in Canada, and
                       Puerto Rico.

                                        AFFILIATIONS AND CERTIFICATIONS

     Pennsylvania Insurance Department

          I • Licensed Motor Vehicle Physical Damage Appraiser, License #788577
     ASE Certification

      •    • Al through Al certified through 2021


     GIG (Gerson Lehrman Group) Research Consulting Management Council Member

            • Council Member since 2010
          I • Paid consultant on various automotive projects including part suppliers, tools, lubricants, repair
              and industry trends

     MOBILE AIR CONDITIONING SOCIETY(MACS)
      ' • Certified MACS Air Conditioning Repair, Training and Testing Proctor

     SMART AIR
       • Certified Vehicle Mold Screening Technician


                                                      EDUCATION

           •   B.A. Cabrini College in Communications and Business                                   May 1988




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   XENTRY TIPS


                Functional impairment of 48 V on-board electrical system

   Topic number                                               LI54.10-P-069698
   Version                                                    3
    Function group                                            54.10 Battery, power supply, voltage converter
    Date                                                      01-28-2020
    Validity                                                  Model series 257, 213, 2:38,, 167, 290 with code Bol
    Reason for change                                         Refining Remedies
    Reason for block




   Complaint:
   1. Instrument cluster message 48 V on-board electrical system battery (G1/3) in yellow or red

   2. Vehicle does not start

   3. Limp home mode due to high engine operating temperatures


   Cause:                                                                                               •
   Cause 1/5: Communication error between 48 V on-board battery G1/3 and DC/DC converter: B183387 in DC/DC con-
   verter N83/1

                                                                                                                I .
   Cause 2/5: Limp home mode with additional symptoms: overheating, NC blowing hot, and loss of acceleration!with
   fault code: B1873371 The battery for 48V on-board electrical system has a malfunction.iThe actuator is blocked.
                                                                                          .•
   Note: this•fault'code may include additional 48V system consequential faults although B1873371 is,the primary root
   cause.


   Cause 3/5: Red battery light or check engine light without fault B1873371


   Cause 4/5: Battery Not found in Quick Test.


   Cause 5/5: Fault B183301 in DC/DC or B183349 in 48V battery.


   Remedy:                                                                                                       '
   Preliminary measures NOTE: It is imperative to document each one of these steps in detail. Some of the remethes will
   require opening a PTSS case. This information is vital in helping to expedite the diagnostic process.

   • Make sure Add-ons are are up to date in Xentry Machine

   • Disconnect and inspect all chassis grounds such as W15/5, W15/7, W16/3, W16/4,,and W16/5. If painted over, re-
   move all paint such that ring terminal can press flush against bare surface.

   • Complete guided test(s) and subsequent physical layer inspection.

   • Confirm all 48v components can be actuated via Xentry guided tests: Al = M75 electrical coolant pump, A2 = M60
   Electrical turbo, A3 = A9/5 electric refrigerant(NC)

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    X
    , NTRY TIPS
   1
   ;Test 12v battery with Midtronics. Document results in case.

      Detach line between DC/DC converter N83/1 and 48 V on-board electrical system battery. Check for: damage, soi-
    ling;corrosion,and check resistance of all cable pins (should nearly 0.2 ohms).

    • Road test to attempt to duplicate fault. Test drive under as many various driving styles as possible: manual, automa-
    tic, glow, aggressive, Comfort; Sport+, etc. SAFETY is more important than testing. Please proceed with caution.
    '
    • Make sure to indicate in file names or descriptions the order the uploaded documents occurred. I ;
                                     I
    • If complaint cannot be replicated and this is vehicles first visit clear all fault codes, save new quick'test, field test for
    2t 0 miles with varying driving styles, and then open PTSS case.
    • Upload all relevant documentation from above including:

    !1. Screenshots showing completed guided test(s) for Every fault code

     2. Initial quick test               I
       !
           Upload any control unit logs only from relevant control units that have faults
       •


    Ren)edy 1/5 -- if(No start)'

    !a: if first visit pull Quick Test

           i. If fault code is B183387 in DC/DC converter N83/1

           '1. Update Xentry with newest Add-Ons

            2. Inspect Physical layers (grounds, DC/DC to 48v battery connector, etc)

           !3. Confirm all 48v components can be actuated via Xentry guided tests

            4. Complete guided test(s) for every fault code--not just 48v

            I 5. Clear all faults and test drive for 30 miles

               a. If fault B183387 retuins = replace battery only

               b. If fault B183387'does not return = release vehicle

               c. If additional faults = open PTSS case.

     b. If second visit open PTSS case


    Remedy 2/5 -- if limp home: CEL, overheating, loss of power/acceleration, etc.
                                         '
    1 i. If First visit pull Quick Test AND if fault code B183371 The actuator is blocked is present in battery (regardless of
    other faults)

           1. Update Xentry with newest Add-Ons

      '2. Inspect Physical layers (grounds, DC/DC to 48v battery connector, etc)

           3. Confirm all 48v components can be actuated via Xentry guided tests

       4. Confirm completed guided test(s) for every fault code--not just 48v

           5. Disconnect 12V battery more than 10 minutes for hard reset 48V system

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   XENTRY TIPS

      6. Clear all faults and test drive for 30 miles

        a. If fault B183371 returns = replace battery and DC/DC

        b. If fault B183371 does not return = release vehicle

        c. If additional faults = open PTSS case

    ii. If second or greater visit open TIPS case.



   Remedy for 3/5 Battery light or CEL (without limp home mode)

    a. If faults any of these faults exist(WITHOUT B183371): B183214, B183216, or B183217

    b. Check ground point W106/x Or W30/11 exactly (correct torque, damage, soiling)

    c. Test drive.

      i. If reproducible:
                                                                                                                 .• .
        1. unplug all 48 V components individually (on F153/2 disconnect the individual coMponents of circuits 4Q) and
   perform a test drive each time.

        2. After each test drive, run a quick test to check if any of the 48 V components - except the unplugged ones -
   are detected as faulty.

          a. Try to actuate all compOents that are still connected.

        3. If unable to actuate or defected faulty = replace component.

       4. Retest.

      ii. If cannot reproduce = release



   Remedy for 4/5 and 5/5

    a. if 48v battery not found in quick test even though wiring harness G1/3 to N83/1 Was no fault§,

    b. OR if fault B183301 in DC/DC
                                                                                              I
    c. OR if fault B183349 in 48v                                                            !i
      i. Replace battery only                                                                !:

      ii. Update DC/DC converter N83/1 if later software is available.
                                                                                             '



   Symptoms
   Overall vehicle / Power supply / Battery/On-board electrical system / Battery function / Eil'attery discharges
   Overall vehicle / Power supply / Battery/On-board electrical system / Battery/on-board electrical system display mes-
   sage / Battery/Alternator - Serviced Required



    Control unit/fault code           1

   Control Unit                      Fault code         Fault text


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    XENTRY TIPS

     N83/1 - DC/DC converter        B183301           The battery for the 48V on-board electrical system has a malfunc-
    (DDW)(DCDC48_222)                                 tion. There is a general electrical fault.(L1B48_222)
     N83/1 - DC/DC converter        B183217           The 48V on-board electrical system has a malfunction. The limit
    (DDW)(DCDC48_222)                                 value for electrical voltage has been exceeded.
     N83/1 - DC/DC converter .      B183216           The 48V on-board electrical system has a malfunction. The limit
    (DDW)(DCDC48_222)                                 value for electrical voltage has not been attained.
     N83/1 - DC/DC converter        B183214           The 48V on-board electrical system has a malfunction. There is a
    (DDW)(DCDC48_222)                                 short circuit to ground or an open circuit.
     N83/1 - DC/DC converter        B183214           The 48V on-board electrical system has a malfunction. There is a
    (DDW)(DCDC48_222)                                 short circuit to ground or an open circuit. (LIB48_222)
     N83/1 - DC/DC converter        B183216           The 48V on-board electrical system has a malfunction. The limit
    (DDW)(DCDC48_222)                                 value for electrical voltage has not been attained.(L1B48_222)
     N83/1 - DC/DC converter •      B183217           The 48V on-board electrical system has a malfunction. The limit
    (DDW)(DCDC48_222)                                 value for electrical voltage has been exceeded.(L1B48_222)
     N83/1 - DC/DC converter        B183319           The battery for the 48V on-board electrical system has a malfunc-
    (DDW)(DCDC48_222)                                 tion. The limit value for current has been exceeded.(LIB48_222)
     N83/1 - DC/DC converter        B183371           The battery for the 48V on-board electrical system has a malfunc-
    (DDW)(DCDC48_222)                                 tion. The actuator is blocked.(LIB48_222)
     N83/1 - DC/DC converter :      B183371           The battery for the 48V on-board electrical system has a malfunc-
    (DDW)(DCDC48_222) .                               tion. The actuator is blocked.
     N83/1 - DC/DC converter        B183319           The battery for the 48V on-board electrical system has a malfunc-
    (DDW)(DCDC48_222)                                 tion. The limit value for current has been exceeded.
     N83/1 - DC/DC converter        B183301           The battery for the 48V on-board electrical system has a malfunc-
    (DDW)(DCDC48_222)                                 tion. There is a general electrical fault.


     Parts
    Part number         ES1 ES2 Designation                       Quantity Note                                     EPC
    A 000 901 45 09                48 V on-board electrical sy-   1                                                   X
                                   stem battery (48 V LIB) G1/3
    A 000 902 49 48                DC/DC converter(DDW) N83/ 1                                                        X
                                   1




     Operation numbers/damage codes
    Op. no.       Operation text                         Time         Damage      Note
                                                                      code
                                                                      540HY 73    Battery 48 V on-board electrical sy-
                                                                                  stem - electrical fault
                                                                      09803 **    Electric additional compressor - not
                                                                                  determinable
                                                                      1500X 92    Integrated starter alternator short cir-
                                                                                  cuit
                                                                      5416D 73    DC/DC converter 48 V on-board
                                                                                  electrical system




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   XENTRY TIPS

                           Implausible "service due" instrument cluster
                         message, head unit pop-up, or MMC message

   Topic number                                               LI00.20-P-070791
    Version                                                   4
    Function group                                            00.20 Maintenance, service system;(FSS, ASSYST)
    Date                                                      05-28-2020
    Validity                                                  Model series 118, 167, 177,1'and 247
    Reason for change                                         Remedy updated
    Reason for block




   Complaint:
   The following customer complaints may be noted:
   - "Service NB Due" message is displayed in the instrument cluster before the appropriate mileage or date is reached
   - "Service A/B Due: Do you want to make an appointment?" pop-up message in the head unit display (see attach-.
   ment) before the appropriate mileage or date is reached
   - "Your Mercedes-Benz _ is due for service." MMC service lead email or App message (see attaehment)i is sent to the
                                                                                       •
   customer before the appropriate Mileage or date is reached                                    1              1
                                                                                                 ,
    Attachments                                                                                  ,
   File                           .                           Description                                         i
                                                                                          .
   M MC service lead email example.jpg                        MMC service lead email              1
   service lead popup example.jpg                             Service Lead head unit popup message


   Cause: .
   Improper mileage synchronization between the electronic ignition lock (N73), instrument cluster1(N133/1), and the
   central powertrain controller(N127)
                                                                                                   I
   Note: The vehicle's odometer as displayed in the instrument cluster is not affected and continues to operate   desi-
   gned.                                                                                   '       1


   Remedy:
                                                                                                  1
   At present time updated Central Powertrain Controller(N127)software is available for the following vehicles:
   - Model series 118, 177 and 247 equipped with the M260 engine variant
   - Model series 167 equipped with the M264 engine variant
   Software is still under development for other affected engine variants and models.
                                    1

   Symptoms                                                                                      ,;
   Overall vehicle / Maintenance / Active Service System Plus ASSYST PLUS / Premature indication •                !




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    M MÔ service lead email   11 !
                              ,1 1
    examplejpg:                . Your Mercedes-Benz A 220 4MATIC Sedan Is due for service.

                              , Dear..
                              i! i
                              I I Yobr Mercedes-Benz A 220 4MATIC Sedan,                               is due for service. Commit to excellence

                              1 I with genuine Mercedes-Benz parts and expert technicians to keep yo r vehicle running at its very best.
                                i
                                i
                                      I
                                      1
                                  Service includes:
                                i • Smthetic motor oil replacement
                                . • Oil filter replacement
                                I • Fluid level checks and corrections based on factory recommended service intervals for your vehicle
                              • , • Tire inflation check and correction
                              I I • BI:ake component inspection
                              4 j • R§set maintenance counter
                                  • Other vehicle and mileage dependent services
                              il
                              1 1 To schedule an appointment, please contact Mercedes-Benz of                                   or book an
                                , appointment online today.
                                  I     1

                                  . SirIcerely,
                                  -1
                              ,, M,ercedes-Benz
                                    1           of

                                      Thi,s message was triggered by sensors within your vehicle.

                              I        1
                                      ficiok-an ..Atvaintrndrit:
                                      ..            _ ,    . ,




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    C
    ? Copyright Mercedes-Benz AG                                                                                                          Page 2/3




                              k
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    X NTRY TIPS


            Xentry Battery Tester results disagree with workshop assessment

     Topic number                                               LI54.10-P-071499
    • 1
    Version                                                     1
    Function group                                             54.10 Battery, power supply, voltage converter
    Date                                                       08-10-2020
    Vali:dity                                                   118, 177, 247, 167, 205, 213, 217, 222, 238, 253, 257,
                                                               except code U98(LITHIUM-IONEN-STARTEFRBATTERIE
                                                               (LISB))
     Reason for change
     ROson for block

       i
       1                            i                                                1
    Complaint:
    Theiresult from the XENTRY battery test does not match the current state of the battery.
        i
        i                      I
    CaOse:                 .i 1
                  H
    TheiXENTRY battery tester uses the stored on-board electrical system data in the SAM module to access the health
   .of the 12 volt battery. ThO(ENTRY
                                 I         battery test may not take into account a single discharge event because the SAM
    canerot record the'data if the battery is discharged.                                ;
         I               i       i                                                       ,

    Note: A discharged battery is not necessarily defective. A discharged battery may be recovered with no permanent
    damage.
        I                       !
                                    1
    Remedy:
                                1
    1)IfThe battery is dlischarged,!charge battery. Review WS54.00-P-0037B for minimum charger specifications.
        i1              :          ,
    Not the amperag0 difference!between trickle (maintainer) chargers of at least 16A and quick chargers of at least
    30Ai                        i
                        1       i
    Review AP54.10-1 5449U Note when battery is sufficiently charged the charger current is less 5A.
                                1
                        I
        I               i
                        !     '
    2)While charging the batte!ry analyze the vehicle data to determine root cause of,discharge using the following data
                        i
    points:             I      !I

    A)Review FSAM on-board electrical data conspicuous records
                                  1
        i                I
    NOTE: For guidance on use bf the on-board electrical data please review the AKUBIS video titled "New on-board
    elecfrical system dilegnosg shbwn on BR 166". The video can be accessed through WIS by following the path WSM--
    > coptent by modell series -> passenger cars --> ML-Class --> Model 166 --> group 54 --> New on-board electrical
    system diagnosis.             ,
        ,                I
    B)Customer description

    C)Midtronics test ;

    Determine if root cause is due:

    • vehicle technical issue? - 1

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                                                                    ID:!LCV2021115792



   XENTRY TIPS

   • customer behavior?

   • defective battery?



   3)If battery still does not accept charge, or if battery is determined to be defective, create a PTSS case.

   Must include with case:

   A)Amperage setting of charger and time battery was on charger

   B)Xentry Battery Tester results

   C)Voltage of battery taken with multimeter: Do not connect charger while taking measurements
            . 1 '
   D)SAM contra! Unit log

   E)Midtronics tester results

   F)Workshop analysis of conspicuous SAM data

   G)Root cause analysis for battery discharge based on the above documents (technical, Customer, or defective batte-
   rY)                                                                             i

   NOTE: For expedited results when creating a case write customer complaint as "Xentry!Battery Tester implausible".


   Symptoms; _
   Overall vehicle / Power supply / Battery/On-board electrical system / Battery function / Battery discharg4s




                                                                                                                 .1




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    XENTRY TIPS

                            Vehicle does not start / Vehicle cannot be un-
                                    I


                              lOdked - starter battery may be discharged

     Topic number                                                  LI54.10-P-071596
     Version                                                       1
     Function group                                               54.10 Battery, power supply, voltage converter
     Date                                                         08-07-2020
     VaOity                                                        BR167
     Reason f r change
     Reason flr block




    Complaint:
    - Vehicle does not Mart / Vehicle cannot be unlocked

    - Display message in instrument cluster "Battery - Start Engine - see Operator's Manual"
                                i




                                , 1
     Attachments        I
     File'                      .                                  Description
     Beispiel_BuswachhalterpCif                                   Example for reading bus keepawake event from electrical
                             I ;                                  system data
                        I
     Beiepiel K1. 15 EIN1 de.pdf:                                  Example for terminal 15 ON
    example Irminal 15 active.pc.if                                Example for terminal 15 ON
    exaMple_BUS_kedp_awake.pdf                                     Example for bus keepawake event               .


    CaOse:
    BusI(eepawake control units are flagged up by event code U116000 "A bus keepawake control unit has been detec-
    ted"iin the'electronic ignition syvitch (EZS) control unit.
                                     •
    If prcl longed CAN activity (40 rnins or longer) is evident in the on-board electrical system data, but this is Not flagged
    by the EZS, go directly to cauSe 3.


    Cause 1. The ESP control unit is keeping the CAN bus awake.

    Affected software: A1679020202, A1679025704, A1679026603, A1679021403, A1679028301
       !
    Cause 2. Concern All vehicles with code 631/632/640/641/642

    LED, Head Light MCdule control unit is keeping the bus awake.

    Affected software: A2479026401

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   XENTRY TIPS

   Cause 3. Only concerns vehicles with CAN activity lasting 40 minutes or longer, and without DT,C y116000 in the EZS
   The EZS control unit itself is keeping the bus awake


   Remedy:
   Remedy 1. Flash the ESP with the latest software release

   I nvoice under damage code 43181-72


   Remedy 2. Concerns only vehicles with code 631/632/640/641/642

   Flash LED Head Light Module control unit with the latest software release.

   I nvoice under damage code 821301- 73


   Remedy 3. Replace the EZS.

   Invoice under damage code 8000N-54


   Remedy 4. Continue with the analysis (create a PTSS case)

   The following information is required for the analysis:

   - Control unit event log of electronic ignition lock, EZS (N73)
                  1
   - Control unit event log of SAM-F (N10/6)

   - Up-to-date no-load current measurement


   For all causes, discuss the following questions with the customer:

   - Were there Any messages in the instrument cluster?

   - Did this behavior occur once only, or has it occurred before?

   If so, when (approximately)?

   - Was the vehicle parked in a particular location or with high traffic levels?      1. •
                                                                                       11 I
   - Has the vehicle been modified or are there any installations in the vehicle?


   Symptoms'                                                                                                         ;
                                                                                                        !
   Overall vehicle / Power supply / Battery/On-board electrical system / Battery function (Battery fpc argil
   Overall vehicie / Power supply / Battery/On-board electrical system / Battery function ,/: Battery *not be charged
   Overall vehicle / Power supply / Battery/On-board electrical system / Battery/on-board electrical :pOtem display mes-
   sage / Low voltage Charge battery
   Overall vehicle / Power supply / Battery/On-board electrical system / Battery/on-board electrical 4tem display Mes-
   sage / Charging                                                                     II

                 ,                                                                     ;        r
   Parts         ,
   Part number !        ES1 E52 Designation                           Quantity Note        ! II ;   II I    I I:         PC

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                                                                                                    I
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    XENTkY TIPS
            I

    A 001 982 81 08               80 Ah starter battery          1                                           X
    A 001 982 8208                92 Ah starter battery          1                                           X




    Operation numbers/damage codes
    Op.,no.    Operation text                             Time       Damage   Note
                    I       i .                                      code
    54-1011    PERFORM QUICK TEST                                             Use the damage code for the com-
                    i     .                                                   ponent causing the damage!
    54-0640     CHECK BATTERY SYSTEM (AFTER                                   Use the damage code for the corn-
                QUICK TEST)                                                   ponent causing the damage!
    54-1109     CHECK CONDITION OF BATTERY                                    Use the damage code for the corn-
                      1  .                                                    ponent causing the damage!
    54-1126     REPLACE BATTERY(AFTER CHECK)                                  Use the damage code for the corn-
                    !    l'                                                   ponent causing the damage!
    54-0650    MAINTAIN ON-BOARD ELECTRICAL                                   Use the damage code for the corn-
               SYSTEM VOLTAGE(FOR TESTING                                     ponent causing the damage!
     .         AND DIAGNOSIS WORK)
    54-0991    PROGRAM CONTROL UNIT                                           Use the damage code for the corn-
               (AFTER QUICK TEST)                                             ponent causing the damage!
    54-0992    CODE CONTROL UNIT                  (AF-                        Use the damage code for the com-
               TER QUICK TEST)                                                ponent causing the damage!
    54-0645    CHECK NO-LOAD CURRENT CON-                                     Use the damage code for the com-
               SUMPTION
                   i    !                                                     ponent causing the damage!
    54-2536    REPLACE ELECTRONIC IGNITION                                    Use the damage code for the com-
               LOCK CONTROL UNIT(AFTER QUICK                                  ponent causing the damage!
         ,     TEST)    I


    WIS-References
    Document number              Title                        Note                   Allocation
    AR54.10T-1129LW              Battery - Check condition                           Cause
    AR54.10-F-1130LW       l     Charge battery                                      Remedy
    AR54.21-P-0038ME       :     Remove/install electronic                           Remedy
     I                           ignition lock control unit




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    JERRY SCATTAGLIA, INDIVIDUALLY AND               SUPERIOR COURT OF NEW JERSEY
    ON BEHALF OF ALL OTHERS SIMILARLY -              LAW DIVISION, CIVIL PART
    SITUATED,                                        MIDDLESEX COUNTY
                            PLAINTIFFS',             CIVIL ACTION
                     V.                              DOCKET NO. MID-L- 275,- ,2 1
    MERCEDES-BENZ USA, LLC AND JOHN
    DOES 1-10,                                       FIRST SET OF INTERROGATORIES
                           DEFENDANTS.


    PLEASE TAKE NOTICE that pursuant to Rule 4:17-1(b) and 4:18 and/or Rule 6:4-3,
    certified answers to the following interrogatories are demanded within the time frame set


    1 As used in this document, use of the plural includes the singular, where applicable. The
    parties are referred to in the plural regardless of their actual number.


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     forth under the New Jersey Court Rules. TAKE FURTHER NOTICE that these
     requests are deemed continuing so as to require supplemental responses should the
     party to whom they are addressed or such party's counsel obtain further or
     supplemental items between the time the answers are served and the final date prior to
     trial for submitting answers as provided by the New Jersey Court Rules. TAKE
     FURTHER NOTICE that, if this request is addressed to more than one entity and/or
     individual, subject to the New Jersey Court Rules, unless certifications signed by each
     party to whom this demand is addressed are timely served, a motion to dismiss and/or
     suppress and/or strike and/or compel as appropriate shall be filed.

                                              INSTRUCTIONS
         1-1 Whenever the term "and/or" is used herein, the information called for should be
             set forth both in the conjunctive and disjunctive and wherever the information is
             set out in the disjunctive, it should be given separately for each and every
             element sought.
         1-2 Leave no answer blank. If the answer to a question and/or paragraph is "none" or
            "unknown", such statement must be written in the answer. If the question is
              inapplicable, "N/A" must be written in the answer, along with the reasons why
             such is the case.
         1-3 If an answer is omitted because of the claim of privilege, pursuant to R. 4:10-2
             and R. 4:18-1 and so as to enable the party or parties serving this request on you
             to assess the applicability of the privilege or protection, provide a privilege log
             listing the date of the item withheld if applicable, a brief detailed description of the
             item withheld (i.e., letter, contract, email, etc.), the author, the recipient or to
             whom it is addressed if applicable and basis of the privilege which you claim
             precludes production.
        1-4 Answer each paragraph separately and fully in writing, unless it is objected to, in
             which event the reasons for objection must be provided in lieu of a response.
        1-5 The answers to this request shall reflect the cumulative knowledge of all agents,
             independent contractors, contractors, subcontractors, principals, servants,
             salesmen, workmen, employees, technicians, advisors, attorneys or other
             representatives and all other persons acting on behalf of the answering party.
        1-6 If a question asks for a name, where applicable, provide the first and last names
             for any individuals that you identify in response to the question.
        1-7 If a question asks for an address, where applicable, provide the street address
            (including zip code, road, provide or province and if outside the United States of
             America, name of the country where the address is located).
        1-8 Time period — unless otherwise indicated, the information being requested in this
             request shall relate to the period set forth in the complaint and its exhibits (if any)
             to the present.
        1-9 Be advised that, under the New Jersey Court Rules, an evasive or incomplete
             answer is deemed to be a failure to answer and the party or parties serving this
             request on you shall file a motion to suppress your pleading and/or to compel
             answers and/or production and shall seek fees relative to same.
        1-10 Be advised that, under the New Jersey Court Rules, you have a duty to disclose
             all information known to you and further, to make reasonable inquiry and


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             thereafter to disclose all information to which you have gained access after such
             reasonable inquiry.
        1-11 In producing the items designated below, you are directed to furnish all items
             known or available to you regardless of whether an item is currently in your
             possession, custody or control, or that of your attorneys, employees, agents,
             investigators or other representatives, or is otherwise available to you.
        I-121f for any reason you are unable to produce in full any item requested, then:
            Produce each such item to the fullest extent possible; Specify in writing the
             reasons for your inability to produce the remainder; and State in detail whatever
             information, knowledge, or belief you have concerning the whereabouts and
            substance of each such item not produced in full.
       1-13 If any item requested was at one time in existence, but is no longer in existence,
            then state for each such item: The type of item; The types of information
            contained therein; The date upon which it ceased to exist; The circumstances
            under which it ceased to exist; The identity of all persons having knowledge of
            the circumstances under which it ceased to exist; and The identity of all persons
            having knowledge, or having had knowledge, of the contents thereof.
        1-14 For each item requested which you are unable to produce and which was at any
            time within your possession, custody or control, or to which you had access at
            any time, specify in detail: The nature of the item (i.e., letter, memorandum, etc.);
            The author of the item; All recipients of the item and/or any copy thereof; A
           summary of the information contained in the item; The date on which you lost,
            relinquished, or otherwise ceased to have possession, custody, control of, or
            access to the item; The identity of all persons having knowledge of the
            circumstances whereby you lost, relinquished, or otherwise ceased to have
            possession, custody or control of, or access to the item; and The identity of all
            persons who have or who have had knowledge of the contents of the item, in
            whole or in part.
       1-15 In the event you seek to, or in fact do, withhold any item, in whole or in part, on
           the alleged basis that it is not subject to discovery, then and in that event you are
           to produce a list of each and every such item and to state as to each: The name
            of each and every author, writer, sender or initiator of the item; The name of each
           and every recipient, addressee or party to whom the item was sent or was
            intended to be sent; The name of each and every person who received a copy of
           the item; The date of the item or, if no date appears on the item, then the date
           the item was prepared; The title of the item, or if it has no title, then such other
           detailed description of the item and its subject matter as shall be sufficient to
            identify the item; and The grounds claimed for withholding the item from
           discovery (e.g., attorney-client privilege, work product, or any other grounds), and
           the factual basis for such claim.
       1-16 As to each item produced, you are directed to designate in writing the paragraph
           and subparagraph of this demand to which each such item is responsive.
                                             DEFINITIONS
       D-1 The terms "and" and "or" and any other conjunctions or disjunctions used herein
           shall be read both conjunctively and disjunctively so as to require the production




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           of all items (as hereinafter defined) responsive to all or any part of each particular
           demand for production in which any conjunction or disjunction appears.
       D-2 The term "person" means an individual, firm, corporation, association,
           organization or any other entity.
       D-3 The term "items" when used herein shall mean all documents, sound
           recordings, video recordings, images (digital or otherwise), photographs,
           blueprints, drawings, spreadsheets, photocopies, audio files, paper files, digital
          files, papers, books, journals, folders, records, writings, correspondence, notes,
          electronic mails a/k/a emails, facsimile transmissions a/k/a faxes, telegrams,
           memoranda, letters (sent or received), finance agreements, listing agreements,
           purchase orders, photographs, videos, discs, tape recordings and any log and/or
          transcript thereof, reports, studies, summaries, minutes, notes, agenda, bulletins,
           notices, announcements, instructions, charts, manuals, brochures, schedules,
           price lists, teletypes, microfilms, telegrams, newspaper articles, magazines,
          advertisements, periodicals, bulletins, circulars, pamphlets, statements, rules,
          regulations, directives, minutes of meetings, interoffice communications, ledgers,
           books of account, proposals, prospectuses, offers, orders, receipts, working
           papers, desk calendars, appointment books, diaries, time sheets, logs, movies,
          tapes for visual or audio reproduction, illustrations, drawings, graphs, charts,
          photographs, data processing results, printouts and computations, contracts
         (including original items), service contracts, warranties, guarantees, we owe
          slips, promissory notes, receipts, invoices, repair invoices, repair orders,
          purchase orders, estimates, bills, billing statements, canceled checks, direct
          deposit statements, electronic funds transfer statements, credit card statements,
          bank transfer statements and statements as that term is defined by R. 4:10-2(c).
          In all cases where original and/or non-identical copies are not available, "items"
          also means identical copies of original items and copies of non-identical copies.
          The term "items" should also be broadly construed to include but not limited to all
          electronic media or other tangible forms in which information is stored and
          includes all written or graphic matter of every kind and description, however
          produced or reproduced, WHETHER DRAFT or FINAL, original or reproduction,
         (both in existence and stored in memory components) and other compilations
          from which information can be obtained or translated, if necessary, through
          detection devices into reasonably usable form and all copies of an item which
          contain any additional writing, underlining, notes, deletions, or any other
          markings or notations, or are otherwise not identical copies of the original.
       D-4 The term "file" or "files" includes all electronic mails, electronic files and
          electronic folders and data stored therein or organized via same (excluding items
          covered by the attorney client privilege or work product doctrine — for such items
          please provide the privilege log as referenced in the instructions above).
       D-5 The terms "regarding" and "relative to" shall mean "about".
       D-6 The term "relate to" or "relating to" shall mean consist of, refer to, reflect or be
          in any way logically or factually connected with the matter discussed.
       D-7 The term "related" means related or about or connected with.




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       D-8 The term "fact" refers to all evidentiary facts presently known to you and all
           evidentiary facts, the existence of which is presently inferred by you from the
           existence of any combination of evidentiary and/or ultimate fact.
       D-9 The term "you" or "yours" refers to the individuals and/or companies and/or
           institutions to which this request is addressed and it shall be construed to mean
           not only the party answering in his, her, their or its own right, but shall also mean
           his, her, their or its agents, independent contractors, contractors, subcontractors,
           principals, servants, workmen, salesmen, employees, technicians, advisors,
           attorneys or other representatives and all other persons acting on behalf of the
          answering party.
       D-10 The term "incident" refers to the incident or facts referenced or alleged in the
          complaint.
       D-11 The term "plaintiff" or "plaintiffs" refers to the plaintiff or plaintiffs identified
          and/or named in the complaint.
       D-12 The term "defendants" refers collectively to all of the defendants identified in
          the complaint.
       D-13 The terms "party" and "parties" refers to any and all parties who are named
          to any pleading filed in this case.
       D-14 The terms "any other party" and "any other parties" refers to any
          party/parties to this case other than yourself.
       D-15 The term "statement" is to be construed to have a meaning consistent with R.
          4:10-2: (1) a written statement signed or otherwise adopted or approved by the
          person making it, or (2) a stenographic, mechanical, electronic, or other
          recording, or a transcription thereof, which is a substantially verbatim recital of an
          oral statement by the person making it and contemporaneously recorded.
       D-16 The term "R." is to be construed as an abbreviation for the word "rule" and to
          refer to the New Jersey Court Rules.
       D-17 The terms "the case" or "this case" refers to this lawsuit as referenced in the
          caption set forth above.
       D-18 The term "pleading" refers to any pleading filed in this case as defined by R.
          4:5-1(a)(e.g., "Pleadings Allowed. There shall be a complaint and an answer; an
          answer to a counterclaim denominated as such; an answer to a cross-claim, if
          the answer contains a cross-claim; a third-party complaint pursuant to R. 4:8; a
          third-party answer, if a third party complaint is served; and a reply, if an
          affirmative defense is set forth in an answer and the pleader wishes to allege any
          matter constituting an avoidance of the defense. No other pleading is allowed.").
       D-19 The term "complaint" refers to the complaint filed in this case (or if
          amendments were filed thereto, the term instead refers to such amended
          pleadings).
       D-20 The term "answer" refers to the answer to the counterclaim filed in this case
         (or if amendments were filed thereto, the term instead refers to such amended
          pleadings).
       D-21 The term "responsive pleading" refers to any responsive pleading filed in this
          case and in response to the counterclaim filed in this case, inclusive of any
          counterclaim or third party complaint contained/pled therein (or if amendments
          were filed thereto, the term instead refers to such amended pleadings).


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       D-22 The term "counterclaim" refers to any counterclaim filed in this case (or if
           amendments were filed thereto, the term instead refers to such amended
           pleadings).
       D-23 The term "crossclaim" refers to any crossclaim filed in this case (or if
          amendments were filed thereto, the term instead refers to such amended
           pleadings).
       D-24 The term "third party complaint" refers to any third party complaint filed in
          this case (or if amendments were filed thereto, the term instead refers to such
          amended pleadings).
       D-25 The term "the contract" refers to the contract or agreement referred to in the
          complaint or contracts or agreements so referred to (if there are more than one).
       D-26 The term "the services" refers to the services referred to in the complaint, if
          applicable.
       D-27 The term "the vehicle" refers to the vehicle referred to in the complaint.
       D-28 The term "the warranty" refers to the written warranty (or written warranties)
          referred to in the complaint.
       D-29 The term "the problems" refers to the problems referred to in the complaint.
       D-30 The term "the defect" refers to the defect referred to in the complaint, if
          applicable.
       D-31 The term "repair invoice" refers to the itemized, legible statement of repair
         (including but not limited to documents titled "repair order") which indicates any
          diagnosis made and all work performed on the vehicle by the manufacturer's
          franchise automotive dealerships or by automotive dealerships that the
          manufacturer authorized to perform warranty repairs to the vehicle.
       D-32 The term "the dealer' refers to the dealer identified in the complaint.
       D-33 The term "the warranty period" refers to the time and mileage period
          specified in the warranty for the performance of repairs to the vehicle under the
          warranty.
       D-34 The term "automotive dealership" refers to any dealership with which you
          ever had any franchise relationship via which that dealership sold new
          automobiles at the retail level, based on a dealership contract with you or one of
          your subsidiaries and that also serviced said automobiles pursuant to the
          warranties that you issued with the sale of such vehicles.
       D-35 The term "repair invoice" refers to the itemized, legible statement of repair
          which indicates any diagnosis made and all work performed on a vehicle that the
          manufacturer, or, in the case of an authorized emergency vehicle, the
          manufacturer, co-manufacturer, or post-manufacturing modifier, through its
          dealer or distributor, shall provide to the consumer each time a consumer's motor
          vehicle is returned from being examined or repaired during the period specified in
          N.J.S.A. 56:12-31.
       D-36 The term "dealer" refers to a person who is actively engaged in the business
          of buying, selling or exchanging motor vehicles at retail and who has an
          established place of business as defined by N.J.S.A. 56:12-30.
       D-37 The term "distributor" refers to a vehicle distributor as referred to by N.J.S.A.
         56:12-31(a).




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       D-38 The term "the lemon period" refers to the period specified in N.J.S.A. 56:12-
           31, i.e., "during the first 24,000 miles of operation or during the period of two
           years following the date of original delivery to the consumer, whichever is
          earlier".
       D-39 The term "the warranty period" refers to the time and mileage period
          specified on page 9 of the warranty, i.e., "This warranty begins on the date the
           vehicle is put into use in one of the following ways: The vehicle is delivered to
           the first purchaser by an authorized Honda automobile dealer. The vehicle is
           leased. The vehicle is used as a demonstrator or company vehicle. Your vehicle
           is covered for 3 years or 36,000 miles, whichever comes first."
       D-40 The term "complaints" refers to plaintiffs' report of concerns or expressions
          of discontent.
       D-41 The term "class member" or "class members" refers to each person or
           persons who purchased or leased or registered a 2021 MERCEDES BENZ 450
          GLE vehicle in New Jersey.
       D-42 The term "class vehicle" or "class vehicles" refers to any 2021
          MERCEDES BENZ 450 GLE purchased or leased or registered in New Jersey.
                                         INTERROGATORIES
       1. MISSING ITEMS. Are there any items that you know or believe to be in
          existence, although not in your possession or control, that in any way relate to
          the subject matter of this litigation? If so, identify each such item, set forth the
          source of your information or belief regarding the existence of such item, and
          identify the first and last name, business and home address, employer and job
          title of the person or name and address of the entity in whose possession or
          control such item is known or believed to be. If you lost and/or misplaced
          and/or destroyed and/or erased any items and/or file(s) and/or data in your
          possession and/or care and/or control referring or relating to the case or to the
          facts or allegations stated or pled in any pleading filed in this case, provide the
          date you became aware that you had lost and/or misplaced and/or destroyed
          said items and/or file(s), a detailed description of the items that you lost and/or
          misplaced and/or destroyed and the complete street address where the items
          were last located before they were lost and/or misplaced.




       2. STATEMENTS. Has anyone made a statement regarding this lawsuit? If so,
          was the statement was oral or in writing, when was it made, what are the first
          and last names, business or home addresses, employer,job titles and
          technician or employee numbers of the persons making the statement, to whom
          it was made and who was present when made? Unless subject to a claim of
          privilege, which must be specified, provide a copy of the statement, if it is in
          writing and if recorded, the recording of the statement or if the statement was
          oral and no recording was made, provide a detailed summary of its contents.
          For purposes of defining the term "statement", please refer to Rule 4:10-2. If


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           you claim a privilege precludes production of such materials, as required by the
           instructions to this demand, please provide the party or parties serving this
           request on you with a privilege log.




       3. ADMISSIONS AND DECLARATIONS. If you know of any admissions or
          declarations against interest made by any party to this action or of any of such
          party's agents, independent contractors, contractors, subcontractors, principals,
          servants, salesmen, workmen, employees, technicians, advisors, attorneys or
          other representatives and all other persons acting on behalf of such party, for
          each, provide: the date each was made, the first and last names, business or
          home addresses, employer, job titles and technician or employee numbers of
          the person or persons making it and to whom it was made and who were
          present at the time it was made. Provide each and every fact upon which you
          base your opinion that the substance provided in your answer to the preceding
          interrogatory constitutes an admission or declaration against interest.




       4. DEFENSES TO THE COMPLAINT. With respect to every AFFIRMATIVE OR
          SEPARATE DEFENSE alleged by you in your answer to the complaint, provide
          each and every fact that supports the defense, the first and last names, business
          or home addresses, employer, job titles and technician or employee numbers of
          the person or persons who provided the information to you and/or who have any
          knowledge regarding the factual basis for the defense and provide every item
          supporting the defense or that may be or is relevant thereto.




       5. PARTIES OR FACTUAL ALLEGATIONS OF THE COMPLAINT. If you deny any
          of the paragraphs contained in the sections of the complaint titled "PARTIES" or
          "FACTUAL ALLEGATIONS", provide each and every fact that supports such
          denials, the first and last names, business or home addresses, employer, job
          titles and technician or employee numbers of the person or persons who
          provided the information to you and/or who have or may have any knowledge
          regarding the factual basis for the denials or that may be or is relevant thereto
          and provide every item supporting the denials or that may be or is relevant
          thereto.



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       6. COMPLAINT COUNT 1. If you deny any of the allegations of COMPLAINT
          COUNT 1, provide each and every fact that supports such denials, the first and
          last names, business or home addresses, employer,job titles and technician or
          employee numbers of the person or persons who provided the information to
          you and/or who have or may have any knowledge regarding the factual basis for
          the denials or that may be or is relevant thereto and provide every item
          supporting the denials or that may be or is relevant thereto.




       7. COMPLAINT COUNT 2. If you deny any of the allegations of COMPLAINT
          COUNT 2, provide each and every fact that supports such denials, the first and
          last names, business or home addresses, employer, job titles and technician or
          employee numbers of the person or persons who provided the information to
          you and/or who have or may have any knowledge regarding the factual basis for
          the denials or that may be or is relevant thereto and provide every item
          supporting the denials or that may be or is relevant thereto.




       8. COMPLAINT COUNT 3. If you deny any of the allegations of COMPLAINT
          COUNT 3, provide each and every fact that supports such denials, the first and
          last names, business or home addresses, employer, job titles and technician or
          employee numbers of the person or persons who provided the information to
          you and/or who have or may have any knowledge regarding the factual basis for
          the denials or that may be or is relevant thereto and provide every item
          supporting the denials or that may be or is relevant thereto.




       9. COMPLAINT COUNT 4. If you deny any of the allegations of COMPLAINT
          COUNT 4, provide each and every fact that supports such denials, the first and
          last names, business or home addresses, employer, job titles and technician or
          employee numbers of the person or persons who provided the information to
          you and/or who have or may have any knowledge regarding the factual basis for



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          the denials or that may be or is relevant thereto and provide every item
          supporting the denials or that may be or is relevant thereto.




       10.EXPERT WITNESSES. Pursuant to R. 4:17-4(e), provide the names and
           addresses of any and all of your proposed expert witnesses, including those you
          consulted relative to the facts of this case or relative to any pleading filed in this
          case, a description in detail the qualifications of the expert, including a list of all
           publications authored by the witness within the preceding ten years and attach a
          copy of each expert's current resume or curriculum vitae and an explanation of
          whether compensation has been or is to be paid for preparing any expert reports
          and/or providing any opinions and/or testimony and, if so, the terms of the
          compensation, including the amount of compensation in United States Dollars.
          Produce true copies of all written reports provided to you by any such proposed
          expert witnesses. For your experts who may or are expected to testify at trial
          and/or arbitration, provide a detailed description of the subject matter on which
          your experts are expected to testify, a detailed description of the substance of
          the facts and opinions to which your experts are expected to testify and a
          summary of the factual grounds for each opinion and the facts and data
          considered in forming the opinions and any items (including but not limited to
          videos, photographs, charts, graphs or illustrations) that they made of anything
          relevant to the allegations of any pleadings filed in this case or any denials of
          any pleadings filed in this case or defenses pled thereto or that they shall or may
          use or testify about at any arbitration or trial of this matter. Be sure to include in
          response to this question each item that the expert relied on by in the
          formulation of their opinion. If the expert intends to rely upon or offer into
          evidence any textbook, paper or authority to substantiate any opinions and
          conclusions or to rely upon the same in your examination or cross-examination
          of any experts, provide the exact title of each such textbook, paper or authority,
          the first and last names of its authors, the name and address of its publisher and
          the date when published.




       1 1. PERSONS WITH KNOWLEDGE & FACT WITNESSES. For each person or
           entity who has any knowledge whatsoever which is material and relevant or
            which pertains in any way to the subject matter of this action and/or to the
           events or allegations pled or alleged or stated in the pleadings filed in this case
           or any defenses thereto, provide their business or home addresses,job titles
           and technician or employee numbers, your relationship, if any, to said persons, a
            description of such information known and how it relates to this matter. If you


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           intend to call them as a fact witness at any mediation, arbitration and/or trial of
           this matter, provide the substance of the facts and/or opinions to which said
           person is expected to testify, a summary of the grounds for any layperson
           opinion testimony you intend to offer via said individual and all items that they
           shall use or rely on when testifying or testify about.




        12.COMMUNICATIONS. If you or your agents, servants or employees had any
           conversations with anyone else regarding any of the allegations pled, stated or
           alleged in any pleading filed in this case or the events alleged therein, for each,
           provide the dates of the conversation(s), the street address of the
           conversation(s), the first and last names, business or home addresses,
           employer, job titles and technician or employee numbers of the participants in
           the conversations as well as those present during the conversations, a brief
           detailed description of the substance of each conversation and if recorded or
           reduced to writing, produce copies of the recording or writing.




       13.OTHERS RESPONSIBLE FOR MISCONDUCT. If you claim that misconduct or
          cause of action alleged in any pleading that you filed in this case is the result of
          the actions of a person or business other than you, provide the names,
          telephone numbers, street addresses and job titles of each and every such
          person or business whose actions are to blame for the aforesaid alleged
          misconduct, each and every fact supporting that claim and all items that support
          your response to this interrogatory or that you may or shall rely upon or use to
          prove that claim.




       14.ADVERSARY'S VERSION OF DISPUTE. Provide your version of the facts of
          this dispute, including in said description the day, month and year of all events
          described in your narrative, the first and last names, business or home
          addresses, employer,job titles and technician or employee numbers of all
          persons that you refer to in your narrative and provide all items that support your
          response to this interrogatory.




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        15. RELIEF SOUGHT BY PARTY OR PARTIES SERVING THIS REQUEST ON
           YOU. If you contend that the party or parties serving this request on you is/are
           not entitled to any of the forms of relief that they requested or demanded in any
           pleading that they filed in this case (including a repurchase of the vehicle
            pursuant to N.J.S.A. 56:12-29, et seq. and an award of attorney's fees and
           litigation expenses), provide each and every fact that supports such contention,
           the first and last names, business or home addresses, employer, job titles and
           technician or employee numbers of each person having knowledge or claiming
           to have knowledge of any facts regarding or supporting such contention and any
           and all items supporting such contention.




       16. DENIAL OF ISSUANCE OF VEHICLE WARRANTY. If you deny issuing or
           providing a warranty to the party or parties serving this request on you, provide
          each and every fact that supports such contention, the first and last names,
           business or home addresses, employer, job titles and technician or employee
          numbers of each person having knowledge or claiming to have knowledge of
          any facts regarding or supporting such contention and any and all items
          supporting such contention.




       17.ADMISSION OF ISSUANCE OF VEHICLE WARRANTY. If you admit to issuing
          or providing a warranty to the party or parties serving this request on you,
          provide an explanation of the terms of the warranty, including the number of
          miles or time period during which the vehicle is covered under the warranty, any
          limits to or restrictions on coverage under the warranty and any exclusions
          stated in the warranty.




       18.VEHICLE WARRANTY — REPAIR ATTEMPTS. If, during the warranty period,
          you or any automotive dealership or any automotive dealership service
          department ever performed or attempted to perform any diagnosis of or repair
          attempt or service to the vehicle under the warranty or pursuant to the warranty
          or in response to a request by anyone made pursuant to the warranty, provide
          the date and the odometer reading when the vehicle was submitted for


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          examination or repair, the date and the odometer reading when the vehicle was
          made available to the party or parties serving this request on you following the
          examination or repair, the repair invoice number itemizing the repair, and a•
          general description of the problem reported by the consumer or an identification
          of the problem reported by the consumer or an identification of the defect or
          condition and the source or cause of the problem, defect or condition or
          condition, if any.




       19.VEHICLE INSPECTIONS. For each inspection of the vehicle (or any portions or
          components thereof) that you or any of your expert witnesses, field service
          engineers, zone or regional representatives, employees, independent
          contractors, contractors, subcontractors, principals, servants, salesmen,
          workmen, employees, technicians, advisors or other representatives and all other
          persons acting on behalf of you ever performed or attempted to perform, provide
          the first and last names, business or home addresses, employer,job titles and
          technician or employee numbers of every individual who was present when it
          took place, the street address where it took place and an explanation of the
         specific areas/components/parts of the vehicle to which the inspection pertained
          or which it involved and an explanation of the findings or conclusions, if any,
          made as a result of the inspection. If any kind of document or other writing or
          report or summary was prepared discussing or mentioning the inspection,
          provide a copy of that document or writing or report or summary.




       20.VEHICLE WARRANTY - NUMBER OF DAYS UNDERGOING REPAIRS. If,
          d uring the warranty period, you or any automotive dealership or any automotive
          dealership service department ever performed or attempted to perform any
          diagnosis of or repair attempt or service to the vehicle under the warranty, how
          many days in total was the vehicle in the possession of your or any automotive
          dealership or any automotive dealership service department awaiting to be
          diagnosed or repaired or undergoing diagnosis or repair?




       21. REFUSAL TO PERFORM REPAIRS UNDER WARRANTY. If you or any
           automotive dealership or any automotive dealership service department ever
           refused to perform any diagnosis of or repair attempt or service to the vehicle


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          under the warranty or you refused to reimburse any such automotive dealership
          or automotive dealership service department for the performance of such
          diagnosis of or repair attempts, service or repair attempt to the vehicle, provide
          the date of the refusal, the odometer reading of the vehicle when the refusal
          occurred, the place where the refusal occurred, the number of any corresponding
          repair invoice referring to the refusal, the first and last names, business or home
          addresses, employer, job titles and technician or employee numbers of every
          individual who have or may have any knowledge regarding the factual basis for
          the refusal or that may be or is relevant thereto and provide every item
          supporting the refusal or that may be or is relevant thereto.




       22. REPAIRS PERFORMED. If you or any automotive dealership or any automotive
          dealership service department ever performed or attempted to perform any
          diagnosis of or repair attempt or service to the vehicle under the warranty or you
          reimbursed any such automotive dealership or automotive dealership service
          department for the performance of such diagnosis of or repair attempts, service
          or repair attempt to the vehicle, provide the date begun, the date concluded, the
          odometer reading of the vehicle when begun, the odometer reading of the vehicle
          when concluded, the number of any corresponding repair invoice referring to the
          work, the first and last names, business or home addresses, employer, job titles
          and technician or employee numbers of every individual who have or may have
          any knowledge regarding the work or that may be or is relevant thereto, an
          explanation of why the repairs were performed and provide every item supporting
          your response to this interrogatory.




       23. BULLETINS OR SERVICE CAMPAIGNS ISSUED. If you ever issued or
           prepared any technical service bulletins, recalls or service campaigns for the
          same year, make and model of vehicle as the vehicle, provide the date the action
          was taken, a description of the technical service bulletins, recalls or service
          campaigns and the reason for their issuance or preparation and provide
          complete copies of each.




       24. BULLETINS OR SERVICE CAMPAIGNS PERFORMED. If you or any
          automotive dealership or any automotive dealership service department ever


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          performed or attempted to perform any technical service bulletins, recalls or
          service campaigns to the vehicle, provide the date and the odometer reading
          when the vehicle was submitted for its performance, the date and the odometer
          reading when the vehicle was made available to the party or parties serving this
          request on you following its performance, the repair invoice number itemizing its
          performance, and a description of the technical service bulletins, recalls or
          service campaigns so performed and provide complete copies of each.




       25.ALLEGATIONS OF ACCIDENT, ABUSE, MISUSE, NEGLECT, MODIFICATION
          OR LACK OF MAINTENANCE. If you claim that the problems or any of the
          issues complained of by the plaintiffs or discussed in the complaint were caused
          in whole or part by accident, abuse, misuse, neglect, modification, alteration or
          lack of maintenance involving the vehicle, provide each and every fact that
         supports such contention, the first and last names, business or home addresses,
         employer, job titles and technician or employee numbers of each person having
          knowledge or claiming to have knowledge of any facts regarding or supporting
         such contention and any and all items supporting such contention.




       26. DENIAL OF RECEIPT OF COMPLAINTS AND EFFORTS TO ADDRESS
          COMPLAINTS. If you deny receiving any complaints from the party or parties
          serving this request on you (or from their attorney) about the problems or the
          operation of the vehicle or services that the dealer or any automotive dealership
           performed to the vehicle or refused to perform to the vehicle, provide each and
          every fact that supports such denials, the first and last names, business or home
          addresses, employer, job titles and technician or employee numbers of the
           person or persons who provided the information to you and/or who have or may
          have any knowledge regarding the factual basis for the denials or that may be or
          is relevant thereto and provide every item supporting the denials or that may be
          or is relevant thereto.




       27.ADMISISON OF RECEIPT OF COMPLAINTS AND EFFORTS TO ADDRESS
          COMPLAINTS. If you received any complaints from the party or parties serving
          this request on you (or from their attorney) about the problems or the operation
          of the vehicle or services that the dealer or any automotive dealership performed


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          to the vehicle or refused to perform to the vehicle, provide the date received, the
           manner received (e.g., through complaints made to any automotive dealership
          or any automotive dealership service department or, a phone call made to you
          or correspondence forwarded or emailed to you), a description of the complaints
          so received, the first and last names, business or home addresses, employer,
          job titles and technician or employee numbers of the person or persons who
          have or may have any knowledge regarding the complaints so received and
          what, if anything, you or anyone else did to address or respond to such
          complaints, including the particulars of any inspections or repair attempts made.




       28.PAYMENT FOR REPAIRS. If you ever paid any automotive dealership or any
          automotive dealership service department or anyone else for the performance of
          any diagnosis of or repair attempt or service to the vehicle, provide the date
          begun, the date concluded, the odometer reading of the vehicle when begun, the
          odometer reading of the vehicle when concluded, the number of any
          corresponding repair invoice referring to the work, the first and last names,
          business or home addresses, employer, job titles and technician or employee
          numbers of every individual who have or may have any knowledge regarding the
          work or that may be or is relevant thereto, explain why you paid for the work and
          provide every item supporting your response to this interrogatory.




       29. REFUSAL TO PAY FOR REPAIRS. If you ever refused to pay for the
           performance of any diagnosis of or repair attempt or service to the vehicle or to
           reimburse any automotive dealership or any automotive dealership service
          department or anyone else for the performance of any diagnosis of or repair
          attempt or service to the vehicle;provide the date of the refusal, the odometer
           reading of the vehicle when the refusal occurred, the number of any
          corresponding repair invoice referring to the refusal, the first and last names,
           business or home addresses, employer, job titles and technician or employee
           numbers of every individual who have or may have any knowledge regarding the
          refusal or that may be or is relevant thereto, explain for such refusal and provide
          every item supporting your response to this interrogatory.




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       30.INVESTIGATIONS. If you or any of your expert witnesses, field service
          engineers, zone or regional representatives, employees, independent
          contractors, contractors, subcontractors, principals, servants, salesmen,
          workmen, employees, technicians, advisors or other representatives and all other
          persons acting on behalf of you ever conduct or cause to be conducted an
          investigation into the factual allegations pled or stated or alleged in the complaint
          or any pleading filed in response thereto in this case, without disclosing
          information subject to the attorney client privilege or work product doctrine,
          provide the date of the investigation, the first and last names, business or home
          addresses, employer, job titles and technician or employee numbers of all
          persons who participated in or conducted the investigation and who requested
          the investigation or who directed or instructed that the investigation to take place,
          a brief description of the results of the investigation, the street address where the
          investigation occurred, if applicable, the date that the investigation was
          completed or concluded and an explain if the findings of the investigation were
          reduced to writing and if so, attach a copy of those findings to your response to
          this interrogatory.




       31. CLASS MEMBER INFORMATION. For each class member, provide their first
           and last names and last known street addresses and the vehicle identification
           number and trim level of their class vehicle. Also provide the day, month and
           year that they purchased or leased or registered in New Jersey any 2021
           MERCEDES BENZ 450 GLE vehicle during the duration of a warranty applicable
          to that vehicle or entitled by the terms of that warranty to enforce the obligations
          of that warranty. Include in your answer each class member's first and last name
          and last known address and the class vehicle's vehicle identification number.




       32.CLASS VEHICLE NCLL REPAIRS. For each class vehicle that was ever
          returned from being examined or repaired by any automotive dealership during
          the lemon period, provide the date and the odometer reading when the class
          vehicle was submitted for examination or repair and returned from being
          examined and repaired, the name and address of the dealership where the
          examination or repair occurred, the general description of the problem reported
          by the consumer or an identification of the problem reported by the consumer or
          an identification of the defect or condition and the source or cause of the
          problem, defect or condition, if any and as required to be itemized by N.J.S.A.
          56:12-34(b). Include the vehicle identification number of that class vehicle and



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          the first and last name and last known address of the class member owning or
          leasing that class vehicle and the repair invoice number.




       33.CLASS VEHICLE WARRANTY REPAIRS. For each class vehicle that was ever
          returned from being examined or repaired by any automotive dealership during
          the warranty period, provide the date and the odometer reading when the class
          vehicle was submitted for examination or repair and returned from being
          examined and repaired, the name and address of the dealership where the
          examination or repair occurred, the general description of the problem reported
          by the consumer or an identification of the problem reported by the consumer or
          an identification of the defect or condition and the source or cause of the
          problem, defect or condition, if any and as required to be itemized by N.J.S.A.
          56:12-34(b). Include the vehicle identification number of that class vehicle and
          the first and last name and last known address of the class member owning or
          leasing that class vehicle and the repair invoice number.




       34.CLASS VEHICLE INSPECTIONS. For each inspection of any class vehicle (or
          any portions or components thereof) that you or any persons retained by you to
          serve as expert witnesses or your field service engineers, zone or regional
          representatives, employees, independent contractors, contractors,
          subcontractors, principals, servants, salesmen, workmen, employees,
          technicians, advisors or other representatives and all other persons acting on
          behalf of you ever performed or attempted to perform, provide the first and last
          names, business or home addresses, employer,job titles and technician or
          employee numbers of every individual who was present when it took place, the
          street address where it took place and an explanation of the specific
          areas/components/parts of the vehicle to which the inspection pertained or which
          it involved and an explanation of the findings or conclusions, if any, made as a
          result of the inspection. If any kind of document or other writing or report or
          summary was prepared discussing or mentioning the inspection, provide a copy
          of that document or writing or report or summary.




       35.ITEMS REFERRED TO IN RESPONSE TO INTERROGATORIES. For each item
          you referred to or listed in response to any of the interrogatory questions


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          stated/contained/posed in this set of interrogatories, provide a legible copy of the
          item. If you object to doing so on the grounds of privilege, pursuant to R. 4:10-2
          and R. 4:18-1 and so as to enable the party or parties serving this request on you
          to assess the applicability of the privilege or protection, provide a privilege log
          listing the date of the item withheld if applicable, a brief detailed description of the
          item withheld (i.e., letter, contract, email, etc.), the author, the recipient or to
          whom it is addressed if applicable and basis of the privilege which you claim
          precludes production.




       36. RECORDS CUSTODIAN. For each item you referred to, listed or produced in
           response to any of the interrogatory questions stated/contained/posed in this set
          of interrogatories or in response to any notice to produce that the party or parties
          serving this request on you served on you in this case, provide the name,
          business address, phone number and job title of your custodian of records or
          records keeper who has control, custody or care of the items and/or who is able
          to produce same and testify as to the item's authenticity or accuracy or chain of
          custody, if subpoenaed.




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                           CORPORATE/COMPANY CERTIFICATION

                                        , am an employee of                              and I
     declare that, for purposes of answering these interrogatories, I am the authorized agent
     of said entity. I hereby certify the foregoing statements made by me in these
     interrogatory responses are true. I am aware that if any of the foregoing statements
     made by me are willfully false, I am subject to punishment. I hereby certify that the
     copies of reports annexed hereto rendered by proposed expert witnesses are exact
     copies of the entire report or reports rendered by them; that the existence of other
     reports of said experts, either written or oral, are unknown to me and if such become
     latter known or available, I shall serve them promptly upon the party or parties serving
     this request.



     Date                Job Title                         Signature




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                                  INDIVIDUAL CERTIFICATION

                                           hereby certify the foregoing statements made by me
     in these interrogatory responses are true. I am aware that if any of the foregoing
     statements made by me are willfully false, I am subject to punishment. I hereby certify
     that the copies of reports annexed hereto rendered by proposed expert witnesses are
     exact copies of the entire report or reports rendered by them; that the existence of other
     reports of said experts, either written or oral, are unknown to me and if such become
     latter known or available, I shall serve them promptly upon the party or parties serving
     this request.


     Dated:
                                                     Signature




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    JERRY SCATTAGLIA, INDIVIDUALLY AND   SUPERIOR COURT OF NEW JERSEY
    ON BEHALF OF ALL OTHERS SIMILARLY    LAW DIVISION, CIVIL PART
    SITUATED,                            MIDDLESEX COUNTY
                            PLAINTIFFS', CIVIL ACTION
                     V.                  DOCKET NO. MID-L-
    MERCEDES-BENZ USA, LLC AND JOHN
    DOES 1-10,                           FIRST NOTICE TO PRODUCE
                           DEFENDANTS.


    PLEASE TAKE NOTICE that pursuant to Rule 4:18, et seq., and/or Rule 6:4-3 you are
    demanded to produce true and complete copies of the following items and other


    1 As used in this document, use of the plural includes the singular, where applicable. The
    parties are referred to in the plural regardless of their actual number.



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     tangible evidence for inspection and copying at the office address listed in the caption of
     this request between the hours of 10:00 a.m. and 4:00 p.m. Eastern Standard Time and
     within the time frame set forth under the New Jersey Court Rules. TAKE FURTHER
     NOTICE that these requests are deemed continuing so as to require supplemental
     responses should the party to whom they are addressed or such party's counsel obtain
     further or supplemental items between the time the answers are served and the final
     date prior to trial for submitting answers as provided by the New Jersey Court Rules.
     TAKE FURTHER NOTICE that, if this discovery demand is addressed to more than one
     entity and/or individual, subject to the New Jersey Court Rules, unless certifications
     signed by each party to whom this demand is addressed are timely received, an
     appropriate motion shall be filed.

                                              INSTRUCTIONS
         1-1 Whenever the term "and/or" is used herein, the information called for should be
             set forth both in the conjunctive and disjunctive and wherever the information is
             set out in the disjunctive, it should be given separately for each and every
             element sought.
         1-2 Leave no answer blank. If the answer to a question and/or paragraph is "none" or
             "unknown", such statement must be written in the answer. If the question is
              inapplicable, "N/A" must be written in the answer, along with the reasons why
             such is the case.
        1-3 If an answer is omitted because of the claim of privilege, pursuant to R. 4:10-2
             and R. 4:18-1 and so as to enable the party or parties serving this request on you
             to assess the applicability of the privilege or protection, provide a privilege log
             listing the date of the item withheld if applicable, a brief detailed description of the
             item withheld (i.e., letter, contract, email, etc.), the author, the recipient or to
             whom it is addressed if applicable and basis of the privilege which you claim
             precludes production.
        1-4 Answer each paragraph separately and fully in writing, unless it is objected to, in
             which event the reasons for objection must be provided in lieu of a response.
        1-5 The answers to this request shall reflect the cumulative knowledge of all agents,
             independent contractors, contractors, subcontractors, principals, servants,
             salesmen, workmen, employees, technicians, advisors, attorneys or other
             representatives and all other persons acting on behalf of the answering party.
        1-6 If a question asks for a name, where applicable, provide the first and last names
             for any individuals that you identify in response to the question.
        1-7 If a question asks for an address, where applicable, provide the street address
            (including zip code, road, provide or province and if outside the United States of
             America, name of the country where the address is located).
        1-8 Time period — unless otherwise indicated, the information being requested in this
             request shall relate to the period set forth in the complaint filed in this case. and
             its exhibits (if any) to the present.
        1-9 Be advised that, under the New Jersey Court Rules, an evasive or incomplete
             answer is deemed to be a failure to answer and the party or parties serving this
             request on you shall file a motion to suppress your pleading and/or to compel
             answers and/or production and shall seek fees relative to same.


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        1-10 Be advised that, under the New Jersey Court Rules, you have a duty to disclose
            all information known to you and further, to make reasonable inquiry and
            thereafter to disclose all information to which you have gained access after such
            reasonable inquiry.
        1-11 In producing the items designated below, you are directed to furnish all items
            known or available to you regardless of whether an item is currently in your
             possession, custody or control, or that of your attorneys, employees, agents,
            investigators or other representatives, or is otherwise available to you.
        1-12 If for any reason you are unable to produce in full any document requested,
            then: Produce each such document to the fullest extent possible; Specify in
            writing the reasons for your inability to produce the remainder; and State in detail
            whatever information, knowledge, or belief you have concerning the whereabouts
            and substance of each such item not produced in full.
        1-13 If any item requested was at one time in existence, but is no longer in existence,
            then state for each such item: The type of item; The types of information
            contained therein; The date upon which it ceased to exist; The circumstances
            under which it ceased to exist; The identity of all persons having knowledge of
            the circumstances under which it ceased to exist; and The identity of all persons
            having knowledge, or having had knowledge, of the contents thereof.
        1-14 For each item requested which you are unable to produce and which was at any
            time within your possession, custody or control, or to which you had access at
            any time, specify in detail: The nature of the item (i.e., letter, memorandum, etc.);
           The author of the item; All recipients of the item and/or any copy thereof; A
           summary of the information contained in the item; The date on which you lost,
            relinquished, or otherwise ceased to have possession, custody, control of, or
           access to the item; The identity of all persons having knowledge of the
           circumstances whereby you lost, relinquished, or otherwise ceased to have
            possession, custody or control of, or access to the item; and The identity of all
            persons who have or who have had knowledge of the contents of the item, in
           whole or in part.
       1-15 In the event you seek to, or in fact do, withhold any item, in whole or in part, on
           the alleged basis that it is not subject to discovery, then and in that event you are
           to produce a list of each and every such item and to state as to each: The name
           of each and every author, writer, sender or initiator of the item; The name of each
           and every recipient, addressee or party to whom the item was sent or was
           intended to be sent; The name of each and every person who received a copy of
           the item; The date of the item or, if no date appears on the item, then the date
           the item was prepared; The title of the item, or if it has no title, then such other
           detailed description of the item and its subject matter as shall be sufficient to
           identify the item; and The grounds claimed for withholding the item from
           discovery (e.g., attorney-client privilege, work product, or any other grounds), and
           the factual basis for such claim.
       1-16 As to each item produced, you are directed to designate in writing the paragraph
           and subparagraph of this demand to which each such item is responsive.
                                            DEFINITIONS




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       D-1 The terms "and" and "or" and any other conjunctions or disjunctions used herein
           shall be read both conjunctively and disjunctively so as to require the production
           of all items (as hereinafter defined) responsive to all or any part of each particular
           demand for production in which any conjunction or disjunction appears.
       D-2 The term "person" means an individual, firm, corporation, association,
           organization or any other entity.
       D-3 The term "items" when used herein shall mean all documents, sound
           recordings, video recordings, images (digital or otherwise), photographs,
           blueprints, drawings, spreadsheets, photocopies, audio files, paper files, digital
           files, papers, books, journals, folders, records, writings, correspondence, notes,
          electronic mails a/k/a emails, facsimile transmissions a/k/a faxes, telegrams,
           memoranda, letters (sent or received), finance agreements, listing agreements,
           purchase orders, photographs, videos, discs, tape recordings and any log and/or
          transcript thereof, reports, studies, summaries, minutes, notes, agenda, bulletins,
           notices, announcements, instructions, charts, manuals, brochures, schedules,
           price lists, teletypes, microfilms, telegrams, newspaper articles, magazines,
          advertisements, periodicals, bulletins, circulars, pamphlets, statements, rules,
          regulations, directives, minutes of meetings, interoffice communications, ledgers,
           books of account, proposals, prospectuses, offers, orders, receipts, working
           papers, desk calendars, appointment books, diaries, time sheets, logs, movies,
          tapes for visual or audio reproduction, illustrations, drawings, graphs, charts,
          photographs, data processing results, printouts and computations, contracts
         (including original items), service contracts, warranties, guarantees, we owe
          slips, promissory notes, receipts, invoices, purchase orders, estimates, bills,
          billing statements, canceled checks, direct deposit statements, electronic funds
          transfer statements, credit card statements, bank transfer statements and
          statements as that term is defined by R. 4:10-2(c). In all cases where original
          and/or non-identical copies are not available, "items" also means identical copies
          of original items and copies of non-identical copies. The term "items" should also
          be broadly construed to include but not limited to all electronic media or other
          tangible forms in which information is stored and includes all written or graphic
          matter of every kind and description, however produced or reproduced,
          WHETHER DRAFT or FINAL, original or reproduction,(both in existence and
          stored in memory components) and other compilations from which information
          can be obtained or translated, if necessary, through detection devices into
          reasonably usable form and all copies of an item which contain any additional
          writing, underlining, notes, deletions, or any other markings or notations, or are
          otherwise not identical copies of the original.
       D-4 The term "file" or "files" includes all electronic mails, electronic files and
          electronic folders and data stored therein or organized via same (excluding items
          covered by the attorney client privilege or work product doctrine — for such items
          please provide the privilege log as referenced in the instructions above).
       D-5 The terms "regarding" and "relative to" shall mean "about".
       D-6 The term "relate to" or "relating to" shall mean consist of, refer to, reflect or be
          in any way logically or factually connected with the matter discussed.
       D-7 The term "related" means related or about or connected with.


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       D-8 The term "fact" refers to all evidentiary facts presently known to you and all
          evidentiary facts, the existence of which is presently inferred by you from the
          existence of any combination of evidentiary and/or ultimate fact.
       D-9 The term "you" or "yours" refers to the individuals and/or companies and/or
          institutions to which this request is addressed and it shall be construed to mean
          not only the party answering in his, her, their or its own right, but shall also mean
          his, her, their or its agents, independent contractors, contractors, subcontractors,
          principals, servants, workmen, salesmen, employees, technicians, advisors,
          attorneys or other representatives and all other persons acting on behalf of the
          answering party.
       D-10 The term "incident" refers to the incident or facts referenced or alleged in the
          complaint.
       D-11 The term "plaintiff" or "plaintiffs" refers to the plaintiff or plaintiffs identified
          and/or named in the complaint.
       D-12 The term "defendants" refers collectively to all of the defendants identified in
          the complaint.
       D-13 The terms "party" and "parties" refers to any and all parties who are named
          to any pleading filed in this case.
       D-14 The terms "any other party" and "any other parties" or "any party" refers to
          any party/parties to this case other than yourself and includes any plaintiffs
          named to this case.
       D-15 The term "statement" is to be construed to have a meaning consistent with R.
          4:10-2: (1) a written statement signed or otherwise adopted or approved by the
          person making it, or (2) a stenographic, mechanical, electronic, or other
          recording, or a transcription thereof, which is a substantially verbatim recital of an
          oral statement by the person making it and contemporaneously recorded.
       D-16 The term "R." is to be construed as an abbreviation for the word "rule" and to
          refer to the New Jersey Court Rules.
       D-17 The terms "the case" or "this case" refers to this lawsuit as referenced in the
          caption set forth above.
       D-18 The term "pleading" refers to any pleading filed in this case. as defined by R.
          4:5-1(a)(e.g., "Pleadings Allowed. There shall be a complaint and an answer; an
          answer to a counterclaim denominated as such; an answer to a cross-claim, if
          the answer contains a cross-claim; a third-party complaint pursuant to R. 4:8; a
          third-party answer, if a third party complaint is served; and a reply, if an
          affirmative defense is set forth in an answer and the pleader wishes to allege any
          matter constituting an avoidance of the defense. No other pleading is allowed.").
       D-19 The term "complaint" refers to the complaint filed in this case.(or if
          amendments were filed thereto, the term instead refers to such amended
          pleadings).
       D-20 The term "answer" refers to the answer to the counterclaim filed in this case.
         (or if amendments were filed thereto, the term instead refers to such amended
          pleadings).
       D-21 The term "responsive pleading" refers to any responsive pleading filed in this
          case. and in response to the counterclaim filed in this case., inclusive of any




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           counterclaim or third party complaint contained/pled therein (or if amendments
           were filed thereto, the term instead refers to such amended pleadings).
       D-22 The term "counterclaim" refers to any counterclaim filed in this case. (or if
          amendments were filed thereto, the term instead refers to such amended
           pleadings).
       D-23 The term "crossclaim" refers to any crossclaim filed in this case. (or if
          amendments were filed thereto, the term instead refers to such amended
           pleadings).
       0-24 The term "third party complaint" refers to any third party complaint filed in
          this case.(or if amendments were filed thereto, the term instead refers to such
          amended pleadings).
       D-25 The term "the contract" refers to the contract or agreement referred to in the
          complaint or contracts or agreements so referred to (if there are more than one).
       D-26 The term "the vehicle" refers to the vehicle referred to in the complaint.
       D-27 The term "the services" refers to the services referred to in the complaint, if
          applicable.
       D-28 The term "the warranty" refers to the written warranty (or written warranties)
          referred to in the complaint.
       D-29 The term "the vehicle" refers to the vehicle referred to in the complaint.
       D-30 The term "the warranty" refers to the written warranty (or written warranties)
          referred to in the complaint.
       D-31 The term "the problems" refers to the problems referred to in the complaint.
       D-32 The term "the defect" refers to the defect referred to in the complaint, if
          applicable.
       D-33 The term "repair invoice" refers to the itemized, legible statement of repair
         (including but not limited to documents titled "repair order") which indicates any
          diagnosis made and all work performed on the vehicle by the manufacturer's
          franchise automotive dealerships or by automotive dealerships that the
          manufacturer authorized to perform warranty repairs to the vehicle.
       D-34 The term "the dealer" refers to the dealer identified in the complaint.
       D-35 The term "the warranty period" refers to the time and mileage period
          specified in the warranty for the performance of repairs to the vehicle under the
          warranty.
       D-36 The term "automotive dealership" refers to any dealership with which you
          ever had any franchise relationship via which that dealership sold new
          automobiles at the retail level, based on a dealership contract with you or one of
          your subsidiaries and that also serviced said automobiles pursuant to the
          warranties that you issued with the sale of such vehicles.
       0-37 The term "repair invoice" refers to the itemized, legible statement of repair
          which indicates any diagnosis made and all work performed on a vehicle that the
          manufacturer, or, in the case of an authorized emergency vehicle, the
          manufacturer, co-manufacturer, or post-manufacturing modifier, through its
          dealer or distributor, shall provide to the consumer each time a consumer's motor
          vehicle is returned from being examined or repaired during the period specified in
          N.J.S.A. 56:12-31.




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        D-38 The term "dealer" refers to a person who is actively engaged in the business
           of buying, selling or exchanging motor vehicles at retail and who has an
           established place of business as defined by N.J.S.A. 56:12-30.
       D-39 The term "distributor" refers to a vehicle distributor as referred to by N.J.S.A.
           56:12-31(a).
       D-40 The term "the lemon period" refers to the period specified in N.J.S.A. 56:12-
           31, i.e., "during the first 24,000 miles of operation or during the period of two
           years following the date of original delivery to the consumer, whichever is
           earlier".
       D-41 The term "the warranty period" refers to the time and mileage period
           specified on page 9 of the warranty, i.e., "This warranty begins on the date the
           vehicle is put into use in one of the following ways: The vehicle is delivered to
           the first purchaser by an authorized Honda automobile dealer. The vehicle is
           leased. The vehicle is used as a demonstrator or company vehicle. Your vehicle
           is covered for 3 years or 36,000 miles, whichever comes first."
       D-42 The term "complaints" refers to plaintiffs' report of concerns or expressions
           of discontent.
       D-43 The term "class member" or "class members" refers to each person or
           persons who purchased or leased or registered a 2021 MERCEDES BENZ 450
           GLE vehicle in New Jersey.
       D-44 The term "class vehicle" or "class vehicles" refers to any 2021
           MERCEDES BENZ 450 GLE purchased or leased or registered in New Jersey.
                                      ITEMS TO BE PRODUCED
       1. PLEADING RECORDS. Items either referred to in any of the pages or
           paragraphs of any pleading filed in this case or supporting any/all allegations that
           you made in any paragraphs pled, stated or alleged in any pleading filed in this
           case. Please also include all items that support or refer to any denial you made
           of any allegations pled in the factual allegations section of the complaint or that
           support or refer to any denial you made of any allegations pled in any of the
           complaint counts. Please also include items either referred to in any of the
           pages or paragraphs of any pleading filed in this case or supporting any/all
           allegations or denials that you made in any paragraphs pled, stated or alleged in
           any pleading filed in this case. Consider this a request pursuant to R. 4:18-2,
           which states "Copies of Documents Referred to in Pleading When any document
           or paper is referred to in a pleading but is neither annexed thereto nor recited
           verbatim therein, a copy thereof shall be served on the adverse party within 5
          days after service of his written demand therefor." Please also include items that
          support or refer to any affirmative or separate defenses you pled in this case.
       2. FILES & SIGNED ITEMS. All items regarding or referring to the case, the vehicle
          (including but not limited to any diagnosis, repair attempts, repairs or service to
          same), the warranty (including any repair attempts, diagnostic services or other
          services performed to the vehicle thereunder) or the allegations pled, stated or
          alleged in any pleading filed in this case. Please include all items in your
           possession, custody or control that bear or appear to bear the signature of the
           party or parties serving this request on you or that bear the names of any of your
          staff, employees or personnel and that in any manner pertain to the case, the



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             vehicle (including but not limited to any diagnosis, repair attempts, repairs or
             service to same), the warranty (including any repair attempts, diagnostic services
             or other services performed to the vehicle thereunder) or the allegations pled,
             stated or alleged in any pleading filed in this case. If you claim a privilege
             precludes production of such materials, as required by the instructions to this
             demand, provide a privilege log.
       3.     NOTICES/ITEMS RECEIVED & SENT. Any/all written notices/items your
             attorneys, you or your predecessors in interest ever sent to or received from any
             party to the case about the case, the vehicle (including but not limited to any
             diagnosis, repair attempts, repairs or service to same), the warranty (including
            any repair attempts, diagnostic services or other services performed to the
             vehicle thereunder) or the allegations pled, stated or alleged in any pleading filed
             in this case.
       4.   STATEMENTS. All signed and/or unsigned statements or statements recorded
             by mechanical and/or electronic means made by ANY witnesses to any events
             relevant to this case or any events alleged to have occurred in any pleadings
            filed in this case. For purposes of defining the term "statement", refer to Rule
            4:10-2.
       5.   CONTRACTS. Clear and legible copies of all contracts (including any
            addendums/amendments/change orders thereto) between you and any other
             individual or entity related to the case, the vehicle, the warranty (including any
            repair attempts, diagnostic services or other services performed to the vehicle
            thereunder) or the allegations pled, stated or alleged in any pleading filed in this
            case, including but not limited to any signature cards/pages, account
            agreements, addendums to any agreements between the parties, items bearing
            any other party to this case's signatures or notices of changes to the terms.
       6.   ARBITRATION & TRIAL MATERIALS. Clear and legible copies of all items you
            or your attorneys, representatives, employees or agents intend to introduce into
            evidence, use or rely upon at any arbitration or trial of this matter. This request
            excludes those items protected by the attorney client privilege or work product
            doctrine — for which a privilege log is demanded as specified above.
       7.   DISCOVERY PROPOUNDED AND PRODUCED. All interrogatories, requests
            for production of documents or items, notices to produce, request for admissions
            and responses and/or answers thereto furnished to you, propounded by you or
            propounded upon you or received from any party to this case, together with the
            items forwarded with same and all items produced to you in response to any
            subpoena you or your attorneys served or issued in this matter. Omit from your
            re§ponse to this request any discovery demands that the propounding party
            served upon you or any responses thereto. Be sure to include all items you used
            or shall use at any deposition scheduled or conducted in this matter or that you
            were asked to provide at any such deposition or that you requested any witness
            to review, inspect or produce at any such deposition and all items that you
            questioned any party about during any such deposition and any transcripts of
            deposition testimony of any witnesses to any events relevant to this case or any
            events alleged to have occurred in any pleadings filed in this case. Include items
            which you utilized in preparing either answers to ANY interrogatories served


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             upon you by ANY party to this case or responses to notices to produce or
             requests for production or requests for production served upon you by ANY party
            to this case. Please include items identified BY you in YOUR answers to ANY
             interrogatories served on you by ANY party to this case or in YOUR responses to
             notices to produce or requests for production or requests for production served
             upon you by ANY party to this case.
       8. TANGIBLE ITEMS. Any depictions, illustrations, photographs, drawings, videos,
            surveillance footage diagrams, drawings, plans, maps, charts, plans, blueprints,
            audio tapes or audio recordings, videos or video recordings, models, items or
            other visual reproduction or spreadsheets or photographs related to the case, the
            vehicle (including but not limited to any diagnosis, repair attempts, repairs or
            service to same), the warranty (including any repair attempts, diagnostic services
            or other services performed to the vehicle thereunder) or the allegations pled,
            stated or alleged in any pleading filed in this case.
       9. MEETING & PHONE CONVERSATION RECORDS. All meeting notes or
            records related to ANY meetings or phone conversations you or your
            predecessors in interest ever had with ANYONE about the case, the vehicle
           (including but not limited to any diagnosis, repair attempts, repairs or service to
            same), the warranty (including any repair attempts, diagnostic services or other
            services performed to the vehicle thereunder) or the allegations pled, stated or
            alleged in any pleading filed in this case. This request excludes those items
            protected by the attorney client privilege or work product doctrine — for which a
            privilege log is demanded as specified above. Please include all meeting notes or
            records related to ANY meetings or phone conversations you or your
            predecessors in interest ever had with ANYONE about the vehicle. This includes
            any meeting notes or records related to ANY meetings or phone conversations
            that any of your employees ever had with the dealer or with any automotive
            dealership about the vehicle or its warranty or repairs, diagnostic services or
            other services performed to the vehicle.
       10. EXPERT WITNESS ITEMS. ANY ITEMS you received from ANY expert
            witnesses you or your predecessors in interest ever employed or used relative to
            this case or that consulted with about this case or that you may or shall call as
            any witness at any arbitration or trial of this case or any other hearing held in this
           case or provided or gave to ANY expert witnesses you or your predecessors in
            interest ever employed or used relative to this case or that consulted with about
           this case or that you may or shall call as any witness at any arbitration or trial of
           this case or any other hearing held in this case or reviewed with ANY expert
            witnesses you or your predecessors in interest ever employed or used relative to
           this case or that consulted with about this case or that you may or shall call as
           any witness at any arbitration or trial of this case or any other hearing held in this
           case. This request excludes those items protected by the attorney client
            privilege or work product doctrine — for which a privilege log is demanded as
           specified above.
       1 1. NONEXPERT WITNESS ITEMS. ANY ITEMS you received from ANY fact or lay
           witnesses to any events relevant to this case or any events alleged to have
           occurred in any pleadings filed in this case or that you intend to call or may call at


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            ANY arbitration or trial or any other hearing held in this case or that you provided
            or gave to ANY such fact or lay witnesses or that you intend to call or may call at
            ANY arbitration or trial or any other hearing held in this case or that you reviewed
            with ANY fact or lay witnesses and that concern the case, the vehicle (including
            but not limited to any diagnosis, repair attempts, repairs or service to same), the
            warranty (including any repair attempts, diagnostic services or other services
            performed to the vehicle thereunder) or the allegations pled, stated or alleged in
            any pleading filed in this case. This request excludes those items protected by
            the attorney client privilege or work product doctrine — for which a privilege log is
            demanded as specified above.
       12.TEXTS AND TREATISES. All texts, treatises, and articles which YOU intend to
            rely upon at trial, including those referred to by YOUR experts and those used or
           to be used in YOUR examination or cross-examination of any experts who may
            be called by YOU or by any party to this action.
       13.ITEMS TO SUPPORT PRECLUSION OF EXPERTS. All items you shall rely
            upon to establish or prove that any person identified as an expert by any party to
           this action should be precluded from testifying at arbitration or trial. Please
            include all items you shall rely upon to establish or prove that the reports of any
            person identified as an expert by any party to this action constitute a net opinion
           or should be stricken or precluded from use at arbitration or trial.
       14.INDEMNIFICATION. All items containing any indemnification or hold harmless
           clauses entered into between you and any party to this case.
       15.ADR PROGRAM. All items that you received from or forwarded to the Office of
           Administrative Law or to any dispute resolution program, arbitrator, arbitration
           organization/program, mediation organization/program, alternative dispute
           resolution organization/program or complimentary dispute resolution
           organization/program and that refer to or pertain to the case, the vehicle
         (including but not limited to any diagnosis, repair attempts, repairs or service to
          same), the warranty (including any repair attempts, diagnostic services or other
          services performed to the vehicle thereunder) or the allegations pled, stated or
           alleged in any pleading filed in this case.
       16.INVESTIGATIONS, INSPECTIONS, AUDITS & REPORTS. Items about any/all
           law enforcement reports, police reports, sheriffs reports, inspections,
           investigations, studies, reports or audits you or anyone else ordered, performed,
          conducted or prepared (whether done presuit or once suit was filed) and related
           in ANY arguable way to the case, the vehicle (including but not limited to any
          diagnosis, repair attempts, repairs or service to same), the warranty (including
          any repair attempts, diagnostic services or other services performed to the
          vehicle thereunder) or the allegations pled, stated or alleged in any pleading filed
           in this case.
       17. DEALINGS WITH OTHERS. Items about any/all dealings you had with any
           individual or entity that are related in any way to the case, the vehicle (including
           but not limited to any diagnosis, repair attempts, repairs or service to same), the
          warranty (including any repair attempts, diagnostic services or other services
           performed to the vehicle thereunder) or the allegations pled, stated or alleged in
          any pleading filed in this case.



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       18. WEB POSTINGS. Any website, blog, social media or World Wide Web postings
            or content that you wrote and/or posted and that refers to the parties named to
            any pleadings filed in this case or that refer to or pertain to any diagnosis, repair
            attempts, repairs or service to the class vehicles, the case, the vehicle (including
            but not limited to any diagnosis, repair attempts, repairs or service to same), the
            warranty (including any repair attempts, diagnostic services or other services
            performed to the vehicle thereunder) or the allegations pled, stated or alleged in
           any pleading filed in this case.
       19. DISPUTES BETWEEN PARTIES. Any items or illustrations or recordings
          (whether video or audio in nature) that refer to, discuss, reference or pertain to
           any disputes, litigation, arbitration, mediation, differences of opinion,
           disagreements or arguments you had with or involving any party to this case,
           regardless of whether any litigation resulted therefrom. Please include any
            pleadings and responsive pleadings thereto served on/received by you or your
           attorneys in any case other than this case that name as parties or involve any of
           the parties named to the complaint or that refer to or pertain to any dealings you
           had with any party to this case that are related in any way to the incident or to
           any allegations pled in the complaint.
       20.CLASS ACTION LAWSUITS. All lawsuits filed against you that involve the same
           year, make and model of vehicle as the vehicle which allege putative class action
           claims.
       21 PROOF OF PAYMENTS. Any items referring to any payments made by either
           the party or parties serving this request on you to you or made by you to the
           party or parties serving this demand on you or made by you to anyone for any
          services, parts or inspections performed pursuant to or under the warranty.
           Please also include any items exchanged between you and any automotive
          dealership or any automotive dealership service department or the dealer about
          or referring to You paying for any labor, parts, diagnosis, repair attempts,
           repairs or service performed to or installed on the vehicle or that You refused
          to pay for or that refers to any automotive dealership or any automotive
           dealership service department or the dealer submitting a request for
           reimbursement or payment for anything related to the vehicle (including any
          diagnosis of or service or repair attempt or repair to the vehicle thereunder).
       22.PROPERTY DAMAGE. Any items that refer to or discuss any property damage
          that you claim the vehicle sustained or any abuse, misuse, modification,
          alteration, lack of maintenance or body/accident damage that you claim occurred
          to the vehicle. This includes any items that refer to or discuss or that may be
           used to prove that the problems don't substantially impair the use, value, or
          safety of the vehicle or that the problems are the result of abuse, neglect, or
           unauthorized modifications or alterations of the vehicle by anyone other than you.
       23.INHERENT DEFECT. All certifications that you issued or made pursuant to
           N.J.S.A. 56:12-44 to the New Jersey Division of Consumer Affairs, within one
          year of discovery, of the existence of any inherent design defect common to or
           involving the year, make and model of the vehicle.
       24. N.J.S.A. 56:12-34(b) COMPLIANCE RECORDS. All items that refer to or
          discuss your compliance with N.J.S.A. 56:12-34(b) relative to the vehicle — i.e.,


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           "each time a consumer's motor vehicle is ret rned from being examined or
            repaired during the period specified in sectio 3 of P.L.1988, c.123 (C.56:12-31),
           the manufacturer, or, in the case of an autho ized emergency vehicle, the
            manufacturer, co-manufacturer, or post-man facturing modifier, through its
           dealer or distributor, shall provide to the con umer an itemized, legible statement
           of repair which indicates any diagnosis mad and all work performed on the
           vehicle and provides information including, b t not limited to, the following: a
           general description of the problem reported y the consumer or an identification
           of the problem reported by the consumer or n identification of the defect or
           condition and the source of the defect; the a ount charged for parts and the
           amount charged for labor, if paid for by the c nsumer; the date and the odometer
           reading when the vehicle was submitted for pair; and the date and odometer
           reading when the vehicle was made availabl to the consumer." N.J.S.A. 56:12-
           34(b).
       25. BULLETINS. All tech line call records, "servicenews articles", service
           campaigns, service bulletins, technical service bulletins, recalls, service notices,
           service notifications, tech line inquiries or requests, tech line summary articles or
           requests or warranty notifications you received from or forwarded to anyone,
           including but not limited to any state or federal government agency (e.g., DCA,
           the National Highway Transportation Safety Association, etc.) referring to or
           discussing the same year, make and model of vehicle as the vehicle.
       26. REPAIR HISTORY. All items that refer to or discuss any diagnosis of or repairs,
           repair attempts or service to the vehicle or refusal to perform diagnosis of or
           repairs, repair attempts or service to the vehicle, including but not limited to any
           repair invoices, repair orders or repair estimates. This includes a request for the
          front and back sides of repair orders or invoices or work orders pertaining to the
           vehicle or repairs or maintenance performed to the vehicle, including the shop
           copy, technician copy, warranty copy, customer copy, technician notes and part
           order lists, slips or forms, whether prepared before or after performance of the
          services. Please be advised that failure to provide both sides of the orders
           and/or invoices requested herein and the technician notes thereto shall result in a
           motion to compel production of same. Should it be necessary to file said motion,
           the party or parties serving this request on you shall seek counsel fees and costs
           relative to said application. This also incudes a request for all digital warranty
           records, digital database records or information stored online or via any cloud
           based system referring to or discussing your reimbursement or payment to any
           automotive dealership or automotive distributor of money or any other form of
          compensation for work, service, repairs, evaluation, inspection, diagnosis or
           repair attempts performed to the vehicle.
       27. WARRANTY. A copy of the warranty, regardless of whether you claim that the
           party or parties serving this request has a copy thereof.
       28.LEMON BUYBACK VEHICLES. All items that refer to or discuss any diagnosis
          of or repairs, repair attempts or service to or warranty claims made or received or
           processed by you or requests for reimbursement of such claims involving the
          following vehicles identified by vehicle identification numbers in the New Jersey
           Division of Consumer Affairs' list of vehicles branded under the New Jersey


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           Lemon Law as of April 1, 20212: 2020 MERCEDES BENZ GLE450
          4JGFB5KE5LA005134; 2020 MERCEDES BENZ GLE450
          4JGFB5KB7LA065342; 2020 MERCEDES BENZ GLE450
           JGFB5KBOLA004074; 2020 MERCEDES BENZ GLE450 4JGFB5KB1LA024141;
          2020 MERCEDES BENZ GLE450 4JGFB5KB8LA005764; 2020 MERCEDES
           BENZ GLE450 4JGFB5KEXLA051025; 2020 MERCEDES BENZ GLE450
          4JGFB5KB3LA074023; 2020 MERCEDES BENZ GLE450
          4JGFB5KB8LA072851; 2020 MERCEDES BENZ GLE450
          4JGFB5KB4LA073558; 2020 MERCEDES BENZ GLE450
          4JGFB5KE7LA052035; 2020 MERCEDES BENZ GLE450
          4JGFB5KE8LA024468; 2020 MERCEDES BENZ GLE450
          4JGFB5KBXLA069241; 2020 MERCEDES BENZ GLE450
          4JGFB5KB7LA022796; 2020 MERCEDES BENZ GLE450
          4JGFB5KE8LA089904; 2020 MERCEDES BENZ GLE450
          4JGFB5KB5LA103361; 2020 MERCEDES BENZ GLE450
          4JGFB5KB6LA043851; 2020 MERCEDES BENZ GLE450
          4JGFB5KB5LA047924; 2020 MERCEDES BENZ GLE450
          4JGFB5KB5LA161888; 2020 MERCEDES BENZ GLE450
          4JGFB5KE7LA045229; and 2020 MERCEDES BENZ GLE580
          4JGFB8GBOLA172176. This request included but not limited to any repair
          invoices, repair orders or repair estimates. This request includes a request for
          the front and back sides of repair orders or invoices or work orders pertaining to
          said vehicles or repairs or maintenance performed to said vehicles, including the
          shop copy, technician copy, warranty copy, customer copy, technician notes and
          part order lists, slips or forms, whether prepared before or after performance of
          the services. Please be advised that failure to provide both sides of the orders
          and/or invoices requested herein and the technician notes thereto shall result in a
          motion to compel production of same. Should it be necessary to file said motion,
          the party or parties serving this request on you shall seek counsel fees and costs
          relative to said application. This also includes a request for all digital warranty
          records, digital database records or information stored online or via any cloud
          based system referring to or discussing your reimbursement or payment to any
          automotive dealership or automotive distributor of money or any other form of
          compensation for work, service, repairs, evaluation, inspection, diagnosis or
          repair attempts performed to said vehicles. This also includes a request for any
          items that refer to any refusal to perform diagnosis of or repairs, repair attempts


    2 https://www.njconsumeraffairs.gov/Ilu/DocumentsNehicles-Branded-Under-The-New-
    Jersey-Lemon-Law.pdf. By way of explanation, the list states, in relevant part: "If a
    motor vehicle is returned to the manufacturer under the provisions of the New Jersey
    Lemon Law or similar statute of another state or as a result of a legal action or an
    informal dispute settlement procedure, it shall not be resold or re-leased in New Jersey
    unless the manufacturer has the vehicle's title stamped "R - RETURNED TO THE
    MANUFACTURER UNDER LEMON LAW OR OTHER PROCEEDING." A copy of the
    stamped title shall be submitted to the New Jersey Motor Vehicle Commission (MVC)to
    be permanently branded as a Lemon (Status "L" on your NJ title)."

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           or service to said vehicles.
        29. DIGITAL WARRANTY RECORDS FOR CLASS VEHICLES. All digital warranty
           claim records, digital database records or information stored online or via any
           cloud based system referring to or discussing your reimbursement or payment to
           any automotive dealership or distributor of money or any other form of
           compensation for work, service, repairs, evaluation, inspection, diagnosis or
           repair attempts performed that involve or refer to the battery or no start issues of
           any class vehicle. This includes any request for information or technical
           assistance made by any automotive dealership or distributor to you about the
           diagnosis of or repairs to (or replacement of) the battery or to electrical issues or
           to no start issues of any class vehicles and any claims for warranty repairs that
           you did not pay or refused to pay or refused to accept or for which you refused to
           authorize automotive repairs or any other automotive services. .
        30.CLASS MEMBER DISPUTES. Any items or illustrations or recordings (whether
           video or audio in nature) that refer to, discuss, refer to or pertain to any disputes,
           litigation, arbitration, mediation, differences of opinion, disagreements or
           arguments you had with or involving any owner or lessee of any class vehicle,
           regardless of whether any arbitration or litigation resulted from said matters.
        31.PAYMENTS MADE BY CLASS MEMBERS FOR REPAIRS. Any items referring
           to or discussing the billing or invoicing by any automotive dealership or distributor
           of any class member for the diagnosis of issues or complaints about or repairs to
          (or replacement of) the battery or to electrical issues or to no start issues of any
           class vehicles or the payment of bills or invoices by any class member to any
           automotive dealership or distributor for the diagnosis of issues or complaints
           about or repairs to (or replacement of) the battery or to electrical issues or to no
           start issues of any class vehicles.

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                            CORPORTE/COMPANY CERTIFICATION

                                      , am an employee of                               and I
     declare that, for purposes of answering this notice to produce, I am the authorized agent
     of said entity.

     I the undersigned hereby certify that I have reviewed the document production request
     and that I have made or caused to be made a good faith search for documents
     responsive to the request. I further certify that, as of this date, to the best of my
     knowledge and information, the production is complete and accurate based on (check
     appropriate boxes below):
                ()my personal knowledge and/or()information provided by others.
     I acknowledge my continuing obligation to make a good faith effort to identify additional
     documents that are responsive to the request and to promptly serve a supplemental
     written response and production of such documents, as appropriate, as I become aware
     of them. The following is a list of the identity and source of knowledge of those who
           •    •       •                     •
     proviaea intormation to me (complete list Delon
       Identity of persons providing              Sources of knowledge of that person:
       information to me:




    I certify that the aforesaid statements are true. If ANY of the aforesaid statements are
    willfully false, I understand that I am subject to punishment.



    Dated:
                                                    Signature




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                                     INDIVIDUAL CERTIFICATION

                                           hereby certify that I have reviewed the document
     production request and that I have made or caused to be made a good faith search for
     documents responsive to the request. I further certify that, as of this date, to the best of
     my knowledge and information, the production is complete and accurate based on
    (check appropriate boxes below):
                ()my personal knowledge and/or()information provided by others.
     I acknowledge my continuing obligation to make a good faith effort to identify additional
    documents that are responsive to the request and to promptly serve a supplemental
     written response and production of such documents, as appropriate, as I become aware
    of them. The following is a list of the identity and source of knowledge of those who
       rovided information to me com lete list below):
       Identity of persons providing            Sources of knowledge of that person:
       information to me:




                                                              •



     I certify that the aforesaid statements are true. If ANY of the aforesaid statements are
     willfully false, I understand that I am subject to punishment.




     Date                Job Title                    Signature




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